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Occidental Chemical Corporation


                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
                              NEWARK VICINAGE

 OCCIDENTAL CHEMICAL CORPORATION        )
                                        ) CIVIL ACTION NO. _______________
        Plaintiff,                      )
                                        )
 vs.                                    ) Electronically Filed
                                        )
 21ST CENTURY FOX AMERICA, INC.;        )
 3M COMPANY; A.E. STALEY                ) COMPLAINT
 MANUFACTURING COMPANY; AKZO            )
 NOBEL COATINGS, INC.; ALDEN LEEDS      )
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INC.; ALLIANCE CHEMICAL INC.;            )
AMERICAN INKS & COATINGS                 )
CORPORATION; APOLAN                      )
INTERNATIONAL, INC.; ARKEMA INC.;        )
ASHLAND LLC; ATLANTIC RICHFIELD          )
COMPANY; ATLAS REFINERY, INC.;           )
AVENTISUB LLC; BASF CATALYSTS LLC;       )
BASF CORPORATION; BATH IRON              )
WORKS CORPORATION; BENJAMIN              )
MOORE & CO.; BEROL CORPORATION;          )
BORDEN & REMINGTON CORP.;                )
CAMPBELL FOUNDRY COMPANY;                )
CANNING GUMM LLC; CBS                    )
CORPORATION; CHARGEURS WOOL              )
(USA) INC.; CHARGEURS, INC.;             )
CHEMTRADE CHEMICALS                      )
CORPORATION; CLEAN EARTH OF              )
NORTH JERSEY, INC.; CNA HOLDINGS         )
LLC; COATS & CLARK INC.; CONOPCO,        )
INC.; COOPER INDUSTRIES, LLC;            )
COVANTA ESSEX CO.; CRODA INC.;           )
CURTISS-WRIGHT CORPORATION;              )
DARLING INGREDIENTS INC.; DII            )
INDUSTRIES, LLC; E.I. DU PONT DE         )
NEMOURS AND COMPANY; EDEN WOOD           )
CORPORATION; ELAN CHEMICAL CO.,          )
INC.; EMERALD KALAMA CHEMICAL,           )
LLC; ENPRO INDUSTRIES, INC.; ESSEX       )
CHEMICAL CORPORATION; EVERETT            )
SMITH GROUP LTD.; FLINT GROUP            )
INCORPORATED; FORT JAMES LLC;            )
FOUNDRY STREET CORPORATION;              )
FOUNDRY STREET DEVELOPMENT, LLC;         )
FRANKLIN-BURLINGTON PLASTICS, INC.;      )
GARFIELD MOLDING COMPANY, INC.;          )
GENERAL ELECTRIC COMPANY;                )
GIVAUDAN FRAGRANCES                      )
CORPORATION; GOODRICH                    )
CORPORATION; HARRIS CORPORATION;         )
HEXCEL CORPORATION; HEXION INC.;         )
HOFFMANN-LA ROCHE, INC.;                 )
HONEYWELL INTERNATIONAL, INC.;           )
HOUGHTON INTERNATIONAL INC.;             )
INGREDION INCORPORATED; INNOSPEC         )
ACTIVE CHEMICALS LLC; INX                )

                                     2
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INTERNATIONAL INK CO.; ISP               )
CHEMICALS LLC; JOHNSON & JOHNSON;        )
KALAMA SPECIALTY CHEMICALS, INC.;        )
KEARNY SMELTING & REFINING CORP.;        )
LEEMILT’S PETROLEUM, INC.; LEGACY        )
VULCAN, LLC; MALLINCKRODT LLC;           )
MARATHON OIL CORPORATION;                )
MCKESSON CORPORATION; MELON              )
LEASING CORPORATION, INC.; MELTSER-      )
TONNELE AVENUE LLC; MI HOLDINGS,         )
INC.; NAPPWOOD LAND CORPORATION;         )
NATIONAL-STANDARD LLC; NEWELL            )
BRANDS INC.; NOKIA OF AMERICA            )
CORPORATION; NOVARTIS                    )
CORPORATION; NOVELIS                     )
CORPORATION; NOVEON HILTON DAVIS,        )
INC.; OTIS ELEVATOR COMPANY; PABST       )
BREWING COMPANY, LLC; PALIN              )
ENTERPRISES L.L.C.; PFISTER URBAN        )
RENEWAL CORPORATION; PHARMACIA           )
LLC; PITT-CONSOL CHEMICAL                )
COMPANY; PMC GLOBAL, INC.; PPG           )
INDUSTRIES, INC.; PUBLIC SERVICE         )
ELECTRIC AND GAS COMPANY; PURDUE         )
PHARMA TECHNOLOGIES, INC.; QUALA         )
SYSTEMS, INC.; QUALITY CARRIERS,         )
INC.; R. T. VANDERBILT HOLDING           )
COMPANY, INC.; RECKITT BENCKISER         )
LLC; REVERE SMELTING & REFINING          )
CORPORATION; REXAM BEVERAGE CAN          )
COMPANY; ROSELLE MAUSOLEUM               )
MAINTENANCE FUND, INC.; ROYCE            )
ASSOCIATES, A LIMITED PARTNERSHIP;       )
RTC PROPERTIES, INC.; SAFETY-KLEEN       )
ENVIROSYSTEMS COMPANY;                   )
SCHIFFENHAUS PACKAGING                   )
CORPORATION; SEQUA CORPORATION;          )
SETON COMPANY, INC.; SPECTRASERV,        )
INC.; STALEY HOLDINGS LLC; STANLEY       )
BLACK & DECKER INC.; STWB INC.; SUN      )
CHEMICAL CORPORATION; SUNOCO             )
(R&M), LLC; SUNOCO PARTNERS              )
MARKETING & TERMINALS L.P.; TATE &       )
LYLE INGREDIENTS AMERICAS LLC;           )
TEVAL CORPORATION; TEXTRON, INC.;        )

                                     3
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    THE HARTZ MOUNTAIN CORPORATION;         )
    THE NEWARK GROUP, INC.; THE             )
    OKONITE COMPANY, INC.; THE              )
    SHERWIN-WILLIAMS COMPANY;               )
    TIFFANY AND COMPANY; UNITED             )
    STATES STEEL CORPORATION; WIGGINS       )
    PLASTICS, INC.; AND ZENECA INC.         )
                                            )
          Defendants.                       )
    _______________________________________ )


         Plaintiff Occidental Chemical Corporation (“OxyChem”) files this action for cost recovery

and contribution under Sections 107 and 113 of the Comprehensive Environmental Response,

Compensation, and Liability Act of 1980, as amended, 42 U.S.C. §§ 9607 and 9613 (CERCLA)

for contribution and the recovery from Defendants of response costs that OxyChem has expended

to date and will expend in the future in response to releases and threatened releases of hazardous

substances into the Lower Passaic River and elsewhere within the Diamond Alkali Superfund Site.

The purpose of this action is to ensure that each and every party responsible for the contamination

of the Lower 8.3 Miles pays its fair share of the costs of investigation, design, and anticipated

implementation of the remedy for such contamination. This action is not intended to impact the

pace or progress of the ongoing remediation efforts.1

         INTRODUCTION

         1.       For more than a century, New Jersey’s Passaic River has been a heavily polluted

industrial waterway.        In the 1870s, the Passaic River already had “a shocking degree of

contamination.” In the next decade, major pollutants in the Passaic River included “sewage, oil,




1
 This CERCLA action relates to the Passaic River, which runs through Essex and Hudson counties in New Jersey.
With respect to Local Rule 10.1, it was impracticable to note in the first paragraph of the complaint the addresses of
each named party. This information is contained, infra, in paragraphs 51-172.
                                                          4
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and industrial discharges such as dyes, acids and chemicals.” One study notes that, in 1894, “one-

third of the Passaic River’s total flow was untreated sewage.” By the turn of the century, the

Passaic River was delisted as a commercial fish source; and by 1926, the U.S. government declared

the river’s “fish life destroyed.”

        2.       This history is tragic. But no single hazardous substance, and no single source, is

solely to blame. Over the last century, hundreds of companies—among them, factories, refineries,

and manufacturers of all types—polluted the Passaic River with countless hazardous substances.

Indeed, the United States Environmental Protection Agency (EPA) sent letters to more than one

hundred potentially responsible parties (PRPs) notifying them they may be liable for the costs of

cleaning up releases of hazardous substances in the Passaic River.

        3.       From the scores of hazardous substances in the Passaic River, EPA identified eight

chemicals of concern (COCs). EPA sought a remedy that would achieve its remediation goals for

each of these eight COCs. According to EPA, the eight COCs that drive the requirements for

remediation are2:

             poly-chlorinated biphenyls (PCBs)                        DDT
             mercury                                                  dieldrin
             dioxins and furans                                       lead
             poly-aromatic hydrocarbons (PAHs)                        copper

        4.       In 2016, because of the threat to human health and the environment by each of the

eight COCs, EPA issued a Record of Decision that calls for extensive dredging and capping in

Operable Unit 2, the first 8.3 miles of the Passaic River (the “OU2 Remedy”). The OU2 Remedy

will remove and cap sediment containing hazardous substances. Removed sediment will be



2
 Record of Decision, Lower 8.3 Miles of the Lower Passaic River Part of the Diamond Alkali Superfund Site (Mar.
3, 2016) (“OU2 ROD”) § 5.2 (Contaminants of Concern), https://semspub.epa.gov/work/02/396055.pdf (last visited
June 29, 2018).
                                                       5
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treated, and hazardous substances will be neutralized and disposed of safely. In turn, the dredged

riverbed will be capped, isolating the remaining hazardous substances left in the riverbed sediment.

       5.      Despite the century of pollution by hundreds of parties, only one company has

stepped forward to work with EPA to design the remedy. Under the Administrative Settlement

Agreement and Order on Consent for Remedial Design for Operable Unit Two of the Diamond

Alkali Superfund Site (Region 2, CERCLA Docket No. 02-2016-2021) (“2016 ASAOC”),

OxyChem agreed to design the OU2 Remedy and foot the design’s estimated $165-million bill.

Meanwhile, no other company has accepted responsibility for any share of the design cost.

       6.      Just as no single chemical or substance is solely responsible for the contamination

in the Lower Passaic River, no single COC is solely responsible for the OU2 Remedy. Rather,

EPA found that each of the eight COCs drives the OU2 Remedy. EPA determined that anything

short of that remedy would leave unacceptable concentrations of each of the eight COCs in the

Lower Passaic River. EPA’s selected remedy was based on modeling that each COC—on its

own—had sufficiently contaminated the Lower 8.3 Miles of the Passaic to require the OU2

Remedy.

       7.      And just as each of the eight COCs drives the OU2 Remedy, each PRP liable for

any one of them must pay its equitable share to clean up that COC. Each of more than one hundred

PRPs disposed of, or is otherwise liable under CERCLA for, at least one of these eight COCs. In

many cases, these parties are liable for several COCs, not to mention other hazardous substances.

This map depicts the location of Defendants on the Passaic River.




                                                 6
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       8.      The costs of the design of the OU2 Remedy, which OxyChem alone is financing

are response costs that address the historic pollution of the Passaic River by scores of PRPs. As a

matter of federal law, those parties must pay their fair and equitable shares of those response costs.

Law and equity demand that they do so for several reasons.




                                                  7
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         9.       First, OxyChem itself never polluted the Passaic River—as EPA acknowledges.3

Rather, from the 1940s to 1969, the agricultural chemicals plant located at 80-120 Lister Avenue

(the “Lister Avenue Plant”) was owned and operated by Diamond Shamrock Chemicals Company

(DSCC) or its predecessors in interest. By no later than June 1983, the public was fully aware of

contamination at the Lister Avenue Plant, when following an investigation by the New Jersey

Department of Environmental Protection (NJDEP), Governor Thomas Kean held a press

conference and declared a state of emergency for the Ironbound neighborhood adjacent to the

Lister Avenue Plant.

         10.      In 1986, more than three years after the Governor’s press conference and almost

sixteen years after DSCC sold the plant in 1971, an affiliate of OxyChem purchased the stock of

DSCC, in a transaction in which DSCC’s corporate parent, Maxus Energy Corporation (“Maxus”)

agreed to “indemnify, defend, and hold harmless” OxyChem against all environmental liabilities.

Maxus did just this for the next thirty years: OxyChem held Maxus to its contractual obligation to

defend OxyChem for environmental liabilities related to the Lister Avenue Site. But in 2016—

through no fault of OxyChem—YPF S.A., Maxus’s parent, plunged Maxus into bankruptcy, in an

attempt to cleanse its balance sheet of environmental liabilities and escape its indemnity

obligations to OxyChem.




3
  News Release from Region 02, EPA Secures $165 Million Agreement with Occidental Chemical to Conduct the
Work Needed to Start the Cleanup of the Lower Eight Miles of the Passaic River (Oct. 5, 2016),
https://19january2017snapshot.epa.gov/newsreleases/epa-secures-165-million-agreement-occidental-chemical-
conduct-work-needed-start-cleanup_.html (last visited June 29, 2018) (“Although Occidental Chemical Corporation
did not directly discharge pollution into the Passaic River, the company is legally responsible for pollution discharged
from the former Diamond Alkali pesticides manufacturing plant that operated in Newark from the 1940s to the 1960s.”
(emphasis added)).


                                                           8
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       11.     Second, the Lister Avenue Plant—the only source of OxyChem’s alleged

liability—allegedly disposed of only two of the eight COCs identified by EPA as driving the OU2

Remedy: dioxins and DDT. Responsibility for the other six COCs does not lie with OxyChem,

but with scores of other PRPs. Further, even as to dioxins and DDT, the Lister Avenue Plant was

one among many properties associated with these two COCs. Thus, responsibility for these COCs

rests only in part with OxyChem.

       12.     CERCLA requires that all responsible parties pay their fair shares of response costs

they caused or to which they contributed. OxyChem is not responsible for cleaning up all eight of

the COCs in the Lower Passaic River or for pollution caused by other parties. Still, OxyChem

stepped up to do its part on the OU2 Remedy, which was driven by and which addresses all eight

COCs. This action is to see to it that all other PRPs follow suit.

       13.     Consistent with EPA’s goal of requiring all parties to pay their fair shares of

response costs, OxyChem brings this action for a money judgment for cost recovery and

contribution under CERCLA and for a declaratory judgment as to liability for future response costs

so that all responsible parties bear their fair and equitable shares of the costs OxyChem has already

incurred and those costs OxyChem will incur in the future to design the OU2 Remedy.

       HISTORY OF THE DISPUTE

       A.      EPA Establishes the Diamond Alkali Superfund Site

       14.     The Diamond Alkali Superfund Site (the “Site”) was listed on the Superfund

National Priorities List in 1984. As defined by EPA, the Site consists of “the former Diamond

Alkali facility at 80-120 Lister Avenue in Newark, New Jersey, the Lower Passaic River Study




                                                 9
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 Area (LPRSA), the Newark Bay Study Area and the areal extent of contamination.”4 The LPRSA

 is “the 17-mile, tidal portion of the Passaic River, from RM 0 to Dundee Dam (RM 17.4), and its

 watershed, including the Saddle River (RM 15.6), Third River (RM 11.3) and Second River (RM

 8.1).”5 EPA has divided the Site into four “operable units” (OUs):

                    OU1, the former site of the Lister Avenue Plant;

                    OU2, the lower 8.3 miles of the Passaic River (the “Lower 8.3 Miles”);

                    OU3, the 17-mile LPRSA; and

                    OU4, Newark Bay and portions of the Hackensack River, Arthur Kill, and
                     Kill van Kull.6




 4
     OU2 ROD § 1 (Site Name, Location and Brief Description).
 5
     Id.
 6
     See id. § 4.1 (Phased Approach and Early Actions).
                                                          10
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            15.      Below is a depiction of each of the OUs.7




 7
     See id., Fig. 1 (Lower Passaic River Study Area).
                                                         11
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         16.      This CERCLA action primarily concerns OU2: the costs of designing and,

 eventually, implementing the remedy EPA selected for this portion of the Site. Below is a

 summary of remedies that EPA has to date selected with respect to each OU.8




         17.      The Site, including the “aerial extent of contamination” as designated by EPA, and

 including the upland sources of that contamination, comprise a “facility” under Section 101(9) of

 CERCLA, 42 U.S.C. § 9601(9) (herein referred to as the “Facility”). There has been a “release”

 and/or “threatened release” of hazardous substances at the Facility within the meaning of Sections

 101(22) and 107(a) of CERCLA, 42 U.S.C. §§ 9601(22) and 9607(a). Organic and inorganic

 compounds detected at the Facility at elevated levels are “hazardous substances” as defined by

 Section 101(14) of CERCLA, 42 U.S.C. § 9601(14). The release and/or threatened release of



 8
  See Superfund Site: Alkali Co., Newark, NJ, Operable Units,
 https://cumulis.epa.gov/supercpad/SiteProfiles/index.cfm?fuseaction=second.ous&id=0200613 (last visited June 29,
 2018).
                                                       12
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 hazardous substances at the Facility has caused and will continue to cause OxyChem to incur

 response costs, including costs for removal and/or remedial actions as defined in Section 101(23)-

 (25) of CERCLA, 42 U.S.C. § 9601(23)-(25). Such costs are necessary and consistent with the

 National Contingency Plan.

                B.    OxyChem Acquires Diamond Shamrock Chemicals Company

                18.   As noted, OxyChem did not itself discharge any hazardous substances to the Lower

 Passaic River. Instead, OxyChem’s liability for cleanup costs allegedly stems from its acquisition

 of the stock of DSCC in 1986. DSCC stopped operating the Lister Avenue Plant in 1969, and sold

 the plant to Chemicaland Corporation in 1971.9 In 1977, the Lister Avenue Plant was closed.10

 When OxyChem acquired DSCC’s stock in 1986, the Lister Avenue Plant had been closed for nine

 years, and DSCC had not operated it for seventeen years.

                19.   When OxyChem acquired the stock of DSCC, Maxus agreed to indemnify, defend,

 and hold OxyChem harmless from, among other things, all environmental liabilities resulting from

 DSCC’s closed chemical plant sites, including all liabilities allegedly arising from contamination

 by the Lister Avenue Plant.

                20.   Relying on Maxus’s retention of responsibility for the closed DSCC sites, as well

 as the comprehensive environmental indemnity Maxus provided under the stock purchase

 agreement, DSCC was merged into OxyChem in 1987. Maxus’s affiliate Tierra Solutions, Inc.

 (“Tierra”) also assumed liability to indemnify, defend, and hold OxyChem harmless against

 environmental liabilities arising from DSCC’s former chemical plant sites and operations.




 9
   See EPA Record of Decision, Phase I Removal 80-120 Lister Avenue Plant Site (Sept. 30, 1987) § I (Background
 Chronology Leading to this Record of Decision).
 10
      See id.
                                                      13
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            C.      EPA Finds That Over One Hundred Parties Are Responsible for Pollution at
                    the Site and Takes Remedial Action

            21.     As part of its Superfund program, EPA has studied the Facility and has taken a

 series of response actions there. As EPA recognizes, the Lower Passaic River has been “a highly

 industrialized waterway, receiving direct and indirect discharges from numerous industrial

 facilities” since the 1800s.11 Accordingly, “over 100 industrial facilities have been identified as

 potentially responsible for discharging contaminants into the river.”12 Following extensive study,

 EPA concluded that these discharges had contaminated sediments in the Lower Passaic River with

 hazardous substances, including dioxins, furans, PCBs, PAHs, DDT, dieldrin, other pesticides,

 mercury, lead, copper, and other metals.13 According to EPA, “data shows elevated concentrations

 of COCs are ubiquitous in sediments of the lower 8.3 miles, bank to bank.”14

            22.     During EPA’s decades of conducting investigative and other response actions on

 the Passaic River, OxyChem has cooperated with EPA and has shouldered more than its share of

 the burden to clean up the river. Throughout this period, OxyChem’s indemnitors, Maxus and

 Tierra, have performed work in OxyChem’s name and on its behalf. Together, OxyChem, Maxus,

 and Tierra have historically borne responsibility for the former operations at the Lister Avenue

 Plant.




 11
    Administrative Settlement Agreement and Order on Consent for Removal Action, in re: Lower Passaic River Study
 Area of the Diamond Alkali Superfund Site, Occidental Chemical Corporation and Tierra Solutions, Inc., Respondents
 (June 23, 2008) (Region 2, CERCLA Docket No. 02-2008-2020) § 10(a).
 12
      OU2 ROD § 2 (Site History and Enforcement Activities).
 13
   See Louis Berger Group, Inc., Remedial Investigation Report for the Focused Feasibility Study of the Lower Eight
 Miles of the Lower Passaic River (2014), http://ourpassaic.org/EarlyAction.aspx (last visited June 29, 2018) (“RI
 Report for the Lower Eight Miles”) at ES-2-3.
 14
      OU2 ROD § 5.3 (Sediment Conceptual Site Model).
                                                         14
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            23.      In 1987, EPA issued a Record of Decision that selected as a remedy a cap of the

 Lister Avenue Plant and the construction of slurry walls to prevent contamination from the Lister

 Avenue Plant from migrating into the Lower Passaic River. Construction of that remedy was

 completed in 2001 by OxyChem’s indemnitor, Tierra, pursuant to a Consent Decree (Civil Action

 No. 89-5025 (AET)) entered by the U.S. District Court for the District of New Jersey in 1990

 between the United States and OxyChem and Tierra. On behalf of OxyChem, Tierra incurred

 more than $61 million in response costs in complying with the Consent Decree.

            24.      After the Lister Avenue Plant was capped, OxyChem, Maxus, and Tierra continued

 to cooperate with EPA to address contamination at the Site. In 1994, OxyChem entered into an

 Administrative Consent Order (Region II, Index No. II-CERCLA-0117) with EPA to perform the

 Remedial Investigation and Feasibility Study (RI/FS) of a six-mile stretch from RM 1 to RM 7

 (“1994 RI/FS ACO for the Lower 6”). Tierra performed that work on OxyChem’s behalf. The RI

 found dioxins, along with many COCs not linked to the Lister Avenue Plant’s operations. It also

 demonstrated that Newark Bay’s tidal influences caused contaminated sediments to move into and

 out of this six-mile stretch. Reinforcing the concern about this tidal influence, the RI Report for

 the Lower Eight Miles concluded that “mass transport across the RM 0 boundary with Newark

 Bay is bi-directional” and that “the Upper Passaic River and Newark Bay are the major external

 sources to the contaminant burden in recently-deposited sediments.”15

            25.      Although COCs not linked to the Lister Avenue Plant’s operations were discovered

 in the Lower Passaic River, no PRP besides OxyChem agreed to bear any of the costs associated




 15
      RI Report for the Lower Eight Miles at 8-8, Data Evaluation Report No. 2 of App. A. at 4-1.
                                                           15
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 with the 1994 RI/FS ACO for the Lower 6. Instead, those costs were paid entirely by OxyChem’s

 indemnitors, Maxus and Tierra.

            26.      In 2002, EPA again expanded the scope of the investigation, to include the full 17

 miles of the Lower Passaic River below the Dundee Dam.16 As a result of these studies, EPA

 identified companies other than OxyChem that “owned or operated facilities from which

 hazardous substances were potentially discharged to the river.”17

            27.      A group of PRPs eventually organized into the Cooperating Parties Group (CPG).

 Initially, OxyChem, Maxus, and Tierra were members of the CPG. In 2004, the CPG signed a

 settlement agreement with EPA in which CPG members agreed to pay for the RI/FS for the entire

 lower 17-miles of the Lower Passaic River (“2004 RI/FS ASAOC for the Lower 17”). That

 settlement was amended in 2005 and 2007 to add more parties, so that a total of more than 70

 parties are now obligated to perform work under this settlement with EPA. OxyChem, through its

 indemnitors Maxus and Tierra, paid significant costs associated with this 2004 RI/FS ASAOC for

 the Lower 17.

            28.      On or about June 23, 2008, OxyChem, Tierra, and EPA entered into an

 Administrative Settlement Agreement and Order on Consent for Removal Action (Region 2,

 CERCLA Docket No. 02-2008-2020) (“Tierra Removal ASAOC”) to excavate and dispose of

 sediments at RM 3.0 to RM 3.8. The Tierra Removal ASAOC anticipated that the work would be

 performed in two phases. In 2012, Tierra performed the Phase 1 removal and completed dredging,

 dewatering, and transport of 40,000 cubic yards of sediment, which removed significant volumes




 16
      See OU2 ROD § 2.1.2 (The Six-Mile Study).
 17
      Id. § 2.1.3 (The 17-Mile Study).
                                                     16
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 of dioxins and of all eight COCs from the Passaic River. The Phase 1 removal cost over $83

 million. EPA described this removal action as “the most significant removal of contaminated

 material from the Passaic in history.”18

         29.     On or about October 4, 2011, OxyChem entered into an Administrative Settlement

 Agreement and Order on Consent for Combined Sewer Overflow/Storm Water Outfall

 Investigation (Region 2, CERCLA Docket No. 02-2011-2016) (“CSO ASAOC”) to determine the

 nature and extent of contamination emanating from the combined sewer overflows and the storm

 water outfalls to the Passaic River. Tierra performed work under the CSO ASAOC, incurring

 response costs more than $2.5 million.

         30.     In June 2012, EPA and the CPG signed a consent order for a time-critical removal

 action to address the high concentrations of dioxins, PCBs, and other contaminants at a mudflat

 on the Passaic River’s eastern bank at RM 10.9 in Lyndhurst, New Jersey. This removal action is

 often referred to as the “RM 10.9 Removal.” This removal was more than seven miles upriver

 from the Lister Avenue Plant—but only slightly downriver from Defendant Givaudan Fragrances

 Corporation’s property, whose chemical processes are known to generate dioxins. Despite this

 distance from the Lister Avenue Plant, OxyChem voluntarily accepted a Unilateral Administrative

 Order for Removal Response Activities from EPA (Region 2, CERCLA Docket No. 02-2012-

 2020), directing it to perform certain activities with respect to the RM 10.9 Removal (“RM 10.9

 Removal UAO”). OxyChem is in full compliance with the RM 10.9 UAO. On OxyChem’s behalf,

 Tierra incurred response costs of more than $1 million under the RM 10.9 Removal UAO.



 18
   EPA Press Release, EPA Signs Agreement with Companies to Remove Major Source of Dioxin from the Lower
 Passaic River (June 23, 2008),
 https://archive.epa.gov/epapages/newsroom_archive/newsreleases/ded62422a0eb385c85257471005eecb0.html (last
 visited June 29, 2018).
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           31.     During the course of these investigations and removal actions, EPA decided to

 address the Lower 8.3 Miles separately. Rather than await the outcome of the RI/FS for the lower

 17 miles to select a remedy for the entire LPRSA, EPA undertook a targeted Remedial

 Investigation and Focused Feasibility Study of the lower 8.3 miles of the Passaic River. This study

 eventually led EPA to issue the OU2 ROD, which calls for the Lower 8.3 Miles to be dredged and

 for a protective cap to be installed over the riverbed, to permanently isolate the remaining

 contaminated sediments. The scientific findings and studies that underlie EPA’s selected remedy

 are set out in two EPA documents: the RI for the Lower Eight Miles and the Focused Feasibility

 Study Report for the Lower Eight Miles of the Lower Passaic River (“FFS Report”). Both

 documents are available in the EPA Administrative Record.

           32.     EPA sent notices to many of the Defendants in this action that they are potentially

 responsible for costs of designing and implementing EPA’s selected remedy for OU2.19 EPA also

 encouraged the PRPs to meet and discuss a workable approach to sharing responsibility for OU2

 response costs. OxyChem reached out by letter in May 2016 to numerous Defendants and set up

 a meeting to discuss their participation in the design of the OU2 Remedy.20 Only a small number

 of Defendants attended the meeting, and none agreed to share responsibility for the remedial

 design.




 19
   See List of Parties That Received the March 31, 2016 Notice of Potential Responsibility for the Lower 8.3 Miles of
 the      Lower      Passaic    River,    Operable     Unit     Two      of     the     Diamond       Alkali    Site,
 https://semspub.epa.gov/work/02/457510.pdf (last visited June 29, 2018).
 20
   Defendants or their affiliates that were sent an invitation for a meeting to discuss their participation in the design of
 the OU2 Remedy, include, but are not limited to, 21st Century Fox America, Inc.; Alliance Chemical Inc.; BASF
 Catalysts LLC; BASF Corporation; Conopco, Inc.; DII Industries, LLC; Franklin-Burlington Plastics, Inc.; Givaudan
 Fragrances Corporation; Nokia of America Corporation; Pitt-Consol Chemical Company; PPG Industries, Inc.; Public
 Service Electric and Gas Company; Quality Carriers, Inc.; Sequa Company; Sun Chemical Company; The Sherwin-
 Williams Company; Legacy Vulcan, LLC.
                                                            18
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           33.     On September 30, 2016, OxyChem entered into the 2016 ASAOC, under which

 OxyChem agreed to design (and fund the costs of designing) the remedy for OU2 of the Lower

 Passaic River. Under the order, OxyChem is working with EPA on the design of the engineered

 cap.      This includes performing a predesign investigation; developing plans for project

 management, remedial design work, and sitewide monitoring; and executing three distinct

 remedial designs: preliminary, intermediate, and final. In the 2016 ASAOC, EPA confirmed that

 the remedy was selected to address over a dozen hazardous substances, beyond the dioxins and

 DDT for which OxyChem is alleged to be liable.21 EPA also stated that “[d]ata show that, between

 RM 0 and RM 8.3, surface sediments in the navigation channel are as highly contaminated as those

 in the shoals, based on median concentrations . . . . In other words, data show that elevated

 concentrations of COCs are ubiquitous in surface sediments of the lower 8.3 miles[.]”22

           34.     EPA originally estimated the design work under the 2016 ASAOC would cost $165

 million. Furthermore, EPA estimates that it will cost an additional $1.38 billion to implement the

 OU2 Remedy. Additionally, OxyChem itself has incurred and will continue to incur response

 costs pursuant to the Tierra Removal Order, the CSO ASAOC, the RM 10.9 Removal UAO, and

 the 2016 ASAOC and for investigating and identifying other PRPs. These costs have been and

 will continue to be incurred by OxyChem (i) for actions taken in response to the release or

 threatened release of hazardous substances at the Site, within the meaning of 42 U.S.C. §




 21
   See 2016 ASAOC ¶ 11 (Findings of Fact) (“The sediments of the Lower Passaic River contain hazardous substances,
 including, but not limited to, cadmium, copper, lead, mercury, nickel, zinc, polyaromatic hydrocarbons (‘PAHs’),
 dieldrin, bis (2-ethylhexyl) phthalate, polychlorinated biphenyls (‘PCBs’), dichlorodiphenyl-trichloroethane (‘DDT’),
 polychlorinated dibenzo-p-dioxins (‘PCDDs’) including 2,3,7,8-tetrachloro-dibenzo-p-dioxin (‘2,3,7,8-TCDD’),
 polychlorinated dibenzofurans (‘PCDFs’), 2,4-dichlorophenoxy acetic acid (‘2,4-D’), 2,4,5-trichlorophenoxy acetic
 acid (‘2,4,5-T’), and 2,4,5-trichlorophenol (‘2,4,5-TCP’).”).
 22
      OU2 ROD § 5.3 (Sediment Conceptual Site Model).
                                                         19
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 9607(a)(4); (ii) for necessary costs of response consistent with the National Contingency Plan,

 within the meaning of 42 U.S.C. § 9607(a)(4)(B); and (iii) in excess of OxyChem’s equitable

 shares, within the meaning of 42 U.S.C. § 9613(f).

        D.         Cooperating with EPA, OxyChem and Its Indemnitors Spend Hundreds of
                   Millions of Dollars to Remedy Contamination at the Site

        35.        OxyChem and its indemnitors, Maxus and Tierra, have spent hundreds of millions

 of dollars in the effort to respond to and remedy contamination in the river, both with respect to

 the Lister Avenue Plant and for the Site as a whole. The following costs were borne entirely by

 OxyChem and/or its indemnitors, on OxyChem’s behalf, even though countless others are also

 responsible to clean up their own pollution of the river:

       OxyChem’s indemnitors, Maxus and Tierra, spent over $83 million on a removal action
        adjacent to OU1, the Lister Avenue Plant, that was contaminated with all eight COCs.

       Tierra incurred over $2.5 million in response costs to investigate the extent of
        contamination from combined sewer overflows and storm water outfalls into the Passaic
        River.

       Maxus, Tierra, and certain of their affiliates entered into a $130-million settlement, and
        OxyChem entered into a $190-million settlement, with the NJDEP for natural resource
        damages, costs of the state of New Jersey, and economic damages that NJDEP alleged
        arose from contamination of the river.

       OxyChem agreed to design the OU2 Remedy at an estimated cost of over $165 million.

        Once the design of the OU2 Remedy is complete, OxyChem stands ready to discuss with

 EPA the implementation of the remedy with an acceptable consent decree and with other parties

 participating—but cannot be expected to do it alone. Defendants must pay their fair shares of the

 response costs.

        E.         OxyChem’s Indemnitors Are Forced into Bankruptcy

        36.        In June 2016, YPF, S.A., the parent company of Maxus and Tierra, forced Maxus,

 Tierra, and certain affiliates into bankruptcy and caused Maxus and Tierra to default on their
                                                  20
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 obligations to indemnify, defend, and hold OxyChem harmless from all environmental liabilities

 arising from the Lister Avenue Plant, including alleged liabilities to remediate contamination in

 OU2 and the Site.23 As a result, OxyChem has been forced to incur millions of dollars of response

 costs to address DSCC’s operations at the Site. OxyChem also expects to incur significant

 response costs in the future. OxyChem is prepared to bear its fair and equitable share of the

 responsibility to remedy contamination at the Facility. OxyChem is not, however, responsible to

 identify and remediate Defendants’ disposals of hazardous substances. Instead, Defendants are

 liable under CERCLA to pay their own equitable shares of these costs.

            EIGHT CONTAMINANTS OF CONCERN DRIVE EPA’S SELECTED REMEDY
            AT THE SITE, AND EVERY PARTY THAT RELEASED ANY COC MUST PAY
            ITS FAIR SHARE OF RESPONSE COSTS

            37.     Countless hazardous substances have contaminated the Lower Passaic River. All

 of them will be addressed by EPA’s selected remedy for OU2. EPA has, however, identified eight

 COCs that pose the greatest potential risk to human health and the environment in OU2: dioxins

 and furans, PCBs, mercury, DDT, copper, dieldrin, PAHs, and lead.24                             EPA’s Preliminary

 Remediation Goals (PRGs), which are based on both human-health and ecological effects, required

 a remedy that addresses all eight COCs.




 23
    The bankruptcy court ruled that the Liquidating Trust owns OxyChem’s claims for common law alter ego, fraudulent
 transfer, and asset-stripping against Maxus and Tierra’s parent companies, YPF, S.A. and Repsol, S.A., which claims
 the Liquidating Trust is pursuing. The Liquidating Trust takes the position that this ruling extends to include alter ego
 claims against YPF, S.A. and Repsol, S.A. under CERCLA to hold them responsible for the actions of their wholly
 owned subsidiary, Diamond Shamrock (now known as Maxus). If such CERCLA claims are not pursued by the
 Liquidating Trust against YPF, S.A. and Repsol, S.A., then OxyChem reserves the right to amend this complaint to
 assert them itself.
 24
      See OU2 ROD § 5.2 (Contaminants of Concern).
                                                           21
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            A.       EPA Determined That the OU2 Remedy Was Necessary to Achieve the
                     Remediation Goals with Respect to the Eight COCs

            38.      EPA determined the OU2 Remedy was necessary to meet the PRGs and that the

 alternatives to the remedy would not adequately reduce the concentrations of each COC. For

 instance, according to EPA, under a “focused capping” option, PCB concentrations would exceed

 the goal by a factor of 8, mercury by a factor of 20, dioxins by a factor of 6, and total DDX by a

 factor of 150 (with these four COCs used as representatives of all eight COCs).25 Thus, according

 to EPA, the OU2 Remedy was necessary to reach the PRGs, and adequately reduce the

 concentrations of all eight COCs. “EPA’s modeling of each of the alternatives predicted that in

 order to achieve COC concentrations approaching as closely as possible to remediation goals,

 bank-to-bank remediation in the lower 8.3 miles is necessary.”26

            39.      EPA has stated that the cleanup plan for OU2 requires the permanent removal from

 the river of approximately 24,000 pounds of mercury; 6,600 pounds of PCBs; 1,300 pounds of

 DDT; and 13 pounds of dioxins.27 Notably, even before design or implementation of EPA’s

 selected remedy under the 2016 ASAOC, OxyChem’s indemnitors already paid to remove a

 significant volume of dioxins and other COCs in Phase 1 of the Tierra Removal Order.

            B.       Defendants Are Responsible for Their Equitable Shares of the Cost to
                     Remediate All Eight COCs, Along with Other Hazardous Substances

            40.      DSCC’s manufacturing process involved only two of the eight chemicals that led

 EPA to select the remedy: dioxins/furans and DDT. The Lister Avenue Plant was not the only



 25
      See id. at § 10.3 (Long-Term Effectiveness and Permanence).
 26
      Id.
 27
   See Elias Rodriguez, EPA Secures $165 Million Agreement with Occidental Chemical to Conduct the Work Needed
 to Start the Cleanup of the Lower Eight Miles of the Passaic River (Oct. 5, 2016),
 https://19january2017snapshot.epa.gov/newsreleases/epa-secures-165-million-agreement-occidental-chemical-
 conduct-work-needed-start-cleanup_.html (last visited June 29, 2018).
                                                          22
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 plant responsible for releases of dioxins/furans or DDT into the Lower Passaic River. The other

 PRPs responsible for releases or disposals of dioxins and DDT into the Lower Passaic River must

 bear their equitable shares of the response costs for those COCs.

           41.     The Lister Avenue Plant did not engage in any industrial processes that generated

 or caused the disposal of the other six COCs that are also driving the cost of the EPA-mandated

 remedy: namely, PCBs, mercury, copper, dieldrin, PAHs, and lead. Accordingly, on any theory

 of liability, OxyChem should not bear any share of the response costs associated with any of these

 other six COCs that drove EPA to select the OU2 Remedy. The parties who disposed of the other

 six COCs should bear the full response costs for those COCs.

           42.     Under CERCLA, the Court can and should assess allocable shares of the costs to

 design the remedy among the responsible parties. EPA ordered the dredge-and-cap remedy

 because it found that this was the only remedy that would effectively clean up and isolate all eight

 of the key COCs cited in the OU2 ROD. EPA indicated that alternatives short of its selected

 remedy would not achieve the remediation goal for any of the eight COCs.28 Accordingly, a fair

 allocation would first allocate the OU2 response costs in equal shares to each of the eight COCs,

 with each COC’s share then allocated amongst the parties responsible for that COC.

           43.     OxyChem has incurred and will incur costs in the performance of the work required

 by the 2016 ASAOC, including but not limited to, costs of investigation, testing, and design of the

 remedy mandated by the OU2 ROD. By this action, OxyChem seeks recovery from Defendants

 of their respective fair and equitable shares of those costs. OxyChem also seeks recovery of

 Defendants’ respective fair and equitable shares of the costs OxyChem has incurred and/or will



 28
      OU2 ROD § 10.3 (Long-Term Effectiveness and Permanence).
                                                      23
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 continue to incur pursuant to the Tierra Removal ASAOC, the CSO ASAOC, and the RM 10.9

 Removal UAO and costs associated with investigating and identifying other PRPs responsible for

 polluting the Lower Passaic River, whether as a result of direct discharge, downstream flows,

 migration from upland sites, improper disposal, or tidal influences from Newark Bay. In addition,

 OxyChem seeks a declaratory judgment imposing an equitable allocation of all future costs of

 designing the remedy against at least the parties responsible for the releases of the eight COCs that

 are driving the remedy.

          44.      In connection with the Maxus and Tierra bankruptcy, OxyChem granted a partial

 release of its CERCLA contribution claim to 41 of the Defendants.29 That release is limited to the

 “Itemized Amount” of $165 million associated with the costs to design the remedy for OU2 that

 OxyChem was deemed to have incurred as of the date of the Debtors’ Petition. OxyChem did not

 release its claim for contribution against these parties for costs to design the remedy that exceed

 $165 million or for certain other costs related to the Tierra Removal ASAOC, the CSO ASAOC,

 the RM 10.9 Removal UAO, and costs associated with investigating and identifying other PRPs

 responsible for polluting the Lower Passaic River. OxyChem also did not grant any release to 79

 Defendants, each of whom is—as set out below—liable to pay its full allocable share of the costs

 OxyChem has incurred and will incur in the future to design the remedy for OU2 of the Site.

          JURSDICTION AND VENUE

          45.      OxyChem files this civil action pursuant to Sections 107(a)(1), (a)(2), (a)(3), (a)(4),

 and (a)(4)(B) and 113(f)(1) and (f)(3)(B) of CERCLA, as amended, 42 U.S.C. §§ 9607(a)(1),




 29
    Attached hereto as Exhibit A is a list of the 41 Defendants that have received from OxyChem a partial release of
 contribution liability for their shares of the Itemized Amount of $165 million, along with a list of the 79 Defendants
 that have not received any release from OxyChem.
                                                          24
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 (a)(2), (a)(3), (a)(4), and (a)(4)(B) and 9613(f)(1) and (f)(3)(B) for the recovery and contribution

 from Defendants of response costs that OxyChem has expended to date and will expend in the

 future in response to releases and/or threatened releases of hazardous substances at the Diamond

 Alkali Superfund Site.

         46.     This Court has jurisdiction over this action pursuant to 42 U.S.C. §§ 9607 and

 9613(b), providing jurisdiction over controversies arising under CERCLA; 28 U.S.C. § 1331,

 providing jurisdiction over federal questions; and 28 U.S.C. §§ 2201-2202 and 42 U.S.C.

 § 9613(g)(2), providing jurisdiction over declaratory judgment actions.

         47.     Upon information and belief, all parties and/or their predecessors are conducting

 business in the State of New Jersey and/or conducted business in the State of New Jersey during

 the relevant time period, and have or had sufficient contacts with the State of New Jersey to be

 subject to the jurisdiction of this Court.

         48.     Venue is proper in this District pursuant to 42 U.S.C. § 9613(b) and 28 U.S.C.

 § 1391(b) because the property where the releases and threatened releases of hazardous substances

 have occurred is located within the territorial limits of this District, the damages giving rise to

 these claims occurred in this District, and multiple Defendants reside in this District.

         49.     Pursuant to 42 U.S.C. § 9613(l), OxyChem will provide a copy of the complaint to

 the Attorney General of the United States and to the Administrator of the United States

 Environmental Protection Agency.

         50.     Pursuant to paragraph 106 of the 2016 ASAOC, OxyChem notified EPA in writing

 60 days prior to the initiation of this suit that it intended to file a suit in the United States District

 Court for the District of New Jersey against liable parties for matters related to the 2016 ASAOC.



                                                    25
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         PARTIES

         51.     Plaintiff OxyChem is a New York corporation with its principal place of business at

 5005 LBJ Freeway, Dallas, Texas.

         52.     Defendant 21st Century Fox America, Inc. (f/k/a News America, Inc./Montrose

 Chemical Company/Chris Craft Industries) (“Fox America”) is a corporation organized under the

 laws of the State of Delaware with its principal place of business at 1211 Avenue of the Americas,

 New York, New York.

         53.     Defendant 3M Company (f/k/a Minnesota Mining & Manufacturing Co.) is a

 Delaware corporation with its principal place of business at 3M Center, St. Paul, Minnesota.

         54.     Defendant A.E. Staley Manufacturing Company (“A.E. Staley”) is a corporation

 organized under the laws of the State of Delaware with its principal place of business at 2200 E.

 Eldorado Street, Decatur, Illinois.

         55.     Defendant Akzo Nobel Coatings, Inc. is a Delaware corporation with its principal

 place of business at 525 W. Van Buren St. Fl.16, Chicago, Illinois.

         56.     Defendant Alden Leeds Inc. (“Alden Leeds”) is a corporation organized under the

 laws of the State of New York with its principal place of business at 55 Jacobus Avenue, South

 Kearny, New Jersey.

         57.     Defendant Alliance Chemical Inc. (“Alliance Chemical”) is a corporation organized

 under the laws of the State of New Jersey with its principal place of business at P.O. Box 237,

 Ridgefield, New Jersey.

         58.     Defendant American Inks & Coatings Corporation is a Pennsylvania corporation with

 its principal place of business at 3400 North Hutchinson Street, Pine Bluff, Arkansas.



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        59.     Defendant APOLAN International, Inc. (f/k/a Atlantic Polymers & Products, Inc.) is

 a New Jersey corporation with its principal place of business at 5036 Industrial Road, Wall Township,

 New Jersey.

        60.     Defendant Arkema Inc. (“Arkema”) is a corporation organized under the laws of the

 Commonwealth of Pennsylvania with its principal place of business at 900 First Avenue, King of

 Prussia, Pennsylvania.

        61.     Defendant Ashland LLC (f/k/a Ashland Chemical Company) (“Ashland”), is a limited

 liability company organized under the laws of the State of Kentucky with its principal place of

 business located at 50 East River Center Boulevard, Covington, Kentucky.

        62.     Defendant Atlantic Richfield Company (ARCO) is a corporation organized under the

 laws of the State of Delaware with its principal place of business at 501 Westlake Park Boulevard,

 Houston, Texas.

        63.     Defendant Atlas Refinery, Inc. (a/k/a Atlas Refining, Inc.) (“Atlas Refining”) is a

 corporation organized under the laws of the State of New Jersey with its principal place of business

 at 142 Lockwood Street, Newark, New Jersey.

        64.     Defendant Aventisub LLC (f/k/a Roussel Uclaf) (“Aventisub”) is a limited liability

 company organized under the laws of the State of Delaware with its principal place of business at

 3711 Kennett Pike, Suite 200, Greenville, Delaware.

        65.     Defendant BASF Catalysts LLC (f/k/a Engelhard Corporation) (“BASF Catalysts”) is

 a limited liability company organized under the laws of the State of Delaware with its principal place

 of business located at 100 Park Avenue, Florham Park, New Jersey.




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        66.     Defendant BASF Corporation (BASF) is a corporation organized under the laws of

 the State of Delaware with its principal place of business located at 100 Campus Drive, Florham Park,

 New Jersey.

        67.     Defendant Bath Iron Works Corporation (BIW) is a corporation organized under the

 laws of the State of Maine with its principal place of business at 700 Washington Street, Bath, Maine.

        68.     Defendant Benjamin Moore & Co. (“Benjamin Moore”), a subsidiary of Berkshire

 Hathaway, Inc., is a corporation organized under the laws of the State of New Jersey with its principal

 place of business is located at 101 Paragon Drive, Montvale, New Jersey.

        69.     Defendant Berol Corporation (“Berol”) (c/o Newell Rubbermaid Inc.) is a corporation

 organized under the laws of the State of Delaware with its principal place of business at 2711

 Washington Boulevard, Bellwood, Illinois.

        70.     Defendant Borden & Remington Corp. is a Massachusetts corporation with its

 principal place of business at 63 Water Street, Fall River, Massachusetts.

        71.     Defendant Campbell Foundry Company (CFC) is a corporation organized under the

 laws of the State of New Jersey with its principal place of business at 800 Bergen Street, Harrison,

 New Jersey.

        72.     Defendant Canning Gumm LLC (“Canning Gumm”) is a limited liability company

 organized under the laws of the State of Delaware with its principal place of business at c/o

 MacDermid Incorporated, 245 Freight Street, Waterbury, Connecticut.

        73.     Defendant CBS Corporation (CBS), formerly known as Viacom Inc. and

 Westinghouse Electric Corporation (“Westinghouse”), is a corporation organized under the laws of

 the State of Delaware with its principal place of business at 51 W. 52nd Street, New York, New York.



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        74.     Defendant Chargeurs Wool (USA) Inc. (f/k/a United Piece Dye Works) (“Chargeurs”)

 is a corporation organized under the laws of the State of Delaware with its principal place of business

 at 178 Wool Road, Jamestown, South Carolina.

        75.     Defendant Chargeurs, Inc. is a corporation organized under the laws of the State of

 Delaware with its principal place of business at 251 Little Falls Drive, Wilmington, Delaware.

        76.     Defendant Chemtrade Chemicals Corporation (as successor to Essex Industrial

 Chemicals Inc.) (“Chemtrade”) is a corporation organized under the laws of the State of Delaware

 with its principal place of business at 90 East Halsey Road, Parsippany, New Jersey.

        77.     Defendant Clean Earth of North Jersey, Inc. (“Clean Earth”) is a corporation

 organized under the laws of the State of New Jersey with its principal place of business at 115 Jacobus

 Avenue, Kearny, New Jersey.

        78.     Defendant CNA Holdings LLC (“Celanese”) is a limited liability company organized

 under the laws of the State of Delaware with its principal place of business at 222 W. Las Colinas

 Boulevard, Suite 900, Irving, Texas.

        79.     Defendant Coats & Clark, Inc. (“Coats”) is a corporation organized under the laws of

 the State of Delaware with its principal place of business at 3430 Toringdon Way, Suite 301,

 Charlotte, North Carolina.

        80.     Defendant Conopco, Inc. (f/k/a S. B. Penick Company), d/b/a Unilever Best Foods

 North America (“Unilever”) is a corporation organized under the laws of the State of New York with

 its principal place of business at 700 Sylvan Avenue, Englewood Cliffs, New Jersey.

        81.     Defendant Cooper Industries, LLC (“Cooper”) is a limited liability company

 organized under the laws of the State of Delaware with its principal place of business at 600 Travis

 Street, Suite 5800, Houston, Texas.

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           82.   Defendant Covanta Essex Co. (f/k/a American Ref-Fuel Company) (ARC) is a

 company organized under the laws of the State of Delaware with its principal place of business at 445

 South Street, Morristown, New Jersey.

           83.   Defendant Croda, Inc. (“Croda”) is a corporation organized under the laws of the State

 of Delaware with its principal place of business at 300A Columbus Circle, Edison, New Jersey.

           84.   Defendant Curtiss-Wright Corporation (“Curtiss-Wright”) is a corporation organized

 under the laws of the State of Delaware with its principal place of business at 13925 Ballantyne

 Corporate Place, Suite 400, Charlotte, North Carolina.

           85.   Defendant Darling Ingredients Inc. (f/k/a Darling International, Inc.) (“Darling”) is a

 corporation organized under the laws of the State of Delaware with its principal place of business at

 251 O’Connor Ridge Boulevard, Suite 300, Irving, Texas.

           86.   Defendant DII Industries, LLC (f/k/a Dresser Industries, Inc.) (DII), a subsidiary of

 Halliburton Company, is a limited liability company organized under the laws of the State of

 Delaware with its principal place of business at 2001 Ross Avenue, Dallas, Texas.

           87.   Defendant E.I. du Pont de Nemours & Company is a Delaware corporation with its

 principal place of business at 974 Centre Road, Wilmington, Delaware.

           88.   Defendant Eden Wood Corporation (“Eden Wood”) is a corporation organized under

 the laws of the State of Delaware with its principal place of business at 47 Parsippany Road,

 Whippany, New Jersey.

           89.   Defendant Elan Chemical Co., Inc. (“Elan”) is a corporation organized under the laws

 of the State of New Jersey with its principal place of business at 268 Doremus Avenue, Newark, New

 Jersey.



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        90.     Defendant Emerald Kalama Chemical LLC (f/k/a Kalama Chemicals) is a limited

 liability company organized under the laws of the State of Washington with its principal place of

 business at 2730 West Tyvola Road, Four Coliseum Centre, Charlotte, North Carolina.

        91.     Defendant EnPro Industries, Inc. (“EnPro”), formerly Crucible Steel (“Crucible”), is

 a corporation organized under the laws of the State of North Carolina with its principal place of

 business at 5605 Carnegie Boulevard, Suite 500, Charlotte, North Carolina.

        92.     Defendant Essex Chemical Corporation (“Essex”) is a corporation organized under

 the laws of the State of New York with its principal place of business at 2030 Dow Center, Midland,

 Michigan.

        93.     Defendant Everett Smith Group, Ltd. (f/k/a Blanchard Bro. & Lane, Eagle Ottawa

 Leather, Albert Trostel & Sons) (“Everett Smith”) is a limited liability company organized under the

 laws of the State of Wisconsin with its principal place of business at 330 Kilbourn Avenue, Suite

 1400, Milwaukee, Wisconsin.

        94.     Defendant Flint Group Incorporated (f/k/a Flint Ink Corporation) is a Michigan

 corporation with its principal place of business at 601 Abbott Road, East Lansing, Michigan.

        95.     Defendant Fort James LLC (f/k/a Fort James Corporation f/k/a Crown Zellerbach

 Corporation) is a Virginia limited liability company with its principal place of business at 133

 Peachtree Street NE, Atlanta, Georgia.

        96.     Defendant Foundry Street Corporation (FSC) is a corporation organized under the

 laws of the State of New Jersey with its principal place of business at 260 Knoll Drive, Park Ridge,

 New Jersey.




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        97.     Defendant Foundry Street Development, LLC (“Foundry”) is a limited liability

 company organized under the laws of the State of Delaware with its principal place of business located

 at 616 South 21st Street, Philadelphia, Pennsylvania.

        98.     Defendant Franklin-Burlington Plastics, Inc. (f/k/a Franklin Plastics Corporation)

 (“Franklin-Burlington”) is a corporation organized under the laws of the State of Delaware with its

 principal place of business at 33587 Walker Road, Avon Lake, Ohio.

        99.     Defendant Garfield Molding Company, Inc./Garfield Manufacturing Company

 (“Garfield”) is a corporation organized under the laws of the State of New Jersey with its principal

 place of business at 10 Midland Avenue, Post Office Box 3236, Wallington, New Jersey.

        100.    Defendant General Electric Company (“General Electric”) is a corporation organized

 under the laws of the State of New York with its principal place of business at 33-41 Farnsworth

 Street, Boston, Massachusetts.

        101.    Defendant Givaudan Fragrances Corporation (“Givaudan”) (formerly known as

 Givaudan-Roure Corporation) is a corporation organized under the laws of the State of Delaware with

 its principal place of business located at 1199 Edison Drive, Cincinnati, Ohio.

        102.    Defendant Goodrich Corporation (“Goodrich”) is a corporation organized under the

 laws of the State of New York with its principal place of business at 2730 W. Tyvola Road, Four

 Coliseum Centre, Charlotte, North Carolina.

        103.    Defendant Harris Corporation (f/k/a ITT Corporation, f/k/a ITT Industries, Inc.)

 (“Harris”) is a Delaware corporation with its principal place of business located at 1025 West NASA

 Boulevard, Melbourne, Florida.




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           104.   Defendant Hexcel Corporation (f/k/a Fine Organics, Inc.) (“Hexcel”) is a corporation

 organized under the laws of the State of Delaware with its principal place of business at 281 Tresser

 Boulevard, Stamford, Connecticut.

           105.   Defendant Hexion Inc. (f/k/a Borden Chemical, Inc.) is a New Jersey corporation with

 its principal place of business at 180 East Broad Street, Columbus, Ohio.

           106.   Defendant Hoffmann-La Roche Inc. is a corporation organized under the laws of the

 State of New Jersey with its principal place of business at 150 Clove Road, Suite 8, Little Falls, New

 Jersey.

           107.   Defendant Honeywell International Inc. (“Honeywell”) is a corporation organized

 under the laws of the State of New Jersey with its principal place of business at 115 Tabor Road,

 Morris Plains, New Jersey.

           108.   Defendant Houghton International Inc. (f/k/a E.F. Houghton & Co., Inc.) is a

 Pennsylvania corporation with its principal place of business at Madison and Van Buren Avenues,

 Valley Forge, Pennsylvania.

           109.   Defendant Ingredion Incorporated is a Delaware corporation with its principal place

 of business at 5 Westbrook Corporate Center, Westchester, Illinois.

           110.   Defendant Innospec Active Chemicals LLC (f/k/a Finetex, Inc.) (“Innospec”) is a

 limited liability company organized under the laws of the State of Georgia with its principal place of

 business at 510 West Grimes Avenue, High Point, North Carolina.

           111.   Defendant INX International Ink Co. (f/k/a Midland Color Company and f/k/a Roberts

 & Carlson, Inc.) is a Delaware corporation with its principal place of business at 150 North Martingale

 Road, Suite 700, Schaumburg, Illinois.



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        112.    Defendant ISP Chemicals LLC (f/k/a International Specialty Products, Inc. and ISP

 Van Dyk, Inc.) (ISP) is a limited liability company organized under the laws of the State of Delaware

 with its principal place of business at 1361 Alps Road, Wayne, New Jersey.

        113.    Defendant Johnson & Johnson is a New Jersey corporation with its principal place of

 business at One Johnson and Johnson Plaza, New Brunswick, New Jersey.

        114.    Defendant Kalama Specialty Chemicals, Inc. (f/k/a Kalama Chemical Inc.) is a

 corporation organized under the laws of the State of Washington with its principal place of business

 at 900 4th Avenue, Seattle, Washington.

        115.    Defendant Kearny Smelting & Refining Corp. (“Kearny Smelting”) is a corporation

 organized under the laws of the State of New York with its principal place of business at 936 Harrison

 Avenue, Kearny, New Jersey.

        116.    Defendant LeeMilt’s Petroleum, Inc. (f/k/a Power Test Corporation) (“LeeMilt”) is a

 corporation organized under the laws of the State of New York with its principal place of business at

 2 Jericho Plaza, Suite 110, Jericho, New York.

        117.    Defendant Legacy Vulcan, LLC (f/k/a Vulcan Materials Company; f/k/a Kolker

 Chemical Corporation) (“Vulcan”) is a limited liability company organized under the laws of the State

 of Delaware with its principal place of business at 1200 Urban Center Drive, Birmingham, Alabama.

        118.    Defendant Mallinckrodt LLC (“Mallinckrodt”) is a limited liability company

 organized under the laws of the State of Delaware with its principal place of business located at 675

 James S. McDonnell Boulevard, Hazelwood, Missouri.

        119.    Defendant Marathon Oil Corporation (f/k/a USX Corp., f/k/a Federal Shipbuilding &

 Dry Dock Company) is a Delaware corporation with its principal place of business at 5555 San Felipe

 Street, Houston, Texas.

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         120.    Defendant McKesson Corporation (“McKesson”) is a corporation organized under

 the laws of the State of Maryland with its principal place of business at One Post Street, San Francisco,

 California.

         121.    Defendant Melon Leasing Corporation, Inc. is a corporation organized under the laws

 of the State of New Jersey with its principal place of business located at 109-113 Jacobus Avenue,

 Kearny, New Jersey.

         122.    Defendant Meltser-Tonnele Avenue LLC (“Meltser”) is a limited liability company

 organized under the laws of the State of New Jersey with its principal place of business located at

 187-189 Foundry Street, Newark, New Jersey.

         123.    Defendant MI Holdings, Inc. (“MI Holdings”) is a corporation organized under the

 laws of the State of Missouri with its principal place of business located at 601 Midland Avenue, Rye,

 New York.

         124.    Defendant Nappwood Land Corporation is a corporation organized under the laws of

 the State of New Jersey with its principal place of business at One Stamford Forum, 201 Tresser

 Boulevard, Stamford, Connecticut.

         125.    Defendant National-Standard LLC (“National-Standard”) is a limited liability

 company organized under the laws of the State of Delaware with its principal place of business at

 1618 Terminal Road, Niles, Michigan.

         126.    Defendant Newell Brands Inc. (f/k/a Newell Rubbermaid, Inc.) (NBI) is a corporation

 organized under the laws of the State of Delaware with its principal place of business at 221 River

 Street, Hoboken, New Jersey.




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        127.    Defendant Nokia of America Corporation (f/k/a Alcatel-Lucent USA, Inc.)

 (“Lucent”) is a corporation organized under the laws of the State of Delaware with its principal place

 of business at 600-700 Mountain Avenue, Suite 700, New Providence, New Jersey.

        128.    Defendant Novartis Corporation (f/k/a Ciba Geigy Corporation) is a New York

 corporation with its principal place of business at One South Ridgedale Avenue, Building 122, East

 Hanover, New Jersey.

        129.    Defendant Novelis Corporation (f/k/a Alcan Aluminum Corporation) (“Alcan”) is a

 corporation organized under the laws of the State of Texas with its principal place of business at 3560

 Lenox Road, Suite 2000, Atlanta, Georgia.

        130.    Defendant Noveon Hilton Davis, Inc., a subsidiary of Dystar LP (“Noveon Hilton

 Davis”), is a corporation organized under the laws of the State of Delaware with its principal place of

 business at 2235 Langdon Farm Road, Cincinnati, Ohio.

        131.    Defendant Otis Elevator Company (“Otis”) is a corporation organized under the laws

 of the State of New Jersey with its principal place of business at 1 Carrier Place, Farmington,

 Connecticut.

        132.    Defendant Pabst Brewing Company, LLC (“Pabst”) is a limited liability company

 organized under the laws of the State of Delaware with its principal place of business at 10635 Santa

 Monica Boulevard, Los Angeles, California.

        133.    Defendant Palin Enterprises L.L.C. (“Palin”) is a limited liability company organized

 under the laws of the State of New Jersey with its principal place of business at 235 Park Avenue,

 South, 8th Floor, New York, New York.

        134.    Defendant Pfister Urban Renewal Corporation (“Pfister Urban”) is a New Jersey

 corporation with its principal place of business at P.O. Box 237, Ridgefield, New Jersey.

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        135.    Defendant Pharmacia LLC (f/k/a Monsanto Company) (“Pharmacia”) is a limited

 liability company organized under the laws of the State of Delaware with its principal place of

 business at 7000 Portage Road, Kalamazoo, Michigan.

        136.    Defendant Pitt-Consol Chemical Company (“DuPont”), a subsidiary of Du Pont

 Chemical and Energy Operations, Inc., is a corporation organized under the laws of the State of

 Delaware with its principal place of business at 1007 Market Street, Wilmington, Delaware.

        137.    Defendant PMC Global, Inc. (a/k/a Kleer Kast, a Division of PMC Inc.) (“Kleer

 Kast”) is a corporation organized under the laws of the State of Delaware with its principal place of

 business at PMC, Inc., 12243 Branford Street, Sun Valley, California.

        138.    Defendant PPG Industries, Inc. (PPG) is a corporation organized under the laws of the

 Commonwealth of Pennsylvania with its principal place of business located at One PPG Place,

 Pittsburgh, Pennsylvania.

        139.    Defendant Public Service Electric & Gas Company (PSE&G) is a corporation

 organized under the laws of the State of New Jersey with its principal place of business at 80 Park

 Plaza, Newark, New Jersey.

        140.    Defendant Purdue Pharma Technologies, Inc. (“Purdue”) is a corporation organized

 under the laws of the State of Delaware with its principal place of business at One Stamford Forum,

 201 Tresser Boulevard, Stamford, Connecticut.

        141.    Defendant Quala Systems, Inc. (“Quala”) is a corporation organized under the laws

 of Delaware with a principal place of business at 500 N. Westshore Boulevard, Suite 435, Tampa,

 Florida.

        142.    Defendant Quality Carriers, Inc. (a/k/a/ Quality Distribution, Inc., f/k/a Chemical

 Leaman Tank Lines, Inc.) (“Quality Distribution”) is a corporation organized under the laws of the

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 State of Illinois with its principal place of business located at 4041 Park Oaks Boulevard, Suite 200,

 Tampa, Florida.

        143.    Defendant R. T. Vanderbilt Holding Company, Inc. (f/k/a R. T. Vanderbilt Company,

 Inc., f/k/a Vanderbilt Chemical Corporation) is a Delaware corporation with its principal place of

 business at 30 Winfield Street, Norwalk, Connecticut.

        144.    Defendant Reckitt Benckiser LLC (“Reckitt”) is a limited liability company organized

 under the laws of the State of Delaware with its principal place of business at 399 Interpace Parkway,

 Parsippany, New Jersey.

        145.    Defendant Revere Smelting & Refining Corporation (“Revere”) is a corporation

 organized under the laws of the State of Delaware with its principal place of business at 2777

 Stemmons Freeway, Suite 1800, Dallas, Texas.

        146.    Defendant Rexam Beverage Can Company (f/k/a American National Can Company)

 is a Delaware corporation with its principal place of business at 10 Longs Peak Drive, Broomfield,

 Colorado.

        147.    Defendant Roselle Mausoleum Maintenance Fund, Inc. (f/k/a Peter Roselle & Sons,

 Inc.) (the “Roselle Entities”) is a corporation organized under the laws of the State of New Jersey,

 with its principal place of business at 163 Tremont Avenue, East Orange, New Jersey.

        148.    Defendant Royce Associates, a Limited Partnership (f/k/a Royce Chemical Company)

 (“Royce”) is a limited partnership organized under the laws of the State of New Jersey with its

 principal place of business at 35 Carlton Avenue, East Rutherford, New Jersey.

        149.    Defendant RTC Properties, Inc. (f/k/a Union Minerals and Alloys Corporation

 (“Union Minerals”) is a New York corporation with its principal place of business at 100 Central

 Avenue, Building 30, Kearny, New Jersey.

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        150.    Defendant Safety-Kleen Envirosystems Company (“Safety-Kleen”) is a corporation

 organized under the laws of the State of California with its principal place of business at 42 Longwater

 Drive, Norwell, Massachusetts.

        151.    Defendant Schiffenhaus Packaging LLC (“Schiffenhaus”) is a limited liability

 company organized under the laws of the State of New Jersey with its principal place of business at

 2013 McCarter Highway, Newark, New Jersey.

        152.    Defendant Sequa Corporation (“Sequa”) is a corporation organized under the laws of

 the State of Delaware with its principal place of business at 3999 CA Boulevard, Palm Beach Gardens,

 Florida.

        153.    Defendant Seton Company, Inc. (“Seton”) is a corporation organized under the laws

 of the State of New Jersey with its principal place of business at 849 Broadway, Newark, New Jersey.

        154.    Defendant Spectraserv, Inc. (“Spectraserv”), a privately held corporation owned by

 members of the Joseph P. Miele family and a successor company to Modern Transportation

 Company, is a corporation organized under the laws of the State of New Jersey with its principal place

 of business at 75 Jacobus Avenue, Kearny, New Jersey.

        155.    Defendant Staley Holdings LLC is a limited liability company organized under the

 laws of the State of Delaware with its principal place of business at 501 Silverside Road, Suite 55,

 Wilmington, Delaware.

        156.    Defendant Stanley Black & Decker Inc. (f/k/a/ The Stanley Works) (“Stanley”) is a

 corporation organized under the laws of the State of Connecticut with its principal place of business

 at 1000 Stanley Drive, New Britain, Connecticut.




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           157.   Defendant STWB Inc. (f/k/a Sterling Winthrop, Inc./Sterling Drug) (STWB) is a

 Delaware corporation with its principal place of business at 100 Bayer Road, Building 4, Pittsford,

 Pennsylvania.

           158.   Defendant Sun Chemical Corporation (“Sun Chemical”) is a corporation organized

 under the laws of the State of Delaware with its principal place of business at 35 Waterview Boulevard

 Parsippany, New Jersey.

           159.   Defendant Sunoco (R&M), LLC (as a successor to Sun Oil Company) is a limited

 liability company organized under the laws of the Commonwealth of Pennsylvania with its principal

 place of business located at 1735 Market Street, Philadelphia, Pennsylvania.

           160.   Defendant Sunoco Partners Marketing & Terminals L.P. is a limited partnership

 organized under the laws of the State of Texas with its principal place of business located at 1818

 Market Street, Suite 1500, Philadelphia, Pennsylvania.

           161.   Defendant Tate & Lyle Ingredients Americas LLC is a limited liability company

 organized under the laws of the State of Delaware with its principal place of business at 320 Schuyler

 Avenue and 100 Third Avenue, Kearny, New Jersey.

           162.   Defendant Teval Corporation (“Teval”), formerly named Guyon General Piping, Inc.

 (“Guyon”), is a corporation organized under the laws of the State of New York with its principal place

 of business at 1 Portland Square, Portland, Maine.

           163.   Defendant Textron, Inc. (“Textron”) is a corporation organized under the laws of the

 State of Delaware with its principal place of business at 40 Westminster Street, Providence, Rhode

 Island.




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           164.   Defendant The Hartz Mountain Corporation (f/k/a Sternco Industries, Inc.) (“Hartz”)

 is a corporation organized under the laws of the State of New Jersey with its principal place of business

 at 400 Plaza Drive, Secaucus, New Jersey.

           165.   Defendant The Newark Group, Inc. (“Newark Group”) is a corporation organized

 under the laws of the State of New Jersey with its principal place of business at 20 Jackson Drive,

 Cranford, New Jersey.

           166.   Defendant The Okonite Company, Inc. (“Okonite”) is a corporation organized under

 the laws of the State of Delaware with its principal place of business at 102 Hilltop Road, Ramsey,

 New Jersey.

           167.   Defendant The Sherwin-Williams Company (“Sherwin Williams”) is a corporation

 organized under the laws of the State of Ohio with its principal place of business located at 101 West

 Prospect Avenue, Cleveland, Ohio.

           168.   Defendant Tiffany and Company (“Tiffany”) is a corporation organized under the

 laws of the State of New York with its principal place of business at 727 Fifth Avenue, New York,

 New York.

           169.   Defendant United States Steel Corporation (f/k/a USX Corp., f/k/a Federal

 Shipbuilding & Dry Dock Company) is a Delaware corporation with its principal place of business at

 600 Grant Street, Pittsburgh, Pennsylvania.

           170.   Defendant Wiggins Plastics, Inc. (WPI) is a corporation organized under the laws of

 the State of New Jersey with its principal place of business at 180 Kingsland Road, Clifton, New

 Jersey.

           171.   Defendant Zeneca Inc. is a Delaware corporation with its principal place of business

 at 10 Finderne Avenue, Bridgewater, New Jersey.

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         172.     Defendants ‘XYZ Corporations’ 1-10, these names being fictitious, are entities that

 cannot be ascertained as of the filing of this Complaint, certain of which are corporate successors

 to, predecessors of, or are otherwise related to, the named defendants.

         173.     Many of the Defendants sued below were also defendants in earlier litigation filed in

 New Jersey under the Spill Act.30 Many of them sought and were denied motions to dismiss claims

 that they were liable for the discharges described below. The allegations as to these parties include

 the allegations that were previously sustained as sufficient to state a claim for relief in the New Jersey

 Litigation. OxyChem has organized its allegations specific to individual Defendants by the COCs

 identified in the OU2 ROD.

         ALLEGATIONS AGAINST INDIVIDUAL PARTIES BY PRIMARY COC

         A.       PCBs

         174.     OxyChem seeks to recover costs, contribution, and a declaratory judgment against

 the following covered parties that are responsible for the releases of PCBs (among other hazardous

 substances) that have contaminated and continue to contaminate the sediments of the Lower

 Passaic River.

         175.     Defendant Nokia of America Corporation (f/k/a Alcatel-Lucent USA, Inc.)

 (“Lucent”), a successor to Western Electric Company, Inc. (“Western Electric”), owned and

 operated a 147-acre property located at 100 Central Avenue, Kearny, New Jersey, also designated


 30
     Many of the Defendants in this action were also third-party defendants in NJDEP, et al. v. Occidental Chemical
 Corp., et al., Docket No. ESX-L9868-05 (PASR), in the Superior Court of New Jersey, Essex County (the “New
 Jersey Litigation”). In the New Jersey Litigation, the third-party defendants were sued under the New Jersey Spill
 Act regarding remediation costs incurred prior to the 2016 ASAOC and the dredge-and-cap remedy for the Lower 8.3
 miles of the Passaic River at issue here. “Nexus packages” for each third-party defendant containing evidence of the
 defendants’ releases of hazardous substances into the Passaic River were filed in the New Jersey Litigation and are
 available at http://www.nj.gov/dep/passaicdocs/thirdparty-tierra.html (last visited June 29, 2018). Many third-party
 defendants filed or joined motions to dismiss in the New Jersey Litigation; however, all motions to dismiss were
 denied. Additionally, many third-party defendants entered into a “Track 7 Stipulation” in which those defendants
 stipulated to having discharged hazardous substances to the Passaic River.
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 as Block 288, Lot 10.01 on the tax maps of Kearny, Hudson County. This property is part of the

 Facility. Western Electric manufactured switchboards, wiring, and related telecommunications

 equipment, including mercury relays and transformers. Lucent also operated a powerhouse on the

 property. Western Electric had at least 13 active and inactive PCB transformers on the property,

 including two stored outdoors without adequate roof and walls or proper diking. Hazardous

 substances utilized at the property included, among others, PCBs, chromium, copper, lead, nickel,

 zinc, cyanide, beryllium, silver, PAHs, mercury, and asbestos. During Lucent’s ownership and

 operation of the Lucent Property, hazardous substances such as PCBs were disposed of on the

 property.   There are instances of spills of PCBs on the property. The property’s soil and

 groundwater tested positive for PCB and mercury contamination, among other hazardous

 substances. PCBs were also detected in Passaic River sediments adjacent to the property’s

 discharge pathways. The discharge pathways include (1) the discharge of untreated process

 wastewaters and stormwater to the storm sewers that discharged to the Passaic River through

 outfalls, including five New Jersey Pollutant Discharge Elimination System (NJPDES) outfalls to

 the Passaic River; (2) flooding of buildings via floor drains that would subsequently drain to

 outfalls to the Passaic River; (3) groundwater flows into the Passaic River; (4) a manual release

 valve in the drainage pit and drains from the outside drum storage area; and (5) an extensive

 network of storm sewers, catch basins, and outfalls that discharged directly to the Passaic River.

 The process wastewater included the wastewater from the screw machines, metal plating

 operations, and the manufacturing of transformers. Lucent is liable as an owner and/or operator

 at the time of disposal of hazardous substances. Releases of hazardous substances including PCBs

 from the property have contaminated and continue to contaminate sediments in the Lower Passaic

 River, including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

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 mandated remedy. Under CERCLA §§ 107(a)(2) and/or (a)(3) and CERCLA § 113, Lucent is

 therefore liable for the costs of response resulting from the release of hazardous substances from

 the Facility, including the costs of removing and capping PCBs and other hazardous substances it

 disposed of that have contaminated and continue to contaminate the river, including but not limited

 to mercury, lead, copper, and PAHs.

        176.    United Cork Companies, as a predecessor to Defendant BASF Corporation

 (BASF), operated the 27-acre chemical manufacturing facility at 50 Central Avenue, Kearny, New

 Jersey from 1935 to 1964. This property is part of the Facility. United Cork manufactured

 insulation and dyestuffs at the property from 1935 to 1964. BASF is the successor in interest to

 United Cork Companies. From 1964 until 1990, BASF operated the property. BASF formulated

 and manufactured chemical products, chemical intermediaries, plasticizers, and dyes at the

 property. The main material manufactured by BASF was phthalic anhydride, which is associated

 with the formation of dioxins. BASF also used other dioxin-associated compounds on the

 property, including maleic anhydride, chloranil, and benzaldehyde. Chemicals in the soil at the

 property include copper, lead, mercury, petroleum hydrocarbons, PCBs, PAHs, bis(2 ethylhexyl)

 phthalate, and other phthalates. Chemicals in groundwater at the property include PCBs, lead,

 xylene, bis(2 ethylhexyl) phthalate, and other phthalates. Numerous discharge routes to the

 Passaic River exist from the property, including direct stormwater and process water discharges

 and spills, leaks, and migration of waste formerly stored directly on the ground surface. Further,

 a cross-connection existed between the process sewer and storm sewers onsite, which resulted in

 the release of hazardous substances into the Passaic River. Indeed, an internal June 1978 BASF

 memorandum admits that the BASF property discharged surface water to the Passaic River, in

 violation of the Federal Clean Water Act of 1972. After BASF acknowledged this issue, it took

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 eleven more years for BASF to cap the sewer line, only doing so in 1989. Passaic River sediment

 samples adjacent to the property show the presence of bis(2 ethylhexyl) phthalate, other

 phthalates, phenanthrene, mercury, lead, copper, arsenic, PAHs, PCBs, dioxin-associated

 compounds, and other hazardous substances. BASF is liable as an owner and/or operator at the time

 of disposal of hazardous substances. Releases of hazardous substances including PCBs from the

 property have contaminated and continue to contaminate the sediments in the Lower Passaic River,

 including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

 mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and

 subject to the contribution release described in paragraph 44 above, BASF is therefore liable for

 the costs of response resulting from the release of hazardous substances from the Facility,

 including the costs of removing and/or capping PCBs and other hazardous substances it disposed

 of that have contaminated and continue to contaminate the river including but not limited to dioxin-

 associated compounds, PAHs, lead, mercury, and copper.

        177.    From approximately 1954 until 1994, Defendant Pharmacia LLC (f/k/a

 Monsanto Company) (“Pharmacia”) owned and operated a chemical manufacturing facility on

 the foot of Pennsylvania Avenue in Kearny, New Jersey abutting the Passaic River. This property

 is part of the Facility. Pharmacia used hazardous substances at its property including maleic

 anhydride, PCBs, toluene, benzene, phenol, ethylene oxide, and phosphoric acid.             During

 Pharmacia’s ownership and operation of the property, it disposed of hazardous substances onto the

 property and directly into the Passaic River through the Kearny storm sewer and a discharge pipe

 that discharged to the Passaic River. Pharmacia also had numerous settling pits and ponds on the

 property. Specifically, Pharmacia disposed of highly concentrated PCB mixtures to a PCB

 Disposal Area Pond, which is within 500 feet of the Passaic River. PCBs have moved through the

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 property’s drainage system, groundwater, and soil towards the river. The property is on the

 waterfront to the Passaic River. Mercury, copper, lead, PAHs, PCBs, and dioxin-associated

 compounds have been detected in soils on the property. Stormwater flowed through contaminated

 areas on the property and discharged to the Passaic River via runoff during wet weather. Pharmacia

 is liable as an owner and/or operator at the time of disposal of hazardous substances. Releases of

 hazardous substances including PCBs from the property have contaminated and continue to

 contaminate the sediments in the Lower Passaic River, including OU2, and must be removed from

 the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2)

 and/or 107(a)(3) and CERCLA § 113, and subject to the contribution release described in

 paragraph 44 above, Pharmacia is therefore liable for the costs of response resulting from the

 release of hazardous substances from the Facility, including the costs of removing and/or capping

 PCBs and other hazardous substances it disposed of that have contaminated and continue to

 contaminate the river, including but not limited to mercury, lead, copper, and PAHs.

        178.    Defendant     McKesson       Corporation      (“McKesson”)       sold    McKesson

 Envirosystems to Safety-Kleen Corp. in 1987, which became Defendant Safety-Kleen

 Envirosystems Company (“Safety-Kleen”), a subsidiary of Safety-Kleen Corp. Before then,

 McKesson, through its predecessors, operated at 600 Doremus Avenue, Newark, New Jersey, near

 RM 0 to RM 0.5, beginning in 1974. This property is part of the Facility. The prior owner of the

 property, Vulcan, continued its chemical manufacturing operations, mainly methylene chloride, at

 the property after the 1974 sale to McKesson. In 1975, Vulcan discontinued all chemical

 production operations on the property. McKesson’s predecessor, Inland Chemical Corporation

 (“Inland”), also operated at the property beginning in 1974. Inland began to phase out chemical

 manufacturing over the first four years and initiated solvent recovery services at the property. As

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 of 1979, Inland’s operations at the property included the recovery of waste material from Bristol-

 Myers Squibb Corporation. This arrangement ended in or about April 1981. Chemicals reportedly

 handled during this 1979 to 1981 time period included acetone, dimethyl aniline, hydrochloric

 acid, toluene, and xylenes. Methylene chloride was the highest volume waste material handled,

 with an estimated 21,732,000 pounds per year received. As of October 1981, there were 94 storage

 tanks on the property, ranging from 800 to 230,000 gallons. Inland reportedly processed 450,000

 to 600,000 gallons of chemical and liquid waste per month. As of the 1981 merger with Inland,

 McKesson and/or McKesson Envirosystems owned and continued to operate the property as a

 hazardous waste treatment facility. As of 1982, McKesson was processing numerous chemicals

 at the property, including acetone, dimethyl aniline, methylene chloride, and mixed chlorinated

 hydrocarbons. In October 1982, there was an explosion and fire on the property during the

 processing of waste dimethyl sulfoxide, and NJDEP ordered the plant closed immediately.

 McKesson then posted a $250,000 performance bond to NJDEP to guarantee that remedial cleanup

 and facility upgrades work would be completed. The property has reportedly remained inactive

 since 1982, except for the remediation activities. Soil testing at the property, performed in 1982,

 1994, 1999, and 2000/2001, detected a long list of hazardous substances, including PCBs, carbon

 tetrachloride, methylene chloride, trichloroethane, hexachlorobenzene, methyl aniline, arsenic,

 lead, and mercury. Similarly, groundwater investigations performed in 1981/1982, 1988, 1994,

 and 1999 also detected a long list of hazardous substances, including acetone, carbon tetrachloride,

 methanol, toluene, iron, and lead.     These and many other hazardous substances related to

 McKesson’s operations were identified in Passaic River sediments in the vicinity of the property.

 Over the years, there were several spills and chemicals found leaching from the property.

 Contaminated runoff from the property was flowing into a storm drain and discharging to the

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 Passaic River. NJDEP documentation in 1979 reported that stormwater runoff discharged to

 Newark Bay and that, on repeated site visits, there were leaking, cracked, and open 55-gallon

 drums containing solvents that were not stored in contained areas. Also in 1979, NJDEP

 documented “extensive spillage” at the property and a stream of runoff that discharged to Newark

 Bay. The Newark Bay tidally influences the Passaic River. On information and belief, onsite soil

 contaminants reached the Passaic River via runoff. Safety-Kleen is liable as an owner and/or

 operator at the time of disposal of hazardous substances. McKesson is liable as a current owner and/or

 operator of the property. Releases of hazardous substances including PCBs from the property have

 contaminated and continue to contaminate the sediments in the Lower Passaic River, including

 OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

 Under CERCLA §§ 107(a)(1) and/or 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and subject

 to the contribution release described in paragraph 44 above, McKesson and Safety-Kleen are

 therefore liable for the costs of response resulting from the release of hazardous substances from

 the Facility, including the costs of removing and/or capping PCBs and other hazardous substances

 they disposed of that have contaminated and continue to contaminate the Passaic River, including

 but not limited to mercury, lead, and copper.

        179.    Defendant Purdue Pharma Technologies, Inc. (“Purdue”) operated at 199 Main

 Street, Lodi, New Jersey from 1946 as B. L. Lemke & Co. (“Lemke”), which later changed its

 name to Napp Chemicals, Inc. (“Napp”), which then changed its name to Purdue Services, Inc.,

 which finally changed its name to Purdue Pharma Technologies, Inc. on March 28, 2003.

 Defendant Nappwood Land Corporation is the current owner of the property at 199 Main Street.

 The property is part of the Facility. Lemke operated at the property as a chemical manufacturer

 for the pharmaceutical industry from 1946 to 1970.              Lemke produced and stored dry

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 pharmaceutical, cosmetic, and food chemical products. From 1970 to 1995, Napp manufactured

 bulk generic drugs and performance chemicals for the cosmetic and pharmaceutical industries.

 The manufacturing process included synthesis and drying of compounds mixed with water and/or

 solvent, blending and grinding of mixtures of dry powder, micronizing, and other particle size

 reduction processes. Major products manufactured at the property at 199 Main Street during this

 time included para-hydroxybenzoic acid, trimethoprim, and methylparaben. On April 21, 1995,

 Napp was manufacturing a gold precipitating agent—a dry mixture of aluminum powder, sodium

 hydrosulfite, and potassium carbonate being blended in a reactor and followed by a liquid spray of

 benzaldehyde. This process was water reactive, and there was an explosion and fire resulting in

 the death of five employees and destruction of the facility. Following emergency procedures, all

 operations ceased on the property. While the plant was operating, raw materials in use included

 fumaric acid, phenol, and phthalic anhydride, which are dioxin-associated compounds. Several

 other dioxin-associated compounds, including chlorobenzene and 1,2 dichlorobenzene, were

 identified in the groundwater and soil at the property, and 1,3 dichlorobenzene and 1,2,4

 trichlorobenzene were also found in groundwater. Soil sampling during the remedial investigation

 identified numerous contaminants in the soil, including 1,1,1-trichloroethane, 1,1,2-

 trichloroethane, toluene, PCBs, mercury, copper, lead, and PAHs, and groundwater testing

 revealed the same. While the property was in operation by Purdue and its predecessors, there were

 numerous discharges of contaminants to the Saddle River, which is a tributary of the Passaic River.

 Moreover, there are two catch basins in the northwest corner of the property that flow through

 underground piping to an outfall and discharge to the Saddle River, and there were several

 instances of flooding during which runoff reached the Saddle River. By March 24, 2000,

 demolition of the plant at the property was completed. Purdue is liable as an owner and/or operator

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 at the time of disposal of hazardous substances. Nappwood Land Corporation is liable as the current

 owner and/or operator of the property. Releases of hazardous substances including PCBs from the

 property have contaminated and continue to contaminate the sediments in the Lower Passaic River,

 including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

 mandated remedy. Under CERCLA §§ 107(a)(1) and/or 107(a)(2) and/or 107(a)(3) and CERCLA

 § 113, and subject to the contribution release described in paragraph 44 above, Purdue and

 Nappwood Land Corporation are therefore liable for the costs of response resulting from the

 release of hazardous substances from the Facility, including the costs of removing and/or capping

 PCBs and other hazardous substances they disposed of that have contaminated and continue to

 contaminate the Passaic River, including but not limited to mercury, copper, lead, and PAHs.

        180.    Defendant Chargeurs Wool (USA) Inc. (f/k/a United Piece Dye Works)

 (“Chargeurs”) operated at two locations: (1) 199 and 205 Main Street, Lodi, New Jersey (“Main

 Street Property”) and (2) 42 Arnot Street, Lodi, New Jersey (“Arnot Property”). In the alternative,

 Defendant Chargeurs, Inc. operated the Main Street Property and the Arnot Property. The Main

 Street Property and the Arnot Property are part of the Facility. Chargeurs owned and operated the

 Main Street Property from the 1800s until 1957 and the Arnot Property from 1910 until 1959. The

 Main Street Property was used to manufacture dyestuffs for the textile industry, pharmaceuticals,

 synthetic organic chemicals, inorganic chemicals, fine chemicals, industrial cleaning solutions,

 and resins. Due to historical activities on the property, sampling of soils and groundwater indicate

 that the Main Street Property is significantly contaminated with metals and organic compounds,

 such as chlorinated and nonchlorinated aromatic compounds. The Main Street Property soil

 sampling identified hazardous substances including 1,2-dichlorobenzene, toluene, arsenic, copper,

 lead, and mercury.     The Main Street Property groundwater sampling identified hazardous

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 substances including tetrachloroethene, antimony, PAHs, mercury, copper, and lead. Chargeurs

 disposed of hazardous substances directly into the Saddle River, a tributary of the Passaic River

 and part of the Facility. These disposals include but are not limited to (1) green dye waste being

 discharged in February 1947; (2) gray, turbid water from a pipe located at the property’s ash dump

 discharged in September 1948, the deposits of which were observed downstream to the Passaic

 River; and (3) industrial waste discharged as a result of an overflow from the sump pit and screen

 room in December 1949. Further, the Main Street Property industrial sanitary sewer was linked

 to a pump station that discharged to the Passaic Valley Sewerage Commission (PVSC) trunk line,

 which has a 15-inch overflow to the Saddle River. There are documented bypasses around the

 pump station, which means the industrial sanitary sewer discharged directly to the Saddle River.

 Also, the Main Street Property, which had 1,2-dichlorobenzene, toluene, arsenic, copper, lead, and

 mercury soil contamination, was adjacent to the Saddle River and was subject to historical flooding

 with runoff into the Saddle River. The Arnot Property is located directly across Saddle River from

 the Main Street Property. The Arnot Property held “slime coal” waste piles, aboveground storage

 tanks (including two 250,000 gallon aboveground fuel tanks), coal ash waste piles, coal storage,

 and two large water reservoirs (located west of the Arnot Property). The drainage swales at the

 Arnot Property were sampled in 1987, and chromium, lead, and PCBs were identified as

 contaminants. Further, the Arnot Property, which had lead and PCB soil contamination, was

 adjacent to the Saddle River and was subject to historical flooding with runoff into the Saddle

 River. Chargeurs is liable as an owner and/or operator at the time of disposal of hazardous substances.

 Releases of hazardous substances including PCBs from the Main Street Property and the Arnot

 Property have contaminated and continue to contaminate the sediments in the Lower Passaic River,

 including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

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 mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Chargeurs

 is therefore liable for the costs of response resulting from the release of hazardous substances from

 the Facility, including the costs of removing and/or capping PCBs and other hazardous substances

 it disposed of that have contaminated and continue to contaminate the river, including but not

 limited to dioxins, mercury, copper, lead, and PAHs.

        181.    Defendant Wiggins Plastics, Inc. (WPI) has owned and operated at 180 Kingsland

 Road, Clifton, New Jersey from approximately 1955 to the present. This property is part of the

 Facility. WPI manufactures molded components for electronic, electrical, and mechanical use

 from thermoset and thermoplastic materials. WPI uses numerous hazardous substances on the

 property, including benzene, total petroleum hydrocarbons (TPEHs), PAHs, toluene, xylene,

 PCBs, copper, and iron. The property’s soil is contaminated with hazardous substances, including

 arsenic, mercury, copper, lead, and toluene, and the property’s groundwater is contaminated with

 hazardous substances including chlorobenzene, chloroform, and methylene chloride.               WPI

 disposed of and continues to dispose of hazardous substances on the property and into the Passaic

 River. For example, an oil slick was observed in the Third River (which flows into the Lower

 Passaic River) and traced to a three-inch metal outlet from the property. Cooling water from the

 property discharges through a metal outlet to the Passaic River via the Third River, and surface

 water runoff is discharged to the Passaic River via Weasel Brook (which flows into the Lower

 Passaic River). WPI also stores empty drum containers outdoors on pavement, and these drums

 have the potential to leak residual chemicals onto the pavement and into the Third River via

 stormwater runoff. WPI is liable as the current owner and/or operator of the property. Releases of

 hazardous substances including PCBs from the property have contaminated and continue to

 contaminate the sediments in the Lower Passaic River, including OU2, and must be removed from

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 the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(1)

 and/or 107(a)(3) and CERCLA § 113, WPI is therefore liable for the costs of response resulting

 from the release of hazardous substances from the Facility, including the costs of removing and/or

 capping PCBs and other hazardous substances it disposed of that have contaminated and continue

 to contaminate the river, including but not limited to dioxins, dioxin-associated compounds,

 mercury, copper, lead, and PAHs.

        182.    Defendant The Hartz Mountain Corporation (f/k/a Sternco Industries, Inc.)

 (“Hartz”) and its predecessors owned and operated a 10.3-acre property on the 600 and 700 blocks

 of South 4th Street, Harrison, New Jersey from 1970 until at least 1993. This property is part of

 the Facility. Hartz manufactured and assembled aquariums, aquarium supplies, and pet foods and

 later added warehousing, distribution, and assembly of pet supply products. As of 1991, several

 hazardous materials were located on the property including acetylene, battery acid, dimethyl ether,

 kerosene, pesticides, and fungicides. During Hartz’s ownership and operation of the property,

 Hartz disposed of hazardous substances on the property and into the Passaic River. As of 1987,

 cooling water from the vapor degreaser, spot welders, and air conditioner equipment were

 discharged to the sewer system. Millions of gallons of process wastewater containing oil, grease,

 chlorides, volatile solids, volatile solvents, lead, mercury, and pesticides were discharged to

 sanitary sewers. Soil sampling between 1993 to 1996 at the property revealed PCB contaminants,

 and PCBs were also located in floor sumps. Catch basins at the property contained antimony,

 copper, lead, nickel, and PCBs. On or about September 29, 1981, approximately 500 gallons of

 fuel were discharged directly to the Passaic River due to a leak in one of Hartz’s fuel oil tanks.

 The property was also serviced by a combined storm/sanitary sewer system that discharged to the

 municipal system, and on information and belief, contaminated wastewater and stormwater runoff

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 reached the Passaic River through the sewer systems. Hartz is liable as an owner and/or operator at

 the time of disposal of hazardous substances. Releases of hazardous substances including PCBs

 from the property have contaminated and continue to contaminate the sediments in the Lower

 Passaic River, including OU2, and must be removed from the riverbed and/or capped as a result

 of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113,

 and subject to the contribution release described in paragraph 44 above, Hartz is therefore liable

 for the costs of response resulting from the release of hazardous substances from the Facility,

 including the costs of removing and/or capping PCBs and other hazardous substances it disposed

 of that have contaminated and continue to contaminate the river, including but not limited to lead,

 mercury, copper, and PAHs.

        183.    Defendant Hexcel Corporation (f/k/a Fine Organics, Inc.) (“Hexcel”) and its

 predecessors have owned and operated 205 Main Street, Lodi, New Jersey since 1973. This

 property is part of the Facility. During the period of 1973 to 1981, Hexcel operated both a fine

 chemical manufacturing operation and an industrial maintenance chemicals operation at the

 property.   After 1981, Hexcel manufactured industrial alkaline, water-based cleaners, paint

 strippers, deodorant/air freshener soap blocks, dibactol, and oxalic/phosphoric acid liquid cleaners.

 Hexcel also made resins until 1986, which consisted of polyurethane prepolymers and curatives.

 In 1985, Hexcel began to implement New Jersey’s Environmental Cleanup Responsibility Act

 (ECRA) remediation activities on the property. EPA and NJDEP have noticed Hexcel that it is a

 PRP for the Passaic River. PCBs were identified in property soils, groundwater, and in the oil

 recovery well. Soil sampling identified pages of hazardous substances on the property, including

 arsenic, lead, copper, mercury, PCB 1260, PCB 1254, PCB 1242, and PCB 1248. Groundwater

 sampling also identified numerous hazardous substances on the property, including arsenic, lead,

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 copper, mercury, PCB 1242, and PCB 1248. Hexcel disposed of hazardous substances on the

 property as well as into the Saddle River, both of which are part of the Facility. Process wastewater

 discharged to the industrial sewer lines and sanitary lines from the property, which ultimately

 discharged to the Saddle River on at least 21 separate documented instances from 1947 to 1984.

 Moreover, there were several instances during which wastewater from the property bypassed

 PVSC’s pump station and discharged directly to the Saddle River. The property is adjacent to the

 Saddle River and was subject to historical flooding, with contaminated runoff reaching the river.

 Hexcel is liable as the current owner and/or operator of the property. Releases of hazardous

 substances including PCBs from the property have contaminated and continue to contaminate the

 sediments in the Lower Passaic River, including OU2, and must be removed from the riverbed

 and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(1) and/or

 107(a)(3) and CERCLA § 113, and subject to the contribution release described in paragraph 44

 above, Hexcel is therefore liable for the costs of response resulting from the release of hazardous

 substances from the Facility, including the costs of removing and/or capping PCBs and other

 hazardous substances it disposed of that have contaminated and continue to contaminate the river,

 including but not limited to lead, mercury, and copper.

        184.    Defendant ISP Chemicals LLC (f/k/a International Specialty Products, Inc.

 and ISP Van Dyk, Inc.) (ISP) and its predecessors have owned and operated 11 William Street,

 Belleville, New Jersey from 1943 until the present. This property is part of the Facility. The

 Passaic River is approximately 250 feet east-southeast of the property. ISP manufactured a main

 component in sunscreens (ultraviolet absorbers), emulsifiers, and emollients. ISP stored, used, or

 produced several hazardous substances on the property including formaldehyde, acetone,

 methanol, chloroform, fuel oil, propane, and tetrahydrofuran. From 1965 to 1979, process oil

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 containing PCBs was used to heat reaction vessels and distillation columns. Soil sampling showed

 mercury, PCBs, PHCs, and volatile organic compounds. Likewise, groundwater sampling showed

 PCBs, chloroform, di-n-butyl phthalate, and benzene. ISP disposed of hazardous substances on

 the property. For example, contaminants were discharged onto the property and to the Passaic

 River during a 1948 pipe removal and a 1977 sewer line blockage. Process waste and the majority

 of sanitary waste from the property was discharged to PVSC. Multiple incidents with storm

 sewers, leaks, and overflows caused hazardous substances to enter the Passaic River. ISP is liable

 as the current owner and/or operator of the property. Releases of hazardous substances including

 PCBs from the property have contaminated and continue to contaminate the sediments in the

 Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped as a

 result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(1) and/or 107(a)(3) and CERCLA

 § 113, ISP is therefore liable for the costs of response resulting from the release of hazardous

 substances from the Facility, including the costs of removing and/or capping PCBs and other

 hazardous substances it disposed of that have contaminated and continue to contaminate the river,

 including but not limited to mercury, PAHs, and dioxins.

        B.      Mercury

        185.    OxyChem seeks to recover costs, contribution, and a declaratory judgment against

 the following covered parties that are responsible for the releases of mercury (among other

 hazardous substances) that have contaminated and continue to contaminate the sediments of the

 Lower Passaic River.

        186.    Defendant Kalama Specialty Chemicals, Inc. (f/k/a Kalama Chemical Inc.)

 owned and operated the property located at 290 River Drive, Garfield, New Jersey from 1982 to

 1994. Defendant Goodrich Corporation (“Goodrich”) acquired Kalama Specialty Chemicals,

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 Inc. in 1998 and sold it to Defendant Emerald Kalama Chemical LLC (f/k/a Kalama

 Chemicals) in 2006. Goodrich has owned the property since 2001 and continues to own the

 property today. Chemical manufacturing of pharmaceuticals, cosmetics, food packaging and

 preservatives, synthetic flavorings, printing inks, and dyestuffs occurred on the property from 1891

 until at least 1994. Hazardous substances were used at the property, including formaldehyde,

 benzoic acid, toluene, benzene, and phenol. PCBs have been identified in property media. On

 information and belief, process waste sewer lines at the property, which were the source of high

 levels of soil contamination including biphenyl, discharged to the Passaic River. Additionally, the

 outfall of the storm sewer network, with catch basins and yard drains existing throughout the

 property, is the Passaic River. There were also significant contaminated groundwater releases into

 the Passaic River from unconsolidated deposits at the property. Several floods in the basement of

 Building 33-B, where phenol was stored between 1984 and 1994, may have carried phenol to

 groundwater. Kalama Specialty Chemicals, Inc. and Emerald Kalama Chemical LLC are liable as

 owners and/or operators at the time of disposal of hazardous substances. Releases of hazardous

 substances including mercury from the property have contaminated and continue to contaminate

 the sediments in the Lower Passaic River, including OU2, and must be removed from the riverbed

 and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or

 107(a)(3) and CERCLA § 113, Kalama Specialty Chemicals, Inc. and Emerald Kalama Chemical

 LLC are therefore liable for the costs of response resulting from the release of hazardous

 substances from the Facility, including the costs of removing and/or capping mercury and other

 hazardous substances they disposed of that have contaminated and continue to contaminate the

 river, including but not limited to PCBs, lead, copper, and PAHs. Further, Goodrich is liable as a

 current owner and/or operator of the property. Under CERCLA §§ 107(a)(1) and/or 107(a)(3) and

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 CERCLA § 113, Goodrich is therefore liable for the costs of response resulting from the release

 of hazardous substances from the Facility, including the costs of removing and/or capping mercury

 and other hazardous substances it disposed of that have contaminated and continue to contaminate

 the river, including but not limited to PCBs, lead, copper, and PAHs.

        187.      RCA Corporation (RCA) was founded by Defendant General Electric Company

 (“General Electric”) in 1919, became independent of General Electric in 1932, and was

 reacquired by General Electric in 1986. General Electric is the successor to RCA. RCA’s property

 was located at 415 South 5th Street, Harrison, New Jersey, which is within the Facility. RCA

 operated at the property from 1917 until 1976. The 14-acre property was used to manufacture

 radio and vacuum tubes.         Raw materials used in the property’s operations included

 trichloroethylene, methanol, barium carbonate, glass, nickel, copper, carbon, and mica. Operations

 at the property released mercury into the groundwater, surface waters, building materials, and

 property soil.    Mercury has been detected in and under buildings on the property and in

 groundwater at the property. Further, the property was in the Bergen Street CSO district—where,

 PVSC reports show, during wet weather, waste frequently bypassed from the PVSC interceptor to

 the Passaic River. General Electric is liable as an owner and/or operator at the time of disposal of

 hazardous substances. Releases of hazardous substances including mercury from the General

 Electric property have contaminated and continue to contaminate the sediments in the Lower

 Passaic River, including OU2, and must be removed from the riverbed and/or capped as a result

 of EPA’s mandated remedy. Under §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and subject

 to the contribution release described in paragraph 44 above, General Electric is therefore liable for

 the costs of response resulting from the release of hazardous substances from the Facility,

 including the costs of removing and/or capping mercury and other hazardous substances it

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 disposed of that have contaminated and continue to contaminate the river, including but not limited

 to PAHs, lead, and copper.

        188.    From approximately 1902 through 1971, Defendant PPG Industries, Inc. (PPG) or

 its predecessor entities owned and operated a paint manufacturing facility at 29-75 Riverside Avenue

 in Newark, New Jersey. This property is part of the Facility. As discussed below, the EPA has

 identified the PPG property itself as a Superfund site, responsible for releasing and disposing of

 benzene, mercury, chromium, and arsenic into the Passaic River. PPG manufactured paint, varnish,

 linseed oil, lacquer, and resin at the property. Process wastes PPG generated at the property include

 PCBs, mercury, zinc, cadmium, copper, chromium, and lead. On information and belief, a 4- to 6-

 inch sewer pipe discharged from the property directly to the Passaic River. Onsite buildings had floor

 drains that discharged directly to the Passaic River via at least seven onsite outfalls. Furthermore, on

 multiple occasions, former employees reported direct dumping of raw materials and finished products

 into the Passaic River. In September 2012, EPA proposed adding the property to the National Priority

 List, noting that in 2009 it had identified a source of benzene, mercury, chromium, and arsenic onsite

 that was discharging to the Passaic River. EPA’s 2009 emergency removal action to stop the

 discharge to the Passaic River consisted of plugging discharge pipes from several buildings and two

 related storage tanks. As part of EPA’s 2009 emergency removal action, standing water in the

 basement of a building was pumped into two frac tanks. Testing of the frac tank wastewater contained

 dioxins. Testing of floor sweep composite samples collected from the first, third, and fifth floors of

 the building also contained dioxins. Sediments on or adjacent to the property are polluted with

 numerous hazardous substances, including dioxins, dioxin-associated compounds, lead, barium,

 cadmium, chromium, copper, PAH, PCBs, and mercury. PPG is liable as an owner and/or operator

 at the time of disposal of hazardous substances. Releases of hazardous substances including

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 mercury from the property have contaminated and continue to contaminate the sediments in the

 Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped as a

 result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA

 § 113, PPG is therefore liable for the costs of response resulting from the release of hazardous

 substances from the Facility, including the costs of removing and/or capping mercury and other

 hazardous substances it disposed of that have contaminated and continue to contaminate the river,

 including but not limited to dioxins, PCBs, lead, copper, and PAHs.

        189.    Defendant Sequa Corporation (“Sequa”) owned and operated the property

 located at 185 Foundry Street, Newark, New Jersey from 1967 to 1987. This property is part of

 the Facility. Sequa manufactured organic pigments, including printing and news inks. Sequa sold

 part of its business to Defendant Sun Chemical Corporation (“Sun Chemical”) in 1986. In turn,

 Sun Chemical operated the property from 1986 or 1987 to 2003 and owned the property from 1990

 to 2004. Sun Chemical manufactured organic pigments for automotive paints and plastics. On

 information and belief, Sun Chemical and/or Sequa received, used, manufactured, discharged,

 released, stored, and/or disposed of the following hazardous substances at the property: ethyl

 benzene, toluene, xylene, PCBs, arsenic, cadmium, chromium, lead, acetic acid, bis (2-ethylhexyl)

 phthalate, sodium hydroxide, dianilinoterephthalic acid, ditoluidinoteriphthalic acid, methanol,

 and phosphoric acid. The floor drains in the facility buildings and the facility trenches route from

 the property to the Roanoke Avenue Combined Sewer Overflow (CSO). There is a history of

 flooding at the property, which flowed into the Passaic River through the Roanoke Avenue CSO.

 From the 1950s to the 1980s, the City of Newark documented that the Roanoke Avenue CSO

 malfunctioned and bypassed directly to the Passaic River, even in dry weather. Sequa discharged

 hazardous substances to the sewer system from 1967 through the early 1980s; these discharges

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 bypassed to the Passaic River during both dry weather and wet weather. Hazardous substances

 discharged to the combined sewer system by Sequa from the early 1980s through 1986 and by Sun

 Chemical from 1986 to 2004 have discharged to the Passaic River during wet weather bypassing

 events. As a result of overflows from the sewer during rain, Sun Chemical continuously released

 dye of a reddish-purple color into the Passaic River. High mercury concentrations have been

 identified in sewer sediment at the property. Inspectors have noted that effluent from four filter

 presses drips directly onto concrete floors. Soil sampling revealed soils contaminated with PCBs;

 petroleum hydrocarbons; base neutrals; volatile organic compounds; and priority pollutant metals,

 including copper, lead, and mercury. Sequa and Sun Chemical are liable as owners and/or operators

 at the time of disposal of hazardous substances. Releases of hazardous substances including mercury

 from the property have contaminated and continue to contaminate the sediments in the Lower Passaic

 River, including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

 mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Sequa and

 Sun Chemical are therefore liable for the costs of response resulting from the release of hazardous

 substances from the Facility, including the costs of removing and/or capping mercury and other

 hazardous substances it disposed of that have contaminated and continue to contaminate the river,

 including but not limited to PCBs, lead, copper, and PAHs.

        190.    Defendant Alliance Chemical Inc. (“Alliance Chemical”) or its predecessors

 owned or operated the property at 33 Avenue P, Newark, New Jersey from at least 1946 until 2001.

 This property is part of the Facility. Defendant Pfister Urban Renewal Corporation (“Pfister

 Urban”) also owned or operated on part of the property or area adjacent to the property

 concurrently with Alliance Chemical.       From at least 1946 until 2001, Alliance Chemical

 manufactured specialty organic chemicals including intermediates for the textile and photographic

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 industries, dye and pigment intermediaries, and diazo and zinc compounds. Alliance Chemical’s

 dye production is associated with dioxins, furans, dioxin-associated compounds, PCBs, copper,

 and mercury. Alliance Chemical has been listed by EPA as a producer of Class II dioxin-

 associated organic chemicals. Soil and groundwater sampling at the property indicates the

 presence of dozens of hazardous substances, including mercury, copper, lead, and other metals;

 PCBs; chlorobenzene; xylenes; DDx; and numerous dioxin-associated compounds.                 During

 Alliance Chemical’s ownership and operation of the property, Alliance Chemical disposed of

 hazardous substances on the property and into Plum Creek, a tributary of the Passaic River, all of

 which are part of the Facility. Alliance Chemical disposed of process effluent into Plum Creek,

 stored open drums on the property, discharged PCBs into the PVSC system, and created air

 emissions and chemical runoff in Plum Creek after a 1980 building explosion. In its January 24,

 1991 Response to an EPA CERCLA 104(e) Request for Information Concerning the Passaic River

 Study Area, Alliance Chemical stated that it continued to discharge process effluent to Plum Creek

 until 1970. Beginning in the early 1970s, the wastewater was discharged to the PVSC wastewater

 treatment plant, where hazardous substances still entered the Passaic River from the Avenue P

 sewer line, by way of overflow from the Roanoke Avenue CSO. Alliance Chemical and Pfister

 Urban are liable as owners and/or operators at the time of disposal of hazardous substances. Releases

 of hazardous substances including mercury from the property have contaminated and continue to

 contaminate the sediments in the Lower Passaic River, including OU2, and must be removed from

 the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2)

 and/or 107(a)(3) and CERCLA § 113, and subject to the contribution release described in

 paragraph 44 above, Alliance Chemical and Pfister Urban are therefore liable for the costs of

 response resulting from the release of hazardous substances from the Facility, including the costs

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 of removing and/or capping mercury and other hazardous substances it disposed of that have

 contaminated and continue to contaminate the river, including but not limited to dioxins, dioxin-

 associated compounds, PCBs, DDx, lead, copper, and PAHs.

        191.    Defendant DII Industries, LLC (f/k/a Dresser Industries, Inc.) (DII), a subsidiary

 of Halliburton Company, owned and operated 401 Worthington Avenue, Harrison, New Jersey from

 1985 to 1993. The property is part of the Facility. DII manufactured and tested pumps using raw

 materials such as ferrous and nonferrous metals, cast iron, stainless steel, titanium, various

 bronzes, brass castings, lubrication oils, water soluble cutting oils, parts washer solution, coolant

 oil, and Citri-Kleen. Catch basins on the property as well as soil sampling show dozens of

 contaminants, including mercury. On information and belief, the catch basins collected surface

 water runoff, and the runoff flowed into the Passaic River during bypass events. Further, process

 wastewaters were discharged to the Town of Harrison combined sewer system, which bypassed to

 the Passaic River at the Worthington Avenue CSO. DII is liable as an owner and/or operator at the

 time of disposal of hazardous substances. Releases of hazardous substances including mercury from

 the property have contaminated and continue to contaminate the sediments in the Lower Passaic

 River, including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

 mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and

 subject to the contribution release described in paragraph 44 above, DII is therefore liable for the

 costs of response resulting from the release of hazardous substances from the Facility, including

 the costs of removing and/or capping mercury and other hazardous substances it disposed of that

 have contaminated and continue to contaminate the river, including but not limited to dioxins,

 dioxin-associated compounds, PCBs, copper, lead, and PAHs.



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        192.    Defendant Cooper Industries, LLC (f/k/a Mcgraw-Edison and their

 predecessors) (“Cooper”), a subsidiary of Eaton Corporation, and its predecessors owned and

 operated 401 Worthington Avenue, Harrison, New Jersey from 1904 to 1985. The property is

 located 0.25 miles north of the Passaic River and is part of the Facility. The main operations on

 the property were pump manufacturing and testing, specifically machining, assembly, and testing

 of centrifugal and reciprocating pumps. Metal was melted down in a foundry and poured into

 molds to make castings.      Raw materials used in property operations included ferrous and

 nonferrous metals, cast iron, stainless steel, titanium, the radioactive materials Cobalt-60 and

 iridium, and various bronzes and brass castings. Soil contamination includes PAHs, PCBs,

 mercury, copper, and lead. Groundwater contamination includes PAHs, copper, and lead. Cooper

 disposed of hazardous substances onto the property and into the Passaic River. Groundwater from

 the property flows southeast, toward the Passaic River, following the ground surface contours, and

 thus, based on the proximity of the property to the Passaic River, there is potential for contaminated

 groundwater from the property to reach the Passaic River. Catch basins located throughout the

 property—contaminated with PAHs, PCBs, mercury, copper, and lead—collect stormwater runoff

 and are connected to the Harrison combined sewer system. Wastewaters from the property—

 contaminated with mercury, iron, and lead—discharged into the Harrison combined sewer system,

 which bypassed to the Passaic River at the Worthington Avenue CSO. In 1983, approximately

 100 gallons of No. 2 fuel oil was discharged to the soil due to a break in an underground line.

 Leaks from a PCB-containing transformer were noted during an August 1985 ECRA inspection,

 and during a 1985 ECRA inspection, an overturned 55-gallon drum of toluene and approximately

 20 reused waste drums were noted on the north side of the foundry. Mercury and lead were

 contained in property discharges to the Harrison combined sewers that were subject to bypass to

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 the Passaic River during wet weather. The property is located in the Worthington Avenue CSO

 district. Historical PVSC reports indicate that wastes were routinely bypassed from the PVSC

 main interceptor to the Passaic River at the Worthington Avenue CSO overflow location during

 wet weather. Cooper is liable as an owner and/or operator at the time of disposal of hazardous

 substances.   Releases of hazardous substances including mercury from the property have

 contaminated and continue to contaminate the sediments in the Lower Passaic River, including

 OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

 Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Cooper is therefore liable for

 the costs of response resulting from the release of hazardous substances from the Facility,

 including the costs of removing and/or capping mercury and other hazardous substances it

 disposed of that have contaminated and continue to contaminate the river, including but not limited

 to PCBs, PAHs, copper, and lead.

        193.    Defendant Essex Chemical Corporation (“Essex”) operated at 330 Doremus

 Avenue, Newark, New Jersey from 1953 to 1989.                 Defendant Chemtrade Chemicals

 Corporation (as successor to Essex Industrial Chemicals Inc.) (“Chemtrade”) or its

 predecessors operated at 332-352 Doremus Avenue, Newark New Jersey from 1989. These

 properties are part of the Facility. Essex manufactured and processed chemicals using magnesium

 oxide recovery, sulfuric acid production, oleum and chromium sulfate production, and aluminum

 sulfate production processes. Chemical products were loaded into tank cars at the property,

 potentially leading to spills on the property. Chromic acid, caustic soda, and waste oil were stored

 in aboveground storage tanks and underground storage tanks. Essex also conducted vehicle

 washing and maintenance operations at the garage and truck washing area. Essex stored, used,

 and/or produced sulfuric acid and caustic soda, both of which have been shown to generate

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 mercury throughout the production process. Soil contamination includes PAHs, PCBs, lead, and

 mercury. Groundwater contamination includes PAHs, PCBs, copper, lead, and mercury. Essex

 disposed of hazardous substances on the property and into the Passaic River. For example, Essex

 discharged noncontact cooling water used during magnesium oxide recovery operations as well as

 sulfuric acid and sulfur dioxide production to the Passaic River through the National Pollutant

 Discharge Elimination System (NPDES)-permitted outfall. Further, on April 4, 1983, aluminum

 sulfate was directly discharged to the Passaic River via an outfall because of a leaking valve in the

 storage tank. Contaminants also reached the Passaic River via the sanitary sewer, and there are

 documented occasions in which contaminants were discharged to the Passaic River by runoff,

 spills, and flooding. In 1991, NJDEP reported that groundwater sampling at the former Essex

 Industrial Chemicals property identified arsenic, cadmium, chromium, lead, copper, 1,1,1-

 trichloroethane, nickel and zinc—all above NJDEP groundwater quality standards.                 The

 groundwater contamination continued at least as of 2005. Essex and Chemtrade are liable as owners

 and/or operators at the time of disposal of hazardous substances. Releases of hazardous substances

 including mercury from the property have contaminated and continue to contaminate the sediments

 in the Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped

 as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and

 CERCLA § 113, and subject to the contribution release described in paragraph 44 above, Essex

 and Chemtrade are therefore liable for the costs of response resulting from the release of hazardous

 substances from the Facility, including the costs of removing and/or capping mercury and other

 hazardous substances it disposed of that have contaminated and continue to contaminate the river,

 including but not limited to dioxins, dioxin-associated compounds, PCBs, lead, and PAHs.



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        194.    Defendant Seton Company, Inc. (“Seton”) has owned and operated 849

 Broadway, Newark, New Jersey from 1906 to the present day. This property is part of the Facility.

 Seton manufactures leather for shoes, handbags, and automobiles. Seton discharged to the Verona

 Avenue combined sewer district until 1992, when a civil action brought by PVSC compelled Seton

 and the City of Newark to construct a separate sewer line from the Seton facility directly to the

 PVSC interceptor. In addition to overflows during rain from the Verona Avenue CSO, Seton

 discharged hazardous substances to the Passaic River via other pathways. For example, between

 September 1987 and December 1990, PVSC samples of Seton’s waste effluent indicated “high”

 or “violation” levels of chromium on nine occasions and “high” or “violation” levels of sulfides

 on fifteen occasions. In addition to chromium and sulfides, PCBs, 2-butanone, toluene, mercury,

 copper, lead, and PAHs were found on the property. Seton is liable as the current owner and/or

 operator of the property. Releases of hazardous substances including mercury from the property

 have contaminated and continue to contaminate the sediments in the Lower Passaic River,

 including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

 mandated remedy. Under CERCLA §§ 107(a)(1) and/or 107(a)(3) and CERCLA § 113, Seton is

 therefore liable for the costs of response resulting from the release of hazardous substances from

 the Facility, including the costs of removing and/or capping mercury and other hazardous

 substances it disposed of that have contaminated and continue to contaminate the river, including

 but not limited to PCBs, copper, lead, and PAHs.

        195.    Defendant Royce Associates, a Limited Partnership (f/k/a Royce Chemical

 Company) (“Royce”) owned and operated 17 Carlton Avenue, East Rutherford, New Jersey from

 1929 to 1982. This property is part of the Facility. From 1931 to 1982, Royce manufactured

 sodium hydrosulfite, zinc oxide, sodium sulfoxalate formaldehyde, and zinc sulfoxalate

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 formaldehyde as ingredients for the textile and rubber manufacturing industries. Royce also

 manufactured sodium dithionite, sodium, zinc hydroxymethane sulfinite, and zinc oxide. The raw

 materials Royce used included sulfur dioxide, sodium chloride, methanol, formaldehyde, and

 caustic soda. From at least 1941 to 1982, Royce reportedly used a large lake/pond at the rear of

 the property to receive noncontact cooling water, the overflow of which was received by a drainage

 ditch along the southern border of the property and ultimately discharged to the Passaic River.

 Spills occurred on the property, including two spills of oily material and “white powder,” 350

 gallons of diesel fuel, and No. 6 heating oil.        The property’s soil is contaminated with

 chlorobenzene, ethylbenzene, trichlorofluoromethane, toluene, arsenic, lead, and mercury.

 Sediment from the property’s pond is contaminated with benzene, methylene chloride, arsenic,

 lead, mercury, and barium. Royce disposed of hazardous substances onto the property and into

 the Passaic River. A drainage ditch along the southern edge of the property discharged to the

 Passaic River. Industrial process wastes from the property were discharged to the PVSC system.

 Royce is liable as an owner and/or operator at the time of disposal of hazardous substances. Releases

 of hazardous substances including mercury from the property have contaminated and continue to

 contaminate the sediments in the Lower Passaic River, including OU2, and must be removed from

 the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2)

 and/or 107(a)(3) and CERCLA § 113, Royce is therefore liable for the costs of response resulting

 from the release of hazardous substances from the Facility, including the costs of removing and/or

 capping mercury, and other hazardous substances it disposed of that have contaminated and

 continue to contaminate the river, including but not limited to PCBs, copper, and lead.

        196.    Defendant BASF Corporation (BASF) and its predecessors owned and operated

 150 Wagaraw Road, Hawthorne, New Jersey from 1946 to 1986. This property is part of the

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 Facility.   Historically, textile pigment dispersions, dyestuffs, pigments, and dyes were

 manufactured at the property, and BASF continued the same operations and also manufactured

 special polymers and chemicals. BASF utilized dioxin-associated compounds, and the filter tanks

 used to filter Passaic River water for cooling purposes contained various dioxins and furans. Over

 the years of property development and operation, the property has been subject to several spills,

 releases, and disposals of process wastes on the property. COCs stored, used, and/or produced at

 the property included mercury, dioxin-associated compounds, copper, lead, PCBs, and PAHs. Soil

 contamination includes mercury, dioxin-associated compounds, dieldrin, PAHs, PCBs, copper,

 and lead.    The property’s groundwater is contaminated with mercury, dioxin-associated

 compounds, PAHs, copper, and lead. The property’s stormwater contamination includes dioxin-

 associated compounds and PAHs. There are documented discharges of hazardous substances from

 the property to the Passaic River. As examples: In 1977, fuel oil spilled to the ground and reached

 the drainage ditch, and in 1978, paint was discharged at the property, and the paint also appeared

 in the drainage ditch. In 1986, sulfuric acid overfilled a tank and flowed to a nearby drain. Floor

 and trench drains from the manufacturing facility connected to the process sewer and then

 discharged to the PVSC sewer system. During the time there were operations on the property

 (1950 to 1986), wastewater generated at the property was discharged to the Yantacaw Street

 outfall, which was a “permitted” discharge point to the Passaic River, during various bypassing

 events. As of late 1985, the property was reported to discharge 450,000 gallons a day of untreated

 process water to the PVSC system. Since 1985, and likely before this time, the yard area contained

 drains for storm runoff. These drains also discharged noncontact cooling water and boiler

 blowdown to the Passaic River. Storm sewer catch basins were connected to an unlined ditch,

 which led to an outfall at the Passaic River. In 1967, drums that stored sulfuric acid were found

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 to be leaking, and historically, stormwater runoff was discharged to the Passaic River.

 Additionally, nitrobenzene leaked from a tank farm, and nitrobenzene, aniline, and other base

 neutral compounds were then found in the groundwater below the property. Groundwater flow at

 the property is in the direction of the Passaic River. BASF is liable as an owner and/or operator at

 the time of disposal of hazardous substances. Releases of hazardous substances including mercury

 from the property have contaminated and continue to contaminate the sediments in the Lower

 Passaic River, including OU2, and must be removed from the riverbed and/or capped as a result

 of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113,

 and subject to the contribution release described in paragraph 44 above, BASF is therefore liable

 for the costs of response resulting from the release of hazardous substances from the Facility,

 including the costs of removing and/or capping mercury and other hazardous substances it

 disposed of that have contaminated and continue to contaminate the river, including but not limited

 to copper, lead, and chromium.

         197.     Defendant Mallinckrodt LLC (“Mallinckrodt”) and its predecessors operated at

 a property located at 223 West Side Avenue, Jersey City, New Jersey.31 From 1982 to 1993,

 Defendant MI Holdings, Inc. (“MI Holdings”) and its predecessors owned and operated the

 property. This property is part of the Facility. Since 1887, Mallinckrodt and its predecessors have

 produced and packaged a host of chemicals at the property, including but not limited to iron oxides

 and salts (including ferrous sulfate and ferric chloride), mercury oxides and salts (including red

 mercuric oxide), bichloride for mercury processing, medicinal chemicals, photographic chemicals,




 31
   Defendant Mallinckrodt is a cash-out party, having entered into an Administrative Settlement Agreement with EPA,
 with respect to the 165-167 Main Street, Lodi, New Jersey Property. It is not a cash-out party with respect to the
 Jersey City Property operations, which are the subject of this complaint.
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 uranium trioxide, acetone, alcohols, benzene, ethers, inorganic chemicals, mineral acids,

 potassium chloride, potassium sulfate, sodium nitrate, toluene, xylenes, and zinc acetate. In the

 1940s, a Mallinckrodt predecessor under contract with the federal government conducted work

 related to the Manhattan Project, converting uranyl nitrate into uranium trioxide. From 1982 to

 1993, MI Holdings manufactured calcium stearate dispersions, diagnostic chemicals, food

 preservatives, surfactants, and zinc stearate dispersions. The following COCs have been detected

 at the property: mercury, dioxin-associated compounds, PAHs, copper, and lead.          Through

 numerous pathways, Mallinckrodt, MI Holdings, and their predecessors released, among other

 hazardous substances, mercury, dioxin-associated compounds, copper, lead, and PAHs into the

 public waters at the confluence of the Passaic River, Hackensack River, and Newark Bay, which

 has a tidal influence on the Passaic River:

               1887-1924: through direct discharges of untreated wastewater from the property to

                Morris Canal.

               1887-1957: through direct discharges of untreated wastewaters.

               1957-1993: (a) during dry weather and wet weather, through direct discharges of

                untreated wastewater through the Fisk Street CSO; and (b) during operational

                upsets and related bypassing events that occurred at the western portion of the

                property’s publicly owned treatment works outfall, through direct discharges of

                untreated wastewater.

 The following COCs were detected in sediments near the west side outfall and the Fisk Street

 CSO: dioxin-associated compounds (1,2- dichlorobenzene and gamma-BHC), LMW and HMW

 PAHs, copper, lead, and mercury. Further, NJDEP listed the property on its Known Contaminated

 Sites List. In October 1992, MI Holdings entered into a memorandum of agreement with NJDEP

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 to voluntarily clean up mercury contamination on the eastern portion of the property. In 1993, the

 western portion of this property was remediated under NJDEP’s Voluntary Site Cleanup Program.

 Mallinckrodt and MI Holdings are liable as owners and/or operators at the time of disposal of

 hazardous substances. Releases of hazardous substances including mercury from the property have

 contaminated and continue to contaminate the sediments in the Lower Passaic River, including

 OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

 Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Mallinckrodt and MI

 Holdings are therefore liable for the costs of response resulting from the release of hazardous

 substances from the Facility, including the costs of removing and/or capping mercury and other

 hazardous substances it disposed of that have contaminated and continue to contaminate the river,

 including but not limited to dioxin-associated compounds, copper, lead, and PAHs.

        198.    Defendant BASF Catalysts LLC (f/k/a Engelhard Corporation) (“BASF

 Catalysts” or “Engelhard”) began operations at 1 West Central Avenue, East Newark, New

 Jersey in 1953. The property is part of the Facility. Operations at this property included potassium

 gold cyanide manufacture, silver cyanide salt production, and the manufacture of ink paste and

 powder containing heavy metals (also described as precious metal coating products). Raw

 materials used in operations include precious metals (gold, platinum, palladium, rhodium, iridium,

 and ruthenium); resin solutions; and organic solvents. Various forms submitted to PVSC by

 Engelhard (BASF Catalysts predecessor) between 1972 and 2003 indicate multiple COCs were

 located on the property. Hazardous substances suspected to be present on the property include

 mercury, lead, 1,1,1-trichlorethane, and arsenic. The property is located in the Central Avenue

 CSO district, which is one of the permitted discharge points to the Passaic River. Historical PVSC

 reports indicate that wastes were routinely bypassed from this CSO district to the Passaic River

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 during wet weather. PVSC documents also indicate that an 18-inch stormwater outfall existed

 from the property to the Passaic River. On March 6, 1990, Engelhard received a notice of violation

 from PVSC for Lower Explosive Limit excursions. On February 4, 1991, Engelhard submitted a

 notification of hazardous wastes discharge of sodium sulfate and excess sodium hydroxide to the

 sanitary sewer. BASF Catalysts is liable as an owner and/or operator at the time of disposal of

 hazardous substances. Releases of hazardous substances including mercury from the property have

 contaminated and continue to contaminate the sediments in the Lower Passaic River, including

 OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

 Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, BASF Catalysts is therefore

 liable for the costs of response resulting from the release of hazardous substances from the Facility,

 including the costs of removing and/or capping mercury and other hazardous substances it

 disposed of that have contaminated and continue to contaminate the river, including but not limited

 to copper, lead, and PAHs.

        C.      Dioxins

        199.    OxyChem seeks to recover costs, contribution, and a declaratory judgment against

 the following covered parties that are responsible for the releases of dioxins (among other

 hazardous substances) that have contaminated and continue to contaminate the sediments of the

 Lower Passaic River.

        200.    From      1924   to   1998,   Defendant    Givaudan      Fragrances      Corporation

 (“Givaudan”) (formerly known as Givaudan-Roure Corporation) manufactured aromatic

 chemicals, flavors, fragrances, pharmaceuticals, intermediates, and pesticides at 100 Delawanna

 Avenue and 125 Delawanna Avenue in Clifton, New Jersey, slightly upstream from mile 10.9 of

 the Passaic River.     This property is part of the Facility.      From 1947 to 1984, Givaudan

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 manufactured hexachlorophene (HCP) on the property and, at times, was the largest HCP maker

 in the world. From 1947 to 1949, Givaudan manufactured 2,4,5-TCP feedstock at the property.

 Givaudan’s processes, including the manufacture of HCP, generated dioxins and furans, including

 2,3,7,8-TCDD, as a manufacturing byproduct. Batches of HCP produced at Givaudan contained

 up to 893 ppb of 2,3,7,8-TCDD, confirming that dioxins were generated in its HCP production

 process. In addition to generating dioxins, Givaudan maintained a chemical effluent pit near its

 process buildings containing mercury, lead, and copper, among other hazardous chemicals. Soil

 in the eastern portion of the property, including in the area of the former chemical effluent pit and

 adjacent stormwater retention pond, was contaminated with 2,3,7,8-TCDD, 2,4,5-TCP, mercury,

 lead, copper, PAHs, DDx, and dieldrin, among other hazardous substances. Stormwater runoff,

 including overflow from the stormwater retention pond, flowed through these contaminated areas

 and discharged via a series of swales and pipes along the eastern portion of the property to a storm

 drain that discharged through a storm sewer in River Road to the Passaic River. Upon information

 and belief, until the 1950s, Givaudan directly discharged untreated process waste to the chemical

 sewer, which drained into the Third River and the Passaic River. After the 1950s, Givaudan

 discharged to the PVSC hazardous substances where numerous documented storm events and line

 breaks resulted in discharges to the Third River and the Passaic River.           A July 13, 2017

 memorandum addressed to EPA personnel found that the dioxins from the property are prevalent

 in the Passaic River sediments adjacent to the property and in sediments downriver. Givaudan is

 liable as an owner and/or operator at the time of disposal of hazardous substances. Releases of

 hazardous substances including dioxins and furans from the property have contaminated and

 continue to contaminate the sediments in the Lower Passaic River, including OU2, and must be

 removed from the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA

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 §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Givaudan is therefore liable for the costs of

 response resulting from the release of hazardous substances from the Facility, including the costs

 of removing and/or capping dioxins and other hazardous substances it disposed of that have

 contaminated and continue to contaminate the river, including but not limited to PCBs, mercury,

 DDT, dieldrin, copper, lead, and PAHs.

        201.    The CSD Property. The Central Steel Drum property, a former drum processing

 plant, is located at 704 Doremus Avenue, Newark, New Jersey, approximately 0.9 miles south of

 the Passaic River and approximately 0.5 miles west of the confluence of the Passaic River and

 Newark Bay, which is within the Facility (the “CSD Property”). In 1951, the Central Steel Drum

 Company (CSD) bought the CSD Property. CSD stored, incinerated, painted, and reconditioned

 steel drums that contained residues of foods, paints, and organic and inorganic chemicals,

 including hazardous substances. Every day, CSD received and processed approximately 3,000 30-

 and 55-gallon drums—many still containing waste—from the food, paint, adhesives, and ink

 industries. Specifically, the following Defendants contracted for the disposal or treatment of

 hazardous substances at the CSD Property:

       Defendant 3M Company (f/k/a Minnesota Mining & Manufacturing Co.)

       Defendant BASF Corporation (f/k/a Inmont Corporation f/k/a to InterChemical
        Corporation)

       Defendant Akzo Nobel Coatings, Inc. (f/k/a Reliance Universal, Inc.)

       Defendant American Inks & Coatings Corporation

       Defendant Rexam Beverage Can Company (f/k/a American National Can Company)

       Defendant APOLAN International, Inc. (f/k/a Atlantic Polymers & Products, Inc.)

       Defendant Borden & Remington Corp.

       Defendant Hexion Inc. (f/k/a Borden Chemical, Inc.)
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         Defendant Novartis Corporation (f/k/a Ciba Geigy Corporation)

         Defendant Houghton International Inc. (f/k/a E.F. Houghton & Co., Inc.)

         Defendant Flint Group Incorporated (f/k/a Flint Ink Corporation)

         Defendant Fort James LLC (f/k/a Fort James Corporation f/k/a Crown Zellerbach
          Corporation)

         Defendant INX International Ink Co. (f/k/a Midland Color Company and f/k/a
          Roberts & Carlson, Inc.)

         Defendant R. T. Vanderbilt Holding Company, Inc. (f/k/a R. T. Vanderbilt Company,
          Inc., f/k/a Vanderbilt Chemical Corporation)

         Defendant The Sherwin-Williams Company (as successor to The Valspar
          Corporation, as successor to Lilly Industries Inc., as successor to Guardsman
          Products, Inc.)32

 These Defendants arranged for CSD to dispose of their spent and unusable waste. CSD removed

 hazardous substances from the drums by incinerating them, creating ash piles five feet high and

 fifteen feet in diameter, unprotected from wind and rain. Most ash was spread throughout the CSD

 Property to fill in potholes and wetland areas. On the CSD Property, drainage ditches collected

 runoff from the entire CSD Property and discharged this runoff to the Newark Bay at the

 confluence of the Passaic River, approximately 2,600 feet east of the CSD Property, and near RM

 0 to RM 0.5. Newark Bay tidally influences the Passaic River. Soil samples showed dioxins,

 PCBs, and pesticides, LMW/HMW PAHs, DDT, dieldrin, copper, lead, mercury, and PAHs.

 Disposals of dioxins and other hazardous substances from the CSD Property have contaminated

 and continue to contaminate the sediments of the Passaic River. Under CERCLA § 107(a)(3) and




 32
   Together, the following entities are referred to as the “CSD Defendants”: 3M Company; BASF Corporation; Akzo
 Nobel Coatings, Inc.; American Inks & Coatings Corporation; Rexam Beverage Can Company; APOLAN
 International, Inc.; Borden & Remington Corp.; Hexion Inc.; Novartis Corporation; Houghton International Inc.; Flint
 Group Incorporated; Fort James; INX International Ink Co.; The Sherwin Williams Company; and R. T. Vanderbilt
 Holding Company, Inc.
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 CERCLA § 113, the CSD Defendants are therefore liable for the costs of response resulting from

 the release of hazardous substances from the Facility, including the costs of removing and capping

 dioxins and other hazardous substances that have contaminated and continue to contaminate the

 river, including but not limited to DDT, dieldrin, copper, lead, mercury and PAHs.33

            202.     Defendant Roselle Mausoleum Maintenance Fund, Inc. (f/k/a Peter Roselle &

 Sons, Inc.) (the “Roselle Entities”) operated two landfills in Kearny, New Jersey. The Kearny

 Landfill (later known as the MSLA 1D Landfill) operated at 1500 Harrison Avenue, and the

 Keegan Landfill (later known as MSLA 1B Landfill) operated at the foot of Bergen Avenue. The

 Kearny and Keegan Landfills are part of the Facility. Starting in the late 1940s until the early

 1980s, the Roselle Entities leased property from the Town of Kearny as individual entities and as

 a joint venture named the Municipal Sanitary Landfill Authority (MSLA) to operate the Kearny

 and Keegan Landfills, where they accepted both municipal and industrial waste. During the

 Roselle Entities’ operation of the landfills, hazardous substances were disposed of or otherwise

 came to be located on the Kearny and Keegan Landfills and in the Passaic River. During the

 Roselle Entities’ participation in the hauling business, they arranged for the disposal of hazardous

 substances at Kearny and Keegan Landfills, during which hazardous substances were disposed of

 or otherwise came to be located at Kearny and Keegan Landfills and in the Passaic River.

                The Kearny Landfill. Upon information and belief, during the Roselle Entities’

                 operation of the Kearny Landfill, the Roselle Entities disposed of or arranged for the

                 disposal of industrial waste including sludges, pharmaceuticals, activated charcoal and

                 scrubber sludge, filter cake, asphaltic bottoms, insecticides, and pesticides containing




 33
      BASF Corporation’s liability is subject to the contribution release described in paragraph 44 above.
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          hazardous substances into the Passaic River. Leachate, surface runoff, and drainage

          discharge from the ditches at the landfill flow into Cedar Creek and Frank’s Creek,

          which are tributaries to the Passaic River. As of 1995, an estimated 250,000 gallons

          per day of leachate from the Kearny Landfill, including dioxin-associated compounds

          (chlorobenzene, 1,4-dichlorobenzene), DDT, PAHs, copper, lead, and mercury,

          discharged to the Passaic River. The Roselle Entities are liable as owners and/or

          operators at the time of disposal of hazardous substances. Releases of hazardous

          substances including dioxins from the Kearny Landfill have contaminated and continue

          to contaminate the sediments in the Lower Passaic River, including OU2, and must be

          removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

          Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, the Roselle

          Entities are therefore liable for the costs of response resulting from the release of

          hazardous substances from the Facility, including the costs of removing and/or capping

          dioxins and other hazardous substances it disposed of that have contaminated and

          continue to contaminate the river, including but not limited to PCBs, DDT, PAHs,

          copper, lead, mercury, and dieldrin.

         The Keegan Landfill. Upon information and belief, during the Roselle Entities’

          operation of the Keegan Landfill, the Roselle Entities disposed of or arranged for the

          disposal of industrial waste including drummed industrial waste containing hazardous

          substances into the Passaic River. Leachate, surface runoff, and drainage discharge

          from the ditches at the landfill flow into Frank’s Creek and an unnamed creek, both

          tributaries to the Passaic River. DDT, dieldrin, 2,3,7,8-TCDD, PAHs, PCBs, copper,

          lead, and mercury have been detected in soils on the Keegan Landfill. Stormwater

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            flowed through contaminated areas on the Keegan Landfill and discharged to tributaries

            of the Passaic River via runoff during wet weather, including approximately 65 million

            gallons of contaminated leachate annually. The Roselle Entities are liable as owners

            and/or operators at the time of disposal of hazardous substances. Releases of hazardous

            substances including dioxins from the Keegan Landfill have contaminated and continue

            to contaminate the sediments in the Lower Passaic River, including OU2, and must be

            removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

            Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, the Roselle

            Entities are therefore liable for the costs of response resulting from the release of

            hazardous substances from the Facility, including the costs of removing and/or capping

            dioxins and other hazardous substances it disposed of that have contaminated and

            continue to contaminate the river, including but not limited to DDT, dieldrin, PCBs,

            PAHs, copper, lead, and mercury.

        203.    From 1902 until manufacturing operations ceased in 1999, Defendant The

 Sherwin-Williams Company (“Sherwin Williams”) conducted multiple manufacturing

 processes at its facilities, including the manufacturing of paints and related products and DDT and

 storage of insecticides at its property located at 40, 60, and 62-70 Lister Avenue in Newark, New

 Jersey. This property is part of the Facility. Pentachlorophenol (a Class I Pesticide Chemical

 associated with dioxin formation), copper, lead, and mercury were identified by Sherwin Williams

 as potentially present in products made at the property prior to 1984. Sherwin Williams used

 carbazole violet pigment in its paint, which contains chloranil, a Class I Pesticide Chemical

 associated with the formation of dioxins. Soil sampling at the property identified hazardous

 substances, including dioxins; several dioxin-associated substances; DDx; PAHs; PCBs; and

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 metals, including arsenic, copper, lead, mercury, thallium, and zinc. Former employees observed

 dumping of process waste, drums filled with waste from prior spills, damaged products, paint, and

 other products directly into the Passaic River. Additionally, more than seven outfall pipes

 discharged to the Passaic River. The Brown Street CSO, located in the bulkhead of the property,

 discharged combined process waste and stormwater from the property prior to 1970 and continued

 to discharge stormwater after 1970. Sherwin Williams is liable as an owner and/or operator at the

 time of disposal of hazardous substances. Releases of hazardous substances including dioxins from

 the property have contaminated and continue to contaminate the sediments in the Lower Passaic

 River, including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

 mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Sherwin

 Williams is therefore liable for the costs of response resulting from the release of hazardous

 substances from the Facility, including the costs of removing and/or capping dioxins and other

 hazardous substances it disposed of that have contaminated and continue to contaminate the river,

 including but not limited to PCBs, mercury, DDT, dieldrin, lead, copper, and PAHs.

        204.   Defendant Ashland LLC (f/k/a Ashland Chemical Company) (“Ashland”)

 operated the property located at 1106 Harrison Avenue in Kearny, New Jersey (the “Drew

 Chemical Corporation Property”) from approximately 1970 to at least 2010. This property is part

 of the Facility. Ashland is the successor in interest to Drew Chemical Corporation. Drew

 Chemical Corporation purchased the Drew Chemical Corporation Property in 1970 and began its

 operations. Drew Chemical Corporation operated a production and warehouse facility involved in

 the manufacture of industrial water treatment chemicals, boiler compounds, paint defoamers, and

 other specialty chemicals.   Additional industrial processes included reactor work used for

 esterification and saponification. In 1975, the company reportedly produced approximately 33-

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 million pounds of products per year, with that number increasing to as high as 50-million pounds

 in 1989. Raw materials were shipped to the Drew Chemical Corporation Property by truck and

 stored in aboveground storage tanks. When needed, the chemicals were pumped from the tanks to

 the production areas, where vessels and reactors were used. The drum storage area had a capacity

 of 60 to 70 drums. Drums stored in the area contained hazardous waste, including “floor

 sweepings, laboratory waste reagents, filter waste, and off-specification chemicals which were no

 longer reclaimable.” While it was reported that the company produced more than 500 products,

 the principal products produced at the Drew Chemical Corporation Property were water treatment

 chemicals (e.g., boil water compounds, cooling water treatment systems); wastewater flocculants;

 process aids (e.g., latex paint defoamers); and maintenance chemicals (e.g., degreasers,

 antiscalants, general purpose cleaners). Drew Chemical Corporation’s 1992 Community Right to

 Know survey lists 314 pages of hazardous substances and chemicals as being used or produced

 onsite. In particular, COCs stored, used, and/or produced at the Drew Chemical Corporation

 Property included dioxins and dioxin-associated compounds, PAHs, PCBs, copper, lead, and

 mercury. Site soil contamination includes PAHs, PCBs, copper, lead, mercury, volatile organic

 compounds, and semi-volatile organic compounds, mercury, dioxin-associated compounds, and

 dieldrin. Based on information compiled to date, dioxins associated with the Site have been

 identified in local area soil and sediments. Site effluent contamination includes copper, lead, and

 volatile organic compounds. There are documented discharges of hazardous substances from the

 Drew Chemical Corporation Property to the Passaic River.          As examples: Drew Chemical

 Company discharged waste material to the Kearny municipal sewer system without a permit for

 approximately five years. In 1977, the company’s wastewater flow into the municipal sewer

 system was reported as 87,500 gallons per day. The 1975 NPDES permit for PVSC included the

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 combined sewer outfall at Worthington Avenue in Harrison as one of the permitted discharge

 points to the Passaic River. Historical PVSC reports indicate that wastes were routinely bypassed

 from the PVSC main interceptor to the Passaic River at the Worthington Avenue CSO location

 during wet weather. Therefore, a pathway existed for contaminated wastewaters from the property

 to enter the Passaic River during periods of heavy precipitation. Drew Chemical Corporation also

 reported that industrial waste generated at the Drew Chemical Corporation Property was

 discharged to the Kearny sanitary sewer located on the south side of Harrison Avenue. PVSC

 cited the company for various violations, many involving pH noncompliance for wastewaters

 entering into the municipal sewer system. An article dated March 18, 1989 reported Drew

 Chemical Corporation as one of the many industrial facilities releasing toxins into the sewer

 systems of Hudson County. The toxins reportedly released from the Drew Chemical Corporation

 Property in 1988 from May 1 to October 31 were 11 pounds of ethylene glycol, 22 pounds of zinc

 compounds, 6 pounds of acrylamide, and 8 pounds of chromium compounds. During waste

 effluent surveys conducted between 1972 and 1991, hazardous substances such as copper and lead

 were detected in wastewater. On November 19, 1985, the company reported that approximately

 400 gallons of reacted and unreacted polyacrylamide polymer were spilled onsite, with

 approximately 70% of that contaminant entering a catch basin in the parking lot before it entered

 the sewage system. Additionally, COCs detected in site soil and used in industrial operations at

 the Drew Chemical Corporation Property were likely transported into site storm drains and into

 the Lower Passaic River via the Frank’s Creek tributary. Groundwater flows towards the Passaic

 River. Ashland is liable as an owner and/or operator at the time of disposal of hazardous substances.

 Releases of hazardous substances including dioxins from the property have contaminated and

 continue to contaminate the sediments in the Lower Passaic River, including OU2, and must be

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 removed from the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA

 §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Ashland is therefore liable for the costs of

 response resulting from the release of hazardous substances from the Facility, including the costs

 of removing and/or capping dioxins and other hazardous substances they disposed of that have

 contaminated and continue to contaminate the Passaic River, including but not limited to PAHs,

 copper, lead and mercury.

        205.    Defendant Melon Leasing Corporation, Inc. currently owns 109-113 Jacobus

 Avenue, a portion of property once owned by Defendant Clean Earth of North Jersey, Inc.

 (“Clean Earth”). Clean Earth and its predecessors operated on a property located at 101-115

 Jacobus Avenue, Kearny, New Jersey. Clean Earth is the current partial owner of the 101-115

 Jacobus Avenue property and has operated it since 1984. Specifically, the area located at 101-

 105 Jacobus Avenue is owned by Clean Earth; Clean Earth leases the property at 109-113 Jacobus

 Avenue from Melon Leasing Corporation, Inc.; and the property at 115 Jacobus Avenue serves as

 Clean Earth’s offices and onsite laboratory. This property is part of the Facility. Clean Earth is

 the ultimate successor via mergers and name changes involving S&W Waste, Inc. From 1984 to

 the present, Clean Earth and its predecessors provided hazardous and nonhazardous waste

 treatment and disposal for third parties at the property. Specifically, on October 3, 1984, Clean

 Earth began its operation of a hazardous waste treatment, storage, and disposal (TSD) facility at

 the property, processing solid and liquid wastes for resale or disposal. Clean Earth continues to

 operate a hazardous and nonhazardous waste TSD facility at the property. Clean Earth ships and

 receives waste by both highway and rail in both bulk and nonbulk containers. The primary waste

 treatment operations at the property include the following: solidification/stabilization of solids,

 slurries, and sludges in concrete cells, containers, and the property’s containment building;

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 repackaging of waste containers and laboratory packs; repackaging and consolidation of PCB

 wastes; storage of wastes; blending/bulking of wastes in tanks and tankers; and collection and

 transfer of batteries, pesticides, mercury-containing devices, consumer electronics, lamps, and oil-

 based finishes. Permitted hazardous waste storage at the property (as of 1992) was 60,000 gallons

 of liquid waste in five tanks and up to an additional 187,000 gallons of waste in drums, rolloffs,

 and tankers. Clean Earth previously has indicated the acceptance of an extensive list of over 540

 waste products, including dioxins, dioxin-associated compounds, DDx, PCBs, copper, mercury,

 lead, dieldrin, and PAHs. Numerous spills have been documented at the property, including paints

 and resins, dry-form acid, hydraulic oil, liquid containing lead, solvents, oil sludge, liquid acid,

 and solidified hazardous waste. These spills were each reported as remediated at the time they

 were observed. In addition, potentially contaminated stormwater has been observed overflowing

 containment berms at the property more than once. The property itself has been documented to be

 contaminated with various hazardous substances in soil and groundwater and has been undergoing

 remediation since 1997 under an AOC executed between NJDEP and Clean Earth in 1991. Site

 soil contamination includes various dioxins or dioxin-associated compounds; it also includes

 PCBs, copper, lead, and mercury. Site groundwater contamination includes dioxin-associated

 compounds, PAHs, PCBs, copper, lead, and mercury.              A chronology of onsite remedial

 investigation and remediation includes the following: From 1986 to 1987, Clean Earth sampled

 groundwater from monitoring wells at the property, and dioxin-associated compounds were found.

 Other substances such as benzenes, lead, arsenic, and PAHs were also found in groundwater.

 According to a 1988 Resource Conservation and Recovery Act (RCRA) facility investigation

 report, which was necessitated by documented discharges to soil, Clean Earth was required to

 prepare an assessment plan proposal report that would include a groundwater monitoring and soil

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 sampling program. In 1990, NJDEP confirmed the presence of dioxins in soil samples. Two

 2,000-gallon underground storage tanks were removed from the property in 1990. Also in 1990,

 Clean Earth was required by NJDEP to perform a remedial investigation. In 1992, Clean Earth

 prepared a modified remedial investigation work plan. Twenty-eight soil samples were taken, and

 eleven areas of concern were identified. The NJDEP approved Clean Earth’s remedial

 investigation report in 1996, leading to the development of a remedial alternative analysis and

 remedial action workplan, which was submitted by Clean Earth to NJDEP in 1997. In 1998, Clean

 Earth submitted a remedial action report to NJDEP, and a two-year groundwater monitoring plan

 was also proposed to address metal-contaminated soils. Around 2006 to 2007, Clean Earth

 introduced a remedial action report that related to portions of the property, but in April 2008,

 NJDEP advised that the 2007 remedial action report had deficiencies. There are documented

 discharges of hazardous substances from the property to the Passaic River. As examples: The

 property is connected to the Kearny Municipal Utilities Authority sewer system via Jacobus

 Avenue. In 1955, the Town of Kearny constructed the Kearny Sewage Treatment Plant, to which

 the property wastewater discharged. Incoming wastewater to the Kearny Sewage Treatment Plant

 underwent primary treatment and chlorination before discharge via the plant’s outfall. During

 periods when incoming wastewater surpassed the treatment plant’s capacity, the wastewater first

 entered a regulated chamber where it was then bypassed, untreated, via the plant’s outfall, which

 then discharged to the Hackensack River directly at the confluence of the Passaic River,

 Hackensack River, and Newark Bay, which tidally influences the Passaic River. Indeed, the

 Kearny Sewage Treatment Plant had a well-documented history of noncompliance related to spills,

 leaks, and discharges. Groundwater generally flows west toward the Passaic River. Upon

 information and belief, a nexus exists between the property and the Passaic River via groundwater

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 flow. Regarding runoff, the property is bordered to the west by the Lower Passaic River, and

 potentially contaminated stormwater had been observed overflowing containment berms at the

 property on more than one occasion. Clean Earth and Melon Leasing Corporation, Inc. are liable as

 current owners and/or operators of the property. Releases of dioxins from the property have

 contaminated and continue to contaminate the sediments in the Lower Passaic River, including

 OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

 Under CERCLA §§ 107(a)(1) and/or 107(a)(3) and CERCLA § 113, Clean Earth and Melon

 Leasing Corporation, Inc. are therefore liable for the costs of response resulting from the release

 of hazardous substances from the Facility, including the costs of removing and/or capping dioxins

 and other hazardous substances they disposed of that have contaminated and continue to

 contaminate the Passaic River, including but not limited to PAHs, mercury, lead and copper.

        206.    Bayonne Barrel & Drum Property. The Bayonne Barrel & Drum property, a

 former drum processing plant, is located at 150-154 Raymond Boulevard, Newark, New Jersey,

 approximately 1,800 feet west of the Passaic River within the Facility (the “Bayonne Barrel

 Property”). From 1940 until 1983, Bayonne Barrel & Drum operations on the Bayonne Barrel

 Property consisted of cleaning and reconditioning steel drums sent to its site by its customers. The

 drums sent to the Bayonne Barrel Property contained waste, including hazardous substances.

 Customers of Bayonne Barrel & Drum arranged for and intended Bayonne Barrel & Drum to

 dispose of their spent and unusable waste present in the drums. Removal of hazardous substances

 and other wastes from the drums was accomplished using chains and caustic solution or through

 incineration. Wastewater from removing waste from the drums using solution flowed into a

 settling sluice and holding tanks and then was discharged to a drainage ditch that flowed into the

 sanitary sewer or on numerous occasions flowed into Harrison Creek, a tributary of the Passaic

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 River. Wastewater at the site has been tested to contain, among other hazardous substances,

 copper, lead, mercury, PAHs, and PCBs. Waste ash (containing hazardous substances) from

 removing waste through incineration was stored in numerous disposal piles on the property.

 Sampling of eight ash piles showed the presence of dioxins, PCBs, and metals. Surface runoff

 from the property, including from the ash piles, flowed through a series of storm drains and into

 Harrison Creek and the Passaic River. An accidental spill of red dye on the Bayonne Barrel

 Property in 1984 immediately ran into Harrison Creek, demonstrating the runoff pathway to the

 Passaic River. Moreover, a study by the New York Academy of Sciences found that, as of 2006,

 the site runoff was still contributing between 1 and 9 grams of toxic equivalency values of dioxins

 to the Passaic River each year. Pursuant to an Administrative Order on Consent for Removal

 Action, numerous parties that had arranged for disposal of hazardous substances at the Bayonne

 Barrel Property agreed to perform removal activities there. These parties include the following

 Defendants:

           Defendant 3M Company

           Defendant BASF Corporation

           Defendant Zeneca Inc.

           Defendant E.I. du Pont de Nemours & Company

           Defendant Hoffmann-La Roche Inc.

           Defendant Johnson & Johnson

           Defendant Pharmacia LLC (f/k/a Monsanto Company)

           Defendant Ingredion Incorporated

           Defendant Akzo Nobel Coatings, Inc.34


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      Together, the following entities are referred to as the “BBD Defendants”: 3M Company; BASF Corporation; Zeneca
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 Disposals of dioxins from the Bayonne Barrel & Drum Property have contaminated and continue

 to contaminate the sediments in the Lower Passaic River, including OU2, and must be removed

 from the riverbed and/or capped as a result of EPA’s mandated remedy. The BBD Defendants

 arranged for the disposal or treatment of hazardous substances at the Facility. Under CERCLA

 § 107(a)(3) and CERCLA § 113, the BBD Defendants are therefore liable for the costs of response

 resulting from the release of hazardous substances from the Facility, including the costs of

 removing and capping dioxins and other hazardous substances they disposed of that have

 contaminated and continue to contaminate the river, including but not limited to PCBs, mercury,

 DDT, copper, lead, and PAHs. 35

          D.       DDT

          207.     OxyChem seeks to recover costs, contribution, and a declaratory judgment against

 the following covered parties that are responsible for the releases of DDT or its breakdown

 products (among other hazardous substances) that have contaminated and continue to contaminate

 the sediments of the Lower Passaic River.

          208.     Defendant 21st Century Fox America, Inc. (f/k/a News America, Inc./Montrose

 Chemical Company/Chris Craft Industries) (“Fox America”) operated a manufacturing plant

 at 100/120 Lister Avenue in Newark from 1939 to 1972 at which it manufactured many organic

 chemicals; herbicides; and pesticides, including up to 3-million pounds of DDT per year. This

 property is part of the Facility. Fox America manufactured 2,4-D and 2,4,5-T at the property and

 likely generated dioxins and furans as a manufacturing byproduct of these processes. It also



 Inc.; E.I. du Pont de Nemours & Company; Hoffman-La Roche Inc.; Johnson & Johnson; Pharmacia Corporation,
 now known as Pharmacia LLC; Ingredion Incorporated; and Akzo Nobel Coatings, Inc.
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   Pharmacia’s liability and BASF Corporation’s liability are subject to the contribution release described in paragraph
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 manufactured several dioxin-associated chemicals including, among other chemicals, the gamma

 isomer of benzene hexachloride (lindane), hexachlorobenzene, trichlorobenzene, propanil, and

 likely tetrachlorobenzene.      Dioxin-associated compounds, including dichlorobenzenes,

 dichlorophenol, phthalic anhydride, and pentachlorophenol, were used in and/or produced by

 processes at the property.   Fox America’s predecessor, Montrose Chemical Company, also

 produced several types of phthalate compounds including bis(2-ethylhexyl) phthalate, butyl

 phthalate, dimethyl phthalate, and dioctyl phthalate. Metals like lead and copper were likely

 discharged with property wastewater as a result of corrosion of site process equipment. The

 operations of a related company, Montrose Refining Company, occurred at the 100/120 Lister

 Avenue property from approximately 1939 to 1944 and involved the refining of waste crankcase

 oil. Waste oils have historically been identified as containing PCBs and PAHs. Soil contamination

 at the property reflects the property’s operations, with elevated concentrations of DDx,

 dichlorophenol, trichlorophenol, lindane, and chlorinated benzenes, as well as COCs dieldrin and

 mercury. In addition to its operations at the property, Montrose Chemical Company operated on

 a portion of the adjacent Sherwin-Williams Site at 70 Lister Avenue from 1935 to 1943, at which

 soil contamination is similar in nature and concentration to the soil contamination at the 100/120

 Lister Avenue property and was found to contain dioxins and furans, chlorobenzene,

 dichlorobenzenes, and trichlorobenzene. Two sewer connections were historically present at the

 property that lead directly to the Passaic River as of 1914, which Montrose Chemical Company

 may have continued to use. Additionally, process wastes from the property that were ultimately

 discharged to the city sewer system may have discharged through a regulator located at Brown

 Street, which subsequently discharged to the Passaic River at Sherwin Williams’s property. Storm

 drains on the property flowed to the Brown Street outfall to the Passaic River prior to 1970 and

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 the Lockwood Street outfall to the Passaic River after 1970. Further, pipes in line with the facility

 driveway discharged process wastes directly to the Passaic River through the adjacent Hilton Davis

 property. Fox America is liable as an owner and/or operator at the time of disposal of hazardous

 substances. Releases of DDT from Fox America have contaminated and continue to contaminate the

 sediments in the Lower Passaic River, including OU2, and must be removed from the riverbed and/or

 capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and

 CERCLA § 113, Fox America is therefore liable for the costs of response resulting from the release

 of hazardous substances from the Facility, including the costs of removing and/or capping DDT

 and other hazardous substances it disposed of that have contaminated and continue to contaminate

 the river, including but not limited to dioxins, PCBs, mercury, dieldrin, lead, copper, and PAHs.

        209.    Defendant Conopco, Inc. (f/k/a S. B. Penick Company), d/b/a Unilever Best

 Foods North America (“Unilever”), as the successor to the S. B. Penick Company, and its

 predecessors, owned and operated a 17-acre property located at 540 New York Avenue in

 Lyndhurst, New Jersey from 1938 to 1986. This property is part of the Facility. Defendant

 Aventisub LLC (f/k/a Roussel Uclaf) (“Aventisub”) or its predecessors operated the property

 from 1985 to 1987 as part of their pesticide and agrichemical business. The plant at the property

 manufactured pharmaceuticals and pesticides, including DDT. Sampling performed in July 1984

 indicated that the property’s soil was contaminated with lindane, DDT, DDE, DDD, chlordane, α-

 BHC, b-BHC, aldrin, heptachlor, and dieldrin. Buildings 6 and 7 of the plant were contaminated

 with DDT, as well as other pesticide substances and byproducts, including compounds associated

 with the formation of dioxins. Maleic acid (a dioxin-associated chemical) was identified at the

 property. In April 1995, a predecessor to Unilever submitted proposed language for a Declaration

 of Environmental Restriction for the property under the Industrial Site Recovery Act. The draft

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 declaration listed pesticides and herbicides, PAHs, dioxin-associated compounds, metals, and

 other hazardous substances.      These hazardous substances included 4’4’ DDT, chlordane,

 heptachlor, and other substances in site soils. The property has a clear pathway to the Passaic

 River. The storm sewer adjacent to this heavily contaminated property leads to the Passaic River.

 During the plant’s operating period, PVSC cited Unilever for polluting wastewater discharges from

 the property to the Passaic River. Additionally, runoff from the property entered the South

 Drainage Ditch, which discharged to a storm drain that leads to the Passaic River. On information

 and belief, Unilever left unsealed drums containing contaminated dirt at the property and had

 underground chemical storage tanks that lacked safety devices and leaked frequently. Unilever

 and Aventisub are liable as owners and/or operators at the time of disposal of hazardous substances.

 Releases of DDT by Unilever and Aventisub have contaminated and continue to contaminate the

 sediments in the Lower Passaic River and must be removed from the riverbed and/or capped as a

 result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA

 § 113, Unilever and Aventisub are therefore liable for the costs of response resulting from the

 release of hazardous substances from the Facility, including the costs of removing and/or capping

 DDT and other hazardous substances they disposed of that have contaminated and continue to

 contaminate the Passaic River, including but not limited to PAHs.

        E.      Copper

        210.    OxyChem seeks to recover costs, contribution, and a declaratory judgment against

 the following covered parties that are responsible for the releases of copper (among other

 hazardous substances) that have contaminated and continue to contaminate the sediments of the

 Lower Passaic River.



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        211.    The Thomasset/Hilton Davis business owned by Defendant Noveon Hilton Davis,

 Inc., a subsidiary of Dystar LP (“Noveon Hilton Davis”) operated at the property located at

 104-112 Lister Avenue (also referenced as 120 Lister Avenue) in Newark, New Jersey (which is

 also designated as Block 2438, Lot 56 on the tax map of the City of Newark) from 1955 until it

 sold some of these operations in 1986. This property is part of the Facility. Noveon Hilton Davis,

 or its predecessors, continued to own the property from 1986 to 1993. Defendant STWB Inc.

 (f/k/a Sterling Winthrop, Inc./Sterling Drug) (STWB), or its predecessors, acquired the

 operations at the property in 1986.       Operations at the property included production of

 phthalocyanine colors (phthalocyanine blue and phthalocyanine green) for the automotive

 industry, transoxides for the textile industry, and D&C colors for the drug and cosmetic industry.

 Property operations also included production of 2,4,2-Schaeffer salt (2-naphthol-6-sulfonic acid)

 and fluorescein dyes. The phthalocyanine blue process utilized copper and phthalic anhydride (a

 Class III Organic Chemical associated with the formation of dioxins) in the manufacturing process

 and trichlorobenzene (1,2,4-trichlorobenzene is an EPA Class III Organic Chemical associated

 with the formation of dioxins) in the finishing process. PCB formation was associated with

 phthalocyanine blue production, depending on the raw materials and process used. Phthalocyanine

 blue purchased from other sources and used at the property may have contained PCBs. The

 phthalocyanine green process involved the addition of chlorine (in various forms) to

 phthalocyanine blue, which may have contributed to the formation of PCBs and dioxins/furans.

 D&C color products were identified containing lead on at least one occasion, and process wastes

 contained chlorinated benzenes in filtrates. 2,4,2-Schaeffer salt production may have generated

 dioxin-like compounds including chlorinated naphthalenes. Mercury was used in laboratories on

 the property. Soil sampling at the property identifies copper at up to 1,950,000 ppb, and it also

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 indicates high levels of hexachlorobenzene, dichlorobenzene, trichlorobenzene, PAHs, PCBs,

 lead, mercury, and dozens of other hazardous chemicals. The Noveon Hilton Davis business

 discharged waste directly to the Passaic River. Decant water from the phthalocyanine blue

 manufacturing process was directly discharged to the Passaic River in 1956 and then from 1963

 through 1971 through a sewer line that discharged to the Passaic River through the property

 bulkhead. In 1964, the Noveon Hilton Davis business likely began collection of acid effluent from

 phthalocyanine green production for discharge to the Passaic River to resolve problems with acid

 corrosion of the combined sewer line, which may have occurred periodically until 1971. Process

 wastes from all over the plant were discharged to the River through diversion of flow through a

 false sewer system. High levels of dioxins/furans, PCBs, copper, lead, mercury, and PAHs have

 been detected in Passaic River sediments near the property. Noveon Hilton Davis and STWB are

 liable as owners and/or operators at the time of disposal of hazardous substances. Releases of copper

 by STWB and Noveon Hilton Davis, or their predecessors, have contaminated and continue to

 contaminate the sediments in the Lower Passaic River and must be removed from the riverbed and/or

 capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and

 CERCLA § 113, Noveon Hilton Davis and STWB are therefore liable for the costs of response

 resulting from the release of hazardous substances from the Facility, including the costs of

 removing and/or capping copper and other hazardous substances they disposed of that have

 contaminated and continue to contaminate the river, including but not limited to PAHs, PCBs,

 lead, and mercury.

        212.    Defendant Alden Leeds Inc. (“Alden Leeds”) has operated at 55 Jacobus Ave.,

 South Kearny, New Jersey since before 1972 until it ended production in June 1999. This property

 is part of the Facility. Alden Leeds’s operations included the manufacture of plastic bottles, which

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 were then filled with household-strength bleach and ammonia, with principal raw materials

 including sodium hypochlorite and ammonium hydroxide. The bleach and ammonia were stored

 onsite in aboveground storage tanks. The property was also known to have had cadmium, a

 CERCLA-listed hazardous substance, in its wastewater. Alden Leeds’s discharge was bypassed

 to the Passaic River from the beginning of its operations at the property until February 28, 1975

 with no federal permit. On information and belief, the property’s discharge during this period

 contained hazardous substances, including cadmium, again with no permit. Also, on information

 and belief, beginning on February 28, 1975, the discharge was bypassed to the Passaic River,

 during which time Alden Leeds received numerous notices of violation from the PVSC based upon

 historical noncompliant exceedances of certain hazardous substances, or pH excursions, in the

 plant’s wastewater discharge to the PVSC system. Furthermore, during periods of rainfall,

 overflow was discharged through the outfall line to the Passaic River. Alden Leeds is liable as an

 owner and/or operator at the time of disposal of hazardous substances. Releases of copper by Alden

 Leeds have contaminated and continue to contaminate the sediments in the Lower Passaic River

 and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

 Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Alden Leeds is therefore

 liable for the costs of response resulting from the release of hazardous substances from the Facility,

 including the costs of removing and/or capping copper and other hazardous substances it disposed

 of that have contaminated and continue to contaminate the river, including but not limited to

 sodium hypochlorite, ammonium hydroxide, and cadmium.

        213.    Defendant     Franklin-Burlington      Plastics,   Inc.   (f/k/a   Franklin   Plastics

 Corporation) (“Franklin-Burlington”) is the current owner of the property located at 113 Passaic

 Avenue, Kearny, New Jersey. This property is part of the Facility. The property is bounded by

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 the Passaic River to the west. Since 1976, Franklin-Burlington operated a plastics manufacturing

 plant at the property. Hazardous substances used or present at the property include PCBs,

 antimony, arsenic, beryllium, cadmium, chromium, copper, lead, mercury, zinc, pyrene,

 flouranthene, chrysene, xylenes, chloroform, ethylbenzene, bromodichloromethane, and

 phthalates. From 1976, there have been periodic direct discharges from a sump pit located on the

 property to the Passaic River via an 8-inch pipe. Periodic overflows from the property into the

 Marshall Street CSO also discharged to the Passaic River. Additionally, groundwater and surface

 water from the property flow westerly to the Passaic River. Franklin-Burlington is liable as an

 owner and/or operator at the time of disposal of hazardous substances. Releases of copper by

 Franklin-Burlington have contaminated and continue to contaminate the sediments in the Lower

 Passaic River and must be removed from the riverbed and/or capped as a result of EPA’s mandated

 remedy. Under CERCLA §§ 107(a)(1) and/or 107(a)(3) and CERCLA § 113, and subject to the

 contribution release described in paragraph 44 above, Franklin-Burlington is therefore liable for

 the costs of response resulting from the release of hazardous substances from the Facility,

 including the costs of removing and/or capping copper and other hazardous substances it disposed

 of that have contaminated and continue to contaminate the river, including but not limited to

 mercury, lead, and PCBs.

        214.    Defendant Spectraserv, Inc. (“Spectraserv”), then operating as Modern

 Transportation, began operating at 75 Jacobus Avenue, Kearny, New Jersey in 1962. This property

 is part of the Facility. The property was bounded to the west by the Passaic River, with a portion

 of the property extending into the river to the pierhead and bulkhead line. From 1962 to the

 present, Spectraserv and its predecessors have accepted and disposed of municipal sludge from

 numerous federal, state, county, and local treatment works, as well as clean-out materials from

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 anaerobic digesters from many publicly owned treatment works. In addition to domestic sludges

 and digester clean-out materials, Spectrserv also accepted industrial wastes. Once at the property,

 the wastes were unloaded via flexible unloading lines into one of eight aboveground steel tanks.

 A second transfer of the wastes occurred when the stored wastes were drained from the tanks into

 the underground piping system, which led to a transfer pump. A common discharge line of 12-

 inch steel pipe with a flexible end carried the wastes from the transfer pump to ocean-going barges

 for disposal at designated EPA disposal sites off the New York/New Jersey coast. With the

 enactment of the Marine Protection Research and Sanctuary Act of 1972, the volumes of waste

 permissible for ocean dumping were significantly reduced. As a result, Spectraserv constructed

 an onsite sludge treatment and dewatering facility that includes unloading, storage, chemical

 conditioning, dewatering, stabilization, and transportation. The influent sludge is dewatered by a

 filtration process, creating two byproducts: solids (dewatered sludge) and a liquid material

 (filtrate). The solids are transported to permitted or approved offsite sludge management facilities.

 The filtrate is further treated in two clarifiers that act as settling tanks. The clarifiers are designed

 so that the liquids rise to the top of the tanks, where they can be drained off in one direction and

 any remaining solids can be drained from the bottom in a different direction. The supernatant off

 the top, after passing through the second clarifier, is discharged to the PVSC treatment plant in

 Newark. In 1970, a chemical reaction in one of the receiving tanks caused hydrogen sulfide to be

 emitted at the property. Water was sprayed to dilute the effects of the gas, but despite efforts, the

 gas emissions resulted in critical injury to three people, killed three people, and injured an

 additional five people. From 1976 to 1988, Spectraserv operated an acid-caustic neutralization

 facility at the property. From 1978 to 1981, Spectraserv operated a waste oil reprocessing facility

 with 16 aboveground storage tanks and processing tanks. Treatment of the waste oil consisted of

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 filtration, decanting, heating, and sedimentation. A 6,000- to 7,000-gallon underground skimmer

 tank was used to contain spills and runoff in the waste oil reprocessing area. 1990 site figures

 indicated that stormwater in the waste oil reprocessing area passed through an existing grease/oil

 separator on the south side of the property before discharging to the Passaic River. In December

 1990, Spectraserv submitted remediation plan revisions to NJDEP, which included site figures

 depicting an existing 6-foot steel pipe leading from the property to the Passaic River for

 discharging untreated stormwater. The waste oil facility processing areas consisting of the boiler,

 filtration units, and sedimentation units were decontaminated, decommissioned, and removed from

 the property between 1989 and 1991. A 1993 AOC, in which NJDEP determined that the facility

 could not be delisted from TSD status because of soil contamination and potential groundwater

 contamination, required Spectraserv to further investigate and clean up (1) all remaining

 contaminants at the property and (2) all contaminants emanating from or that had emanated from

 the property. A subsequent remedial investigation conducted at the property during 1994-1995

 identified several areas of concern, including the oil/water separator area, the Passaic River filling

 area, the former waste oil reprocessing/tank farm area, the former acid/caustic neutralization area,

 and the site groundwater quality area. A revised remedial action workplan submitted to NJDEP

 in November 2001 indicated that three out of the nine areas of concern required additional remedial

 action. In accordance with an April 2002 NJDEP-approved remedial action workplan, Spectraserv

 conducted additional remedial actions during 2002 to 2003, including in the oil/water separator

 area, the Passaic River filling area, and the former waste oil reprocessing/tank farm area.

 Additional remediation took place. Over the years, Spectraserv has expanded its business services

 to include digester and tank clean-out work, lagoon cleaning, and mechanical repairs at sewage

 treatment plants, in addition to dewatering and disposal services for municipal and industrial

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 sludge. Hazardous substances stored, used, and/or produced at the property include copper, cupric

 sulfate, lead, mercury, and PCBs. Wastewater effluent samples collected in 2000 contained several

 hazardous substances, including copper and mercury. Site soil contamination includes copper,

 lead, mercury, dioxin-associated compounds, and PAHs. Site groundwater contamination includes

 lead, among several other metals. There are numerous documented discharges of hazardous

 substances from the property via direct pathways, the sanitary sewer, the storm sewer,

 groundwater, and runoff. As examples: During a December 12, 2000 site inspection, NJDEP

 observed a barge docked at the Spectraserv bulkhead on the Passaic River. “A large, flexible hose

 was observed lying overtop the barge, with one end connected to a pipehead on the riverbank and

 the other end unconnected and open on the river side of the barge.” This flexible hose was used

 as the connection between Spectraserv’s land-based operations and its sludge transportation

 barges. During a September 2005 NJDEP compliance evaluation investigation, Spectraserv was

 issued a notice of violation for an unauthorized discharge.         The inspector described the

 noncompliance as “discharge of pollutants (sludge) to the Passaic River via storm drain.” The

 investigation revealed a discharge from the dry sludge storage area to the Passaic River via an

 onsite storm drain. According to a Spectraserv representative, the dry sludge storage area had been

 “washed down” earlier that morning. The inspector directed Spectraserv to cease discharging

 immediately and clean up the remaining water, as this was a violation of Spectraserv’s NJPDES

 permit. Moreover, the property is permitted to discharge sanitary and industrial wastewater

 effluent to the PVSC treatment plant in Newark. Spectraserv has been issued numerous notices of

 violation from PVSC for improper discharges, among other issues. A 6,000- to 7,000-gallon

 underground skimmer tank was used to contain spills and runoff in the waste oil reprocessing area.

 Site figures indicate that stormwater in the waste oil reprocessing area passed through an existing

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 grease/oil separator on the south side of the property prior to discharging to the Passaic River.

 Finally, groundwater flow follows the topography, moving west toward the Passaic River, and as

 noted, the groundwater was contaminated with hazardous substances. Spectraserv is liable as an

 owner and/or operator at the time of disposal of hazardous substances. Releases of hazardous

 substances including copper from the property have contaminated and continue to contaminate the

 sediments in the Lower Passaic River, including OU2, and must be removed from the riverbed

 and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or

 107(a)(3) and CERCLA § 113, Spectraserv is therefore liable for the costs of response resulting

 from the release of hazardous substances from the Facility, including the costs of removing and/or

 capping copper and other hazardous substances it disposed of that have contaminated and continue

 to contaminate the river, including but not limited to dioxins, PCBs, lead, mercury, and PAHs.

        215.    Defendant Arkema Inc. (“Arkema”) is the successor in interest to Wallace &

 Tiernan, Inc. (WTI), which operated at a property located at 25 Main Street, Belleville, New Jersey

 from 1913 to 1997. This property is part of the Facility. At the property, WTI manufactured

 measurement and control equipment, including chlorinators, pressure instruments, flow meters,

 dry chemical feed systems, and cathodic protection systems. The manufacturing of these products

 involved a variety of industrial operations including milling and lathing, plastic molding, plating,

 heat treating, and painting. Reports over the years of operation state that wastes and waste streams

 from the property included copper plating solution, flammable solvents, lead waste, and waste

 paint materials. As noted, WTI engaged in plating operations, which include the use of cadmium,

 chrome, copper, and nickel. The property was served by City of Belleville storm sewers that

 discharged to the Passaic River. Tested sediments revealed that hazardous substances, such as

 cadmium, copper, and mercury, were discharged to the Passaic River via the catch basins located

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  less than one block from the Passaic River and storm sewer network. Sediments found in another

  catch basin on the property, also less than one city block from the Passaic River, included copper,

  mercury, and nickel. Arkema is liable as owner and/or operator at the time of disposal of hazardous

  substances.   Releases of hazardous substances including copper from the property have

  contaminated and continue to contaminate the sediments in the Lower Passaic River, including

  OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

  Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and subject to the contribution

  release described in paragraph 44 above, Arkema is therefore liable for the costs of response

  resulting from the release of hazardous substances from the Facility, including the costs of

  removing and/or capping copper and other hazardous substances they disposed of that have

  contaminated and continue to contaminate the river, including but not limited to cadmium and

  mercury.

         216.    Defendant Elan Chemical Co., Inc. (“Elan”) has operated at 268 Doremus

  Avenue, Newark, New Jersey from 1977 to the present, manufacturing chemicals for the food

  flavor and fragrance industries. This property is part of the Facility. The process to create these

  materials consists of three steps—reaction, washing, and purification. All residual solvents and

  unreacted raw materials are removed and reused until degraded. When the solvent or material is

  no longer viable, it is disposed of as hazardous waste, combined with the waste stream from the

  entire production facility. Hazardous substances stored, used, and/or produced on the property

  include copper chromite, copper powder, maleic anhydride, maleic acid, phthalic anhydride, and

  sulfuric acid. Site soil at the property contains chlorobenzene, PAHs, PCBs, copper, lead, and

  mercury. Site groundwater is contaminated with hazardous substances such as acenaphthene,

  chrysene, naphthalene, phenanthrene, and pyrene. In 1990, a 6-inch discharge pipe was found

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  exiting the southeast portion of the property to the Passaic River. Since 1977, the process waste

  stream from the property has been connected to a sanitary sewer system. Floor drains at the

  property have been connected to the sanitary sewer system since at least 1977. The floor drains

  direct wash and rain waters to a sump, which pumps the waters to a pretreatment system, which

  ultimately discharges to the sanitary sewer. On August 23, 1985, an acid discharge of 3,000

  gallons to the PVSC sewer system was reported. And on January 5, 1994, PVSC sued Elan

  alleging it discharged pollutants including toluene, zinc, 1,2-dichloroethane, and methylene

  chloride in excess of its permitted discharge limitations. The property is subject to flooding from

  the adjacent Passaic River. Site soils and media are contaminated with various COCs, creating the

  potential for discharge of COCs in contaminated soil during site flooding events. For example, in

  January 1988, the property flooded with overflow from the Passaic River for approximately six

  hours. On December 11, 1992, the property flooded because of a sanitary sewer overflow and

  overflow from the Passaic River; the property remained flooded for three days. In December 1988,

  RCRA inspectors noted a drum storage area sloped toward a drainage depression that flowed to

  the Passaic River. Approximately 1,000 drums of waste oils, unused materials, and unsold product

  were in those drums, and oil was leaking from some of the drums. Finally, groundwater flow from

  the property is expected to be toward the Passaic River and subject to tidal fluctuations. Offsite

  sediment samples have been taken from multiple locations around the property to the Passaic

  River. Those samples contained dioxin-associated compounds, PAHs, PCBs, mercury, copper,

  and lead. Elan is liable as an owner and/or operator at the time of disposal of hazardous substances.

  Releases of hazardous substances including copper from the property have contaminated and

  continue to contaminate the sediments in the Lower Passaic River, including OU2, and must be

  removed from the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA

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  §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and subject to the contribution release

  described in paragraph 44 above, Elan is therefore liable for the costs of response resulting from

  the release of hazardous substances from the Facility, including the costs of removing and/or

  capping copper and other hazardous substances it disposed of that have contaminated and continue

  to contaminate the river, including but not limited to mercury, lead, PCBs, and PAHs.

         217.    Defendant Kearny Smelting & Refining Corp. (“Kearny Smelting”) operated at

  936 Harrison Avenue, Kearny, New Jersey from 1946 to 2009. This property is part of the Facility.

  Kearny Smelting’s operations at the property included scrap metal smelting and scrapping of brass

  and bronze. The process of scrap metal smelting involved the melting of scrap metal containing

  copper alloys as well as other metal alloys in a rotary smelting furnace to produce bronze and brass

  ingots. COCs stored, used, and/or produced at the property included copper, lead, and fuel oil

  (which can be a source of PAHs). Site soil contamination includes dioxin-associated compounds,

  PAHs, PCBs, copper, lead, and mercury. Site groundwater contamination at the property includes

  PAHs, lead, copper, and mercury, and property surface water is contaminated with copper, lead,

  and mercury. Moreover, copper, lead, and mercury were detected in sediment on the property.

  Between at least 1956 and 2009, process wastewater and noncontact cooling water were

  discharged to an onsite, unlined lagoon. The lagoon discharged to Frank’s Creek, which is a

  tributary to the Passaic River. In 1984, it was reported that process wastewater discharge included

  overflow from a cooling tower and settlement tanks, a leaking valve at the electrostatic precipitator,

  and an air pollution scrubber device. Over the years, many contaminants were discharged to the

  lagoon, including laboratory wash water and discharge from a pipe that originated in a conveyor

  pit and ran through a drainage ditch that entered the lagoon. Stormwater discharges from the

  property, if they were discharged to the combined storm and sanitary sewer system, were diverted

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  to the Passaic River via the Worthington Avenue CSO during wet weather. Runoff from the

  property discharged directly to the lagoon referenced above. Over the years, NJDEP discovered

  raw material, scrap, slag, and waste exposed to stormwater; observed a spill of approximately 125

  gallons of fuel oil along the property’s eastern fence line; observed a spill of 100 to 150 gallons of

  No. 4 fuel oil to site soil; and reported mismanagement of hazardous waste and solid waste,

  observing mounds of incinerator ash and hundreds of drums and transformers on the property.

  Kearny Smelting is liable as a current owner and/or operator of the property. Releases of hazardous

  substances including copper from the property have contaminated and continue to contaminate the

  sediments in the Lower Passaic River, including OU2, and must be removed from the riverbed

  and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(1) and/or

  107(a)(3) and CERCLA § 113, Kearny Smelting is therefore liable for the costs of response

  resulting from the release of hazardous substances from the Facility, including the costs of

  removing and/or capping copper and other hazardous substances it disposed of that have

  contaminated and continue to contaminate the river, including but not limited to mercury, lead,

  PCBs, and PAHs.

         218.    Defendant Newell Brands Inc.’s (f/k/a Newell Rubbermaid, Inc.) (NBI)

  predecessor, Goody Products, Inc., operated on a property at 969 Newark Turnpike, Kearny, New

  Jersey from 1969 to 1994. This property is part of the Facility. Goody Products’ operations

  involved the production of metal hair accessories such as barrettes and pins. Specific processes

  performed at the property included stamping, casting, heat treating, annealing, burnishing,

  polishing, and coating of medical components. COCs stored, used, and/or produced at the property

  included copper, lead, kerosene, and sulfuric acid. Property soil contamination includes dioxin-

  associated compounds, PAHs, PCBs, copper, lead, and mercury. Site groundwater contamination

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  at the property includes dioxin-associated compounds, PAHs, copper, lead, and mercury. Dioxin-

  associated compounds, PAHs, and PCBs were also detected in site sediment. From 1969 to 1984,

  industrial wastewater generated at the property, which included, on information and belief, dioxin-

  associated compounds, PAHs, copper, lead, and mercury, was discharged to Dead Horse Creek (a

  secondary tributary to the Passaic River) via a cast iron pipe. From 1984 to 1994, treated

  wastewater was discharged to Dead Horse Creek. From 1972 to 1984, sanitary wastewater was

  treated in an onsite treatment plant and discharged to Dead Horse Creek. And in the mid-1980s, a

  lined collection pit was built onsite to hold treated process wastewater to discharge to Dead Horse

  Creek. On information and belief, hazardous substances may have reached Dead Horse Creek via

  runoff.    Specifically, waste materials generated at the property, including solid waste and

  hazardous waste, were collected in various containers on an outdoor asphalt waste collection pad

  located near Dead Horse Creek. NBI is liable as an owner and/or operator at the time of disposal of

  hazardous substances. On information and belief, releases of hazardous substances including

  copper from the property have contaminated and continue to contaminate the sediments in the

  Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped as a

  result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA

  § 113, and subject to the contribution release described in paragraph 44 above, NBI is therefore

  liable for the costs of response resulting from the release of hazardous substances from the Facility,

  including the costs of removing and/or capping copper and other hazardous substances it disposed

  of, on information and belief, that have contaminated and continue to contaminate the river,

  including but not limited to, on information and belief, mercury, lead, and PAHs.

            219.   The predecessor of Defendant CBS Corporation (CBS), formerly known as

  Viacom Inc. and Westinghouse Electric Corporation (“Westinghouse”), operated on a

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  property at 95 Orange Street, Newark, New Jersey from at least 1893 to 1983. This property is

  part of the Facility. Westinghouse owned and operated a relay instrument and electrical equipment

  manufacturing facility at the property. Westinghouse fabricated parts and assembled relays and

  instruments. Operations at the property also included degreasing, alkaline cleaning, deoxidizing,

  alodining, electroplating, chromating, phosphating, spray and dip painting, spray and dip coating,

  machining of parts, and coil winding. COCs stored, used, and/or produced at the property included

  copper, lead, cutting-oil waste, and Pyranol A. Site soil contamination includes dioxin-associated

  compounds, dieldrin compounds, PAHs, PCBs, and copper, lead, and mercury. Site groundwater

  contamination at the property includes dioxin-associated compounds, PAHs, copper, lead, and

  mercury, and site wastewater contains copper, lead, and mercury. On information and belief, from

  1893 to 1922, prior to PVSC’s sewer system completion, wastewater discharges from the property

  directly discharged to the Passaic River. According to wastewater analytical data, copper, lead,

  mercury, oil and grease, and caustic soda were detected in effluent from six sewer discharge points

  at the property. During wet weather, wastewater from the property bypassed to the Passaic River

  via the PVSC Clay Street CSO. With respect to groundwater contamination, on information and

  belief, transformers containing PCB oil were stored in vaults in the basement of the facility. A

  30,000-gallon tank and a 550-gallon fuel oil underground storage tank were also present on the

  property. On information and belief, PCBs and fuel oil likely migrated from soil into shallow

  groundwater at the property and to the Passaic River. Because of the proximity of the property to

  the Passaic River, cooling water likely discharged to the ground surface, and contaminated

  groundwater likely reached the Passaic River. CBS is liable as an owner and/or operator at the time

  of disposal of hazardous substances. Releases of hazardous substances including copper from the

  property have contaminated and continue to contaminate the sediments in the Lower Passaic River,

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  including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

  mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and

  subject to the contribution release described in paragraph 44 above, CBS is therefore liable for the

  costs of response resulting from the release of hazardous substances from the Facility, including

  the costs of removing and/or capping copper and other hazardous substances it disposed of that

  have contaminated and continue to contaminate the river, including but not limited to mercury and

  lead.

          220.   Defendant A.E. Staley Manufacturing Company (“A.E. Staley”) is a division of

  Tate & Lyle North America. A.E. Staley operated at 320 Schuyler Avenue in Kearny, New Jersey

  from approximately 1966 until at least 1975. A.E. Staley also performed manufacturing operations

  at 100 Third Avenue, Kearny, New Jersey until approximately 1978. In the alternative, Defendant

  Staley Holdings LLC, Defendant Tate & Lyle Ingredients Americas LLC, or their predecessors

  owned and operated these properties during this time. These properties are part of the Facility. At

  its Kearny properties, A.E. Staley manufactured organic polymers, rubber-based adhesives, and

  leather finishes and created polymers whose emulsions were used as ingredients of other products

  such as waxes, polishes, paints, and coatings. The company used ethyl acrylate in its chemical

  reactors in 1970, and in 1971, the company used methyl methacrelate and methyl acrelate

  (described as being monomers) in its polymerization process at its Schuyler Kearny property.

  Hazardous substances utilized at the Kearny properties include, among others, chromium, copper,

  lead, nickel, mercury, and silver. While at the Kearny properties, A.E. Staley washed out its

  monomer storage tanks and discharged the wash water to the sewer system, which entered Frank’s

  Creek—a tributary of the Passaic River. Moreover, due to capacity limitations, overflow occurred

  at the Ivy Street interceptor during heavy rainstorms. A.E. Staley, Staley Holdings LLC, and Tate

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  & Lyle Ingredients Americas LLC are liable as owners and/or operators at the time of disposal of

  hazardous substances. Disposals of hazardous substances including copper from the property have

  contaminated and continue to contaminate the sediments in the Lower Passaic River, including

  OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

  Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and subject to the contribution

  release described in paragraph 44 above, A.E. Staley, Staley Holdings LLC, and Tate & Lyle

  Ingredients Americas LLC are therefore liable for the costs of response resulting from the release

  of hazardous substances from the Facility, including the costs of removing and/or capping copper

  and other hazardous substances it disposed of that have contaminated and continue to contaminate

  the river, including but not limited to mercury, lead, and nickel.

         221.    Defendant Foundry Street Corporation (FSC) is the owner, landlord, and real

  estate management company for industrial property located in the Foundry Street Complex, a

  multi-tenant industrial park, at 185 Foundry Street, Newark, New Jersey. This property is within

  the Facility. The Foundry Street Complex consists of approximately six different City of Newark

  tax parcels, including Block 50, Lots 4, 5, 6, 10, 21, and 22. The property, while owned by FSC,

  has been operated by Automatic Electro Plating Corp. (AEPC) from approximately 1970 until as

  late as 2014. As of 1991, FSC also leased a portion of the property in the Foundry Street Complex

  to Sun Chemical Corporation (“Sun”) and Fleet Auto Electric Corporation (“Fleet”). The Pigment

  Division of Sun has been located on Block 5005, Lot 22 from 1967 to the present. Sun

  manufactures quinacridone pigments, which are primarily used in the automotive industry; in

  printing inks; and in plastics. Fleet has been located on Block 5005, Lot 22 from 1968 to the

  present. AEPC’s operations involved the electroplating of steel components with zinc or nickel

  finishes, with processes including electroplating, plating, polishing, anodizing, and coloring.

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  Information developed to date indicates that AEPC used, stored, generated, and/or discharged at

  least 24 raw, process, and waste materials, including arsenic, caustic soda, cyanide, lead, mercury,

  nickel, sulfuric acid, and zinc. For years, contaminants have been discharged from AEPC’s

  Foundry Street Complex to the Roanoke Avenue combined sewer system, as well as dry and wet

  weather bypassing of wastewater from the Roanoke Avenue sewer system, with the ultimate

  discharge of the contaminants to the Passaic River. AEPC also had extensive heavy metals

  discharged to the PVSC collection system, such as zinc, copper, lead, mercury, and arsenic. In

  January 1986, AEPC was found to be in violation of § 307 and § 308, subsections 1317 and 1318

  of the federal Clean Water Act. The violations centered on AEPC’s failure to submit categorical

  pretreatment baseline monitoring reports and other compliance monitoring reports to PVSC.

  Reportedly, as of April 1987, AEPC signed a consent decree and paid an assessed penalty of

  $100,000 to settle the action. FSC is liable as an owner and/or operator at the time of disposal of

  hazardous substances. Releases of copper by FSC have contaminated and continue to contaminate

  the sediments in the Lower Passaic River and must be removed from the riverbed and/or capped

  as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and

  CERCLA § 113, FSC is therefore liable for the costs of response resulting from the release of

  hazardous substances from the Facility, including the costs of removing and/or capping copper

  and other hazardous substances it disposed of that have contaminated and continue to contaminate

  the river, including but not limited to lead and mercury.

         222.    Harris Corporation (f/k/a ITT Corporation, f/k/a ITT Industries, Inc.)

  (“Harris”) and its predecessors have operated as ITT Avionics Division at 100 Kingsland Road

  in Clifton, New Jersey from 1946 to the present day. This property is part of the Facility. The

  property is 50 acres and is bordered to the west by the Third River, a tributary to the Passaic River.

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  The Third River discharges to the Passaic River approximately one quarter mile east of the

  property. Harris assembles electronic equipment used in the defense industry. Historically, Harris

  manufactured televisions and radio tubes, telephones, washing machines, and printed circuit

  boards. Harris’s current operations include welding, soldering, painting, printing, degreasing,

  drilling, machining, grinding, assembly, and product testing. Methylene chloride, trichloroethene

  (TCE), and 1,1,1-trichloroethane were stored in 55-gallon drums on the property. Harris operated

  an industrial wastewater pretreatment facility from 1982 to 1990. Process operations feeding the

  facility used plating baths of cadmium, chromium, copper, lead, molybdenum, nickel, silver, tin,

  and zinc, in addition to degreasing operations that used TCE and 1,1,1-trichloroethane. Fifty-four

  substances were identified on the property, including nitrogen, dichlorodifluoromethane, sulfuric

  acid, hydrogen chloride, potassium hydroxide, acetone, and nitric acid. On August 14, 1986, 1,1,1-

  trichloroethane was released on the property, necessitating a groundwater pump and treatment

  system that has been in operation since 1992. Property soil contamination includes arsenic,

  benzene, toluene, 1,2-dichloroethane, and 1,1-dichloroethene.              Property groundwater

  contamination includes the above-listed contaminants and many others, including 1,1,1-TCA,

  ethylbenzene, chloroform, and volatile organic compounds. As noted, there was a wastewater

  pretreatment facility in use from 1982 until 1990, but it is unknown if any pretreatment apparatus

  was used prior to that time. The sewer line on the property joins one of the PVSC main

  interceptors, and historical PVSC records indicate that wastes were routinely bypassed from the

  local intercepting sewer and PVSC main interceptor to the Passaic River. Catch basins on the

  property discharge to the stormwater collection system, which then discharges to the Third River,

  a tributary of the Passaic River. Waste generated at the property was discharged to the Yantacaw

  Street outfall, which was a permitted discharge point to the Passaic River, during various bypassing

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  events.     Boiler blowdown, which is known to be wastewater that includes heavy metals and

  corrosion inhibitors, was historically piped to the stormwater collection system from 1946 until at

  least 1975. On March 31, 2001, approximately 50 gallons of ethylene glycol were spilled, and

  approximately 20 gallons of the substance reached the storm sewer to the Third River. On August

  14, 1986, approximately 300 gallons of 1,1,1-trichloroethane was released to the property’s

  subsurface. Finally, on information and belief, runoff of contaminated soil reached the Third

  River, and direct runoff contamination of the Passaic River also occurred as the property slopes

  towards the Third River, which then discharges to the Passaic River. Harris is liable as the current

  owner and/or operator of the property. Releases of hazardous substances including copper from the

  property have contaminated and continue to contaminate the sediments in the Lower Passaic River,

  including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

  mandated remedy. Under CERCLA §§ 107(a)(1) and/or 107(a)(3) and CERCLA § 113, Harris is

  therefore liable for the costs of response resulting from the release of hazardous substances from

  the Facility, including the costs of removing and/or capping copper and other hazardous substances

  it disposed of that have contaminated and continue to contaminate the river.

            223.   Defendant Pabst Brewing Company, LLC (“Pabst”) operated a brewery at 400

  Grove Street in Newark, New Jersey from 1946 to 1985. This property is part of the Facility.

  Pabst brewed and packaged approximately 206,000 barrels of beer monthly at the brewery. The

  principal raw materials used in the operations included barley malt, corn grits, hops, yeast, and

  water. Caustic soda was used onsite to clean recycled beer bottles, and spent caustic soda

  discharged to the sanitary sewer “without treatment or dilution.” Pabst was identified as a “Major

  Contributing Industry” by PVSC in 1977 and a “Significant Industrial User” of the PVSC system

  in 1982, discharging 1.44 million gallons of wastewater per day without pretreatment. During the

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  closing of the plant in June 1985, 1.3-million gallons of beer and 8,000 gallons of anhydrous

  ammonia were dumped into the sanitary sewer. Heavy metals are known to be present in the

  brewing process and brewery wastewater in general. A 2006 study of brewery waste sludge

  identified manganese, magnesium, zinc, copper, lead, and nickel in sludge created by brewery

  effluent. COCs stored, used, and/or produced at the plant included copper, lead, mercury, and

  PAHs. In 1991, a closure plan for nine underground storage tanks at the plant was submitted by

  the subsequent property owner and approved by NJDEP. Site soil, groundwater, and wastewater

  contamination includes copper, PCBs, mercury, lead, and PAHs.              There are documented

  discharges of hazardous substances from the property to the Passaic River. As examples: Pabst

  was discharging upwards of one-million gallons of brewery waste per day without pretreatment,

  meaning that all heavy metals usually found in wastewater treatment sludge were discharged to

  the sanitary sewer during Pabst’s four decades of operation. Pabst’s sanitary flow in 1985 was

  made up of water from the washdown of vessels, piping, equipment, sinks, and cooling water from

  the air conditioners. Historical PVSC reports indicate that wastes were routinely bypassed from

  the PVSC main interceptor to the Passaic River at the Clay Street CSO during wet weather. In

  addition to pre-permit discharges to the PVSC system, Pabst had numerous documented violations

  or exceedances of its permit. Pabst is liable as an owner and/or operator at the time of disposal of

  hazardous substances. Releases of hazardous substances including copper from the property have

  contaminated and continue to contaminate the sediments in the Lower Passaic River, including

  OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

  Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Pabst is therefore liable for

  the costs of response resulting from the release of hazardous substances from the Facility,

  including the costs of removing and/or capping copper and other hazardous substances it disposed

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  of that have contaminated and continue to contaminate the river, including but not limited to

  mercury, lead, and PAHs.

         224.    Defendant Palin Enterprises L.L.C. (“Palin”) and/or its predecessors leased the

  entire property located at 25 Belgrove Drive (also known as 44 Passaic Avenue) in Kearny, New

  Jersey and subleased portions to multiple tenants. This property is part of the Facility. The

  property has operated since the early 1900s. Until the late 1950s, the property was used to

  manufacture linen thread, material, and yarns from raw flax and twine. Later, the property was

  converted into an industrial park and was leased to various tenants. Palin’s tenants manufactured

  various aluminum products, including baseball bats and hockey sticks. In the initial step of the

  process, aluminum billets were melted and introduced into molds to create “blanks.” These blanks

  were then transported from the property east of Passaic Avenue to Marshall Clark Manufacturing

  (also located on the property), where various finishing operations were conducted. Site soil and

  groundwater contamination includes copper, dioxin-associated compounds, PCBs, lead, and

  PAHs. On information and belief, contaminated groundwater was released into the Passaic River.

  Inspectors during a 1988 RCRA generator inspection noted that there was oil spilled in a work

  area located on the property. Inspectors were told that lubricating oils were used on the aluminum

  parts and then the parts were dipped into a solvent bath. The solvent/oil mixture was continuously

  fed to a distillation unit to recover the oil and solvents. No manifests were filed for the

  removal/disposal of hazardous wastes. A 2003 NJDEP inspection report identified many problems

  at the property, including monitoring wells that were open, unlocked, and in disrepair; silvery

  aluminum files and shavings were located throughout the property; Building 24 was being used to

  store machinery, transformers, fuse boxes, multiple open and unlabeled drums, and office

  equipment; by the entrance to Building 22, a petroleum odor was observed, and the soil and gravel

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  in the area were stained; employees were dumping waste wash water from Building 22 into the

  loading dock area (American was previously required to cease this practice in September 1989);

  and in Building 22, there was a trench gorged in the concrete floor that was visibly stained, and

  workers were dripping oil/metal mixtures over the floor surfaces. Palin is liable as an owner and/or

  operator at the time of disposal of hazardous substances. Releases of hazardous substances

  including copper from the property have contaminated and continue to contaminate the sediments

  in the Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped

  as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and

  CERCLA § 113, Palin is therefore liable for the costs of response resulting from the release of

  hazardous substances from the Facility, including the costs of removing and capping copper and

  other hazardous substances it disposed of that have contaminated and continue to contaminate the

  river, including but not limited to dioxin-associated compounds, PCBs, lead, and PAHs.

         225.    Defendant PMC Global, Inc. (a/k/a Kleer Kast, a Division of PMC Inc.) (“Kleer

  Kast”) has operated on a property located at 450 Schuyler Avenue, Kearny, New Jersey from 1971

  to the present. This property is part of the Facility. From the late 1970s through at least 1999,

  operations at the property produced plastic products for the graphic arts, stationary, and packaging

  industries; cellulose acetate sheeting; acetate pellets; compounded and extruded cellulose;

  butyrate; propitionate; acetate tool handles; and plasticized compounds. The property operated 24

  hours per day, 7 days per week, all year. In 1994 and 1995, raw, process, and hazardous materials

  found onsite included copper, mercury, lead, and PAHs. There are documented releases of

  hazardous substances from the property to the Passaic River. Prior to July 1986, the property

  disposed of all wastewater to Frank’s Creek, a tributary of the Passaic River. This disposal

  included stormwater and runoff as well as cooling water, containing copper, mercury, lead, and

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  PAHs. On March 21, 1985, dye testing conducted at the property documented that process

  overflows discharged to the drains ultimately flowed to Frank’s Creek.            These hazardous

  substances were present in the disposals to Frank’s Creek for the fourteen years it disposed

  wastewater to surface water without a permit and during several documented permit violations.

  On August 1, 1989, NJDEP conducted an inspection and issued a notice of violation on October

  6, 1989 for an unpermitted discharge of noncontact cooling water from injection molding machines

  and floatables, including plastic pellets, found in the effluent. By 1987, all process wastewater,

  contact cooling waters, and sanitary wastewater generated at the property were being directed to

  the PVSC treatment plant. From 1988 to 1995, a sampling identified hazardous substances in its

  wastewater, including copper, mercury, lead, and PAHs. Kleer Kast is liable as the current owner

  and/or operator of the property. Disposals of hazardous substances including copper from the

  property have contaminated and continue to contaminate the sediments in the Lower Passaic River,

  including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

  mandated remedy. Under CERCLA §§ 107(a)(1) and/or 107(a)(3) and CERCLA § 113, Kleer

  Kast is therefore liable for the costs of response resulting from the release of hazardous substances

  from the Facility, including the costs of removing and capping copper and other hazardous

  substances it disposed of that have contaminated and continue to contaminate the river, including

  but not limited to mercury, lead, and PAHs.

         226.    Defendant Schiffenhaus Packaging LLC (“Schiffenhaus”) has operated at 2013

  McCarter Highway, Newark, New Jersey from 1895 to present. This property is part of the

  Facility. Schiffenhaus manufactures linerboard and fiber, specializing in corrugated boxes and

  display items, packaging paper, plastic film, shelving, and lockers. Schiffenhaus reported in

  December 1994 that its production of corrugated products, displays, and preprinted liner averaged

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  42-million square feet per month. COCs stored, used, and/or produced at the property included

  copper, lead, mercury, and PAHs. Hazardous substances known to be present in the property’s

  wastewater also included copper, lead, mercury, and PAHs. Prior to the operation of the PVSC

  system in 1924, all of Schiffenhaus’s wastewater was, on information and belief, discharged

  directly to the Passaic River. As operations have been consistent since they began in 1895, the

  property’s wastewater during the period 1895 to 1924 would have contained hazardous substances.

  Furthermore, the property is located in the Delavan Avenue CSO district. During the period from

  1895 to 1924, wastes were discharged from the property directly to the Passaic River via the

  Delavan Avenue CSO until the municipal sewers were tied to the PVSC system as of 1924. The

  wastewater discharge from the Schiffenhaus property to the PVSC system and its Delavan Avenue

  CSO location was likely bypassed to the Passaic River from the municipal tie-in in 1924 through

  February 28, 1975 (the effective date of PVSC’s NJDPES permit). Discharge from this property

  was released to the Passaic River over an approximately 51-year period without a federal permit.

  From February 28, 1975, historical analysis centering on the property’s wastewater discharge to

  PVSC indicates certain hazardous substances, such as copper, lead, and mercury, were present.

  Schiffenhaus did not employ a batch wastewater pretreatment process until 1998. Finally,

  numerous notices of violation and/or reports of noncompliance with wastewater discharge permits

  were issued to Schiffenhaus based upon historical exceedances of hazardous substances detected

  in the property’s wastewater discharge to the PVSC system. Shiffenhaus is liable as the current

  owner and/or operator of the property. Releases of hazardous substances including copper from the

  property have contaminated and continue to contaminate the sediments in the Lower Passaic River,

  including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

  mandated remedy.      Under CERCLA §§ 107(a)(1) and/or 107(a)(3) and CERCLA § 113,

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  Schiffenhaus is therefore liable for the costs of response resulting from the release of hazardous

  substances from the Facility, including the costs of removing and/or capping copper and other

  hazardous substances it disposed of that have contaminated and continue to contaminate the river,

  including but not limited to mercury, PAHs, and lead.

         F.        Dieldrin

         227.      OxyChem seeks to recover costs, contribution, and a declaratory judgment against

  the following covered parties that are responsible for the releases of dieldrin (among other

  hazardous substances) that have contaminated and continue to contaminate the sediments of the

  Lower Passaic River, including Defendants Givaudan, Sherwin Williams, Fox America, and the

  CSD Defendants.

         228.      The allegations contained in paragraphs 200, 201, 203, and 208 are incorporated as

  if set forth fully herein. Under CERCLA §§ 107(a)(1) and/or 107(a)(2) and/or 107(a)(3) and

  CERCLA § 113, Defendants Givaudan, Sherwin Williams, Fox America, and the CSD

  Defendants are therefore liable for the costs of response resulting from the release of hazardous

  substances from the Facility, including the costs of removing and/or capping dieldrins and other

  hazardous substances they disposed of that have contaminated and continue to contaminate the

  Passaic River.

         G.        PAHs

         229.      OxyChem seeks to recover costs, contribution, and a declaratory judgment against

  the following covered parties that are responsible for the releases of polychlorinated aromatic

  hydrocarbons (among other hazardous substances) that have contaminated and continue to

  contaminate the sediments of the Lower Passaic River.




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         230.    From 1968 until 1990, Defendant Ashland LLC (f/k/a Ashland Chemical

  Company) (“Ashland”) or its predecessors operated the property located at 221 Foundry Street,

  Newark, New Jersey (the “Foundry Property”).           The Foundry Property is part of the Facility.

  Defendant Foundry Street Development, LLC (“Foundry”) is the former owner of the property

  from 2003 until Defendant Meltser-Tonnele Avenue LLC (“Meltser”) purchased the property.

  Meltser is the current owner of the property. Here, Ashland or its predecessors received, stored,

  and repackaged aliphatic and aromatic hydrocarbons, acids, alcohols, alkines, amines, esters,

  ethers, glycols, halogenated solvents, ketones, and nitroparaffins. As of August 1, 1979, the

  Foundry Property had a storage and transfer capacity of 737,000 gallons of hazardous materials; a

  chemical storage capacity of 1,712,300 gallons; and a maximum transfer capacity of 50,000

  gallons per day. Ashland received bulk shipments, stored the materials in aboveground tank farms,

  and repackaged the materials into bags and drums for distribution to customers. Ashland also

  prepared solvent blends from raw materials. And Ashland recovered mixed solvents and stored

  them in 55-gallon drums. With these operations, Ashland generated waste oils, spill cleanup

  material, and “hose residue.” Waste acids and bases from drumming operations and accidental

  spillage from the acid truck were collected in a neutralization pit, which was routinely pumped

  into the sanitary sewer after pH adjustment. Remedial investigations of the Foundry Property

  identified areas of concern, including rail car transfer areas, storage tank farms, truck loading racks,

  collection sump pumps, storage buildings and drum rooms, and the neutralization pit. COCs

  stored, used, and/or produced at the Foundry Property included dioxin-associated compounds,

  caustic soda, fuel oil, kerosene, and sulfuric acid. Site soil contamination includes dioxin-

  associated compounds, dieldrin, DDx, and PAHs. Over 65 compounds have been identified in

  soils as exceeding NJDEP’s most stringent soil cleanup criteria. Site groundwater contamination

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  includes dioxin-associated compounds, dieldrin, DDx, PAHs, copper, lead, and mercury. There

  are documented discharges of hazardous substances from the Foundry Property. For example, in

  1976, polluting and explosive industrial waste entered the Passaic River because Ashland’s line

  broke during tank cleaning. From 1967 to 1979, discharges of hazardous substances into the sewer

  system at the Foundry Property discharged directly to the Passaic River via the Roanoke Avenue

  CSO—which was known to chronically malfunction. Indeed, PVSC documented that the Roanoke

  Avenue CSO and outfall to the Passaic River were inoperative from 1967 to late 1979, resulting

  in continuous direct discharges. Runoff from the Foundry Property likely entered PVSC catch

  basins along Foundry Street. Finally, groundwater from underdrain systems was pumped to an

  oil/water separator and then to the sewer. A 1988 sampling plan states that “groundwater

  collection and/or sump systems . . . tend to function as contaminant accumulation and migration

  pathways.” Ashland and Foundry are liable as owners and/or operators at the time of disposal of

  hazardous substances. Meltser currently owns the property and is liable as the current owner and/or

  operator of the property. Releases of PAHs from the Foundry Property have contaminated and

  continue to contaminate the sediments in the Lower Passaic River, including OU2, and must be

  removed from the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA

  §§ 107(a)(1) and/or 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Ashland, Foundry, and

  Meltser are therefore liable for the costs of response resulting from the release of hazardous

  substances from the Facility, including the costs of removing and/or capping PAHs and other

  hazardous substances they disposed of that have contaminated and continue to contaminate the

  Passaic River, including but not limited to mercury, dioxin-associated compounds, copper, and

  lead.



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         231.    Defendant Innospec Active Chemicals LLC (f/k/a Finetex, Inc.) (“Innospec”)

  and its predecessors operated at 418 Falmouth Avenue, Elmwood Park, New Jersey from 1956 to

  2005. This property is part of the Facility. Innospec manufactured and supplied ingredients and

  chemical aids to other manufacturers of textile and personal care products. Innospec utilized or

  discharged several hazardous substances including maleic anhydride, dichlorobenzene, and

  trichlorobenzene, which are Class III organic compounds that EPA has associated with the

  formation of dioxins, along with xylene, acetylene, methanol, and sulfuric acid. Groundwater

  sampling revealed exceedances for vinyl chloride, benzene, chlorobenzene, and 1,4

  dichlorobenzene, among others. In 2002, soils contained exceedances for several contaminants,

  including chlorobenzene, vinyl chloride, and benzene. In 1972, PVSC noted that synthetic oil was

  flowing into Fleischer’s Brook—a tributary to the Passaic River—via a floor drain located on the

  property. Innospec has stored raw materials and empty drums outside on a concrete slab that is

  sloped to sanitary drains. Noncontact cooling water and stormwater are discharged to an unnamed

  tributary to the Passaic River, and upon information and belief, the property’s floor drains have

  been connected to the stormwater system. Waste generated at the property was discharged to the

  Yantacaw Street outfall, which was a “permitted” discharge point to the Passaic River, during

  various bypassing events. Innospec is liable as an owner and/or operator at the time of disposal of

  hazardous substances. Releases of hazardous substances including PAHs from the property have

  contaminated and continue to contaminate the sediments in the Lower Passaic River, including

  OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

  Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Innospec is therefore liable

  for the costs of response resulting from the release of hazardous substances from the Facility,



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  including the costs of removing and/or capping PAHs and other hazardous substances including

  lead and mercury it disposed of that have contaminated and continue to contaminate the river.

         232.    Sunoco (R&M), LLC (as a successor to Sun Oil Company) owned and operated

  the property described below from 1916 to 2002. Defendant Sunoco Partners Marketing &

  Terminals L.P. has owned and operated the property from 2002 to the present. Sunoco Partners

  Marketing & Terminals L.P. and Sunoco (R&M), LLC and their predecessors (together, “Sunoco”)

  operated on a property located at 436 Doremus Avenue, Newark, New Jersey, near RM 0 to RM

  0.5. This property is part of the Facility. The property consists of 23.2 acres, and the Lower

  Passaic River borders the property to the east. Sunoco began operations at the property related to

  shipping and storing of petroleum products in the 1920s. The 1926 and 1932 U.S. Army Corps of

  Engineers (USACE) surveys state Sunoco stored oil in barrels and used a dock to ship the oil

  products. A 1931 Sanborn map labels the Sunoco-operated facility as an oil- and gasoline-

  distributing station with an overwater warehouse connected to a dock, ten aboveground storage

  tanks for petroleum products, and eight tanks with pumps underneath. On January 12, 1935, an

  oil fire originating from a barge at the adjoining facility partially destroyed the Sunoco facility,

  spreading across Sunoco’s oil-saturated pier and causing an oil explosion at the Sunoco property

  consuming several thousand gallons of oil stored in the overwater warehouse. A 1942 USACE

  survey indicated the Sunoco property was used for receiving and shipping petroleum products by

  harbor carrier and coastwide carrier. The Sunoco property included 27 petroleum product storage

  tanks with a total capacity of approximately 8-million gallons and a pipeline connecting the

  property to a refinery in Marcus Hook, Pennsylvania. On December 31, 1945, Sunoco purchased

  the northern portion of the property, and on information and belief, after that date, Sunoco was the

  sole petroleum terminal operator at the property. A 1950 Sanborn map depicts the property as

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  containing as many as 32 oil and gasoline storage tanks, a tank-filling building, a drum-filling

  building, and an oil warehouse. A 1953 USACE survey of the property indicates the entire

  property was occupied by Sunoco for use as an oil distribution terminal for receiving and shipping

  petroleum products. The property had total storage capacity of approximately 17-million gallons

  in 80 steel storage tanks, which increased by 1965 to 26-million gallons in only 76 storage tanks.

  In 1969, the property reportedly operated 24 hours a day, 7 days a week and contained storage

  tanks with capacities between 11,500 and 2,270,000 gallons. Since 1980, the facility has engaged

  solely in redistributing petroleum products. The property receives finished petroleum products

  from the company’s Pennsylvania refinery via a pipeline and barges. The products are stored in

  aboveground tanks and then repackaged before being distributed via barges and tanker trucks.

  Products stored and distributed at the property include fuel oils, gasoline, kerosene, and jet turbine

  fuel. Since 1994, the total storage volume at the property has been approximately 25-million

  gallons. In 1993, Sunoco signed a memorandum of agreement with NJDEP agreeing to conduct a

  remedial investigation (RI) and feasibility study (FS) to address contamination at the property. The

  RI and remedial action plan (RAP) identified known sources of site contamination, site

  hydrodynamics, and known releases of contaminants, and they included an investigation of

  subsurface petroleum hydrocarbon soil and groundwater contamination related to releases due to

  operations on the property. Remediation and monitoring are ongoing at the property. COCs

  stored, used, and/or produced on the property include oil products, fuels, petroleum sludge, tank

  bottom solids, waste crank oil, oil/water-separator wastes, and PAHs. Site soil contamination

  includes PAHs, PCBs, and lead. Site groundwater contamination includes PAHs, iron, and volatile

  organic compounds. There are numerous documented discharges of hazardous substances from

  the property to the Passaic River via direct pathways, the sanitary sewer, the storm sewer,

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  groundwater, and runoff. As examples: There were large oil fires in 1924 and 1935 at the property.

  On April 26, 1961, oil from an oil/water-separator owned and operated by Sunoco was observed

  discharging to the Lower Passaic River. On October 5, 1976, an oil spill of approximately 20,000

  gallons discharged to the Lower Passaic River. On May 5, 1978, approximately 10,000 gallons of

  oil were spilled onto an embankment and into the Lower Passaic River when a delivery barge hose

  snapped. On January 20, 1984 and again on March 7, 1984, the Coast Guard observed that seepage

  of oil into Newark Bay from the property was ongoing. The Newark Bay tidally influences the

  Passaic River. On March 8, 1985, EPA indicated that “several spills of gas[oline] and oil” were

  reported at the property, with some reaching the Lower Passaic River and impacting water quality.

  On November 21, 1991, a bleeder valve at the property was left open, resulting in an oil sheen in

  the Lower Passaic River. Further, Sunoco maintains one stormwater discharge point to the Lower

  Passaic River that does not flow to the municipal wastewater collection and treatment system. This

  discharge is from the oil/water separator in the eastern portion of the property. PAHs, PCBs, and

  lead, have been detected in soil on the property. Further, PAHs, PCBs, copper, and lead have been

  detected in offsite sediments near the property. Sunoco Partners Marketing & Terminals L.P. is

  liable as the current owner/operator of the property. Sunoco (R&M), LLC is liable as an owner

  and/or operator at the time of disposal of hazardous substances. Releases of hazardous substances

  including PAHs from the property have contaminated and continue to contaminate the sediments

  in the Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped

  as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(1) and/or 107(a)(2) and/or

  107(a)(3) and CERCLA § 113, and subject to the contribution release described in paragraph 44

  above, Sunoco Partners Marketing & Terminals L.P. and Sunoco (R&M), LLC are therefore liable

  for the costs of response resulting from the release of hazardous substances from the Facility,

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  including the costs of removing and/or capping PAHs and other hazardous substances they

  disposed of that have contaminated and continue to contaminate the river, including but not limited

  to PCBs, copper, and lead.

         233.    Defendant Novelis Corporation (f/k/a Alcan Aluminum Corporation)

  (“Alcan”) and its predecessors, Brixite Manufacturing Co., Inc. and Wallmaster Aluminum

  Company, operated at 1 Jacobus Avenue, Kearny, New Jersey in the Tomkins Tidewater Terminal

  from approximately 1953 through 1975.       This property is part of the Facility. Alcan used the

  property for manufacturing aluminum siding, roofing, and accessories. Alcan also manufactured

  building products using asphalt as a raw material. In 1974, Alcan reported manufacturing

  52,000,000 pounds of materials at the property using 35,600 gallons of solvents/thinners. Alcan

  used coating materials consisting of ketones, aromatics, alcohol, aliphatic hydrocarbons,

  cellosolve acetate, and butyl alcohol. In the 1990s, thirteen underground storage tanks containing

  fuel oil, gasoline, diesel, and waste oil—most of which were pitted and corroded—were removed

  from the property.    Materials detected in site soils include PAH compounds chrysene and

  benzo(a)anthracene, PCBs, copper, lead, and mercury, among other hazardous substances.

  Sediment samples collected along the center of the Passaic River approximately 225 feet west of

  the waterfront of the property were contaminated with metals, volatile organic chemicals, and other

  substances consistent with the substances present in the samples of media from the Alcan site,

  including cadmium, chromium, copper, lead, mercury, nickel, zinc, benzene, toluene,

  benzo(a)anthracene, and chrysene. Process wastes from the property discharged directly to the

  Passaic River through approximately five pipes. Until 1969, plating waste from onsite operations

  was discharged to a sump well, which has failed and caused plating wastes to drain into the Passaic

  River via an overflow drain pipe. The New Jersey Department of Health (NJDOH) issued Alcan

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  a cease-and-desist order in October 1969 because of this discharge. Additionally, surface water

  from the property flowed into storm sewers that discharged directly to the Passaic River

  immediately west of the property, and because much of the property is below grade, groundwater

  on the site is tidally influenced and is connected hydraulically to the river, with a net flow toward

  the river. Alcan is liable as an owner and/or operator at the time of disposal of hazardous substances.

  Releases of hazardous substances including PAHs from the property have contaminated and

  continue to contaminate the sediments in the Lower Passaic River, including OU2, and must be

  removed from the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA

  §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and subject to the contribution release

  described in paragraph 44 above, Alcan is therefore liable for the costs of response resulting from

  the release of hazardous substances from the Facility, including the costs of removing and/or

  capping PAHs and other hazardous substances it disposed of that have contaminated and continue

  to contaminate the river, including but not limited to PCBs, copper, lead, and mercury.

         234.    Defendant Public Service Electric & Gas Company (PSE&G) operated on

  several properties within the Facility that disposed of and released PAHs and other hazardous

  substances that have contaminated and continue to contaminate the sediments in the Lower Passaic

  River. PSE&G is liable as an owner and/or operator at the time of disposal of hazardous substances.

  Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, PSE&G is therefore liable

  for the costs of response resulting from the release of hazardous substances from the properties

  below that are part of the Facility, including the costs of removing and/or capping PAHs and other

  hazardous substances it disposed of that have contaminated and continue to contaminate the river.

            The Harrison Property: PSE&G and its predecessor entities operated for nearly 100

             years on a 30-acre parcel located at 2000 Frank E. Rodgers Boulevard (the “Harrison

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           Property”). The Harrison Property is part of the Facility. The Harrison Property

           includes approximately 1,600 feet of Passaic River shoreline. From 1902 until 1926,

           PSE&G utilized the Harrison Property to store oil and manufactured gas. A gas plant

           began commercial operation in 1926. The gas plant originally used coal and coke as

           feedstock. In the 1950s, the plant used natural gas and kerosene. From 1973 to 1980,

           the plant used naphtha as a feedstock.       Process wastewater from the plant was

           discharged directly to the Passaic River until January 1979, at which point the effluent

           was diverted to the PVSC sewer system.          On information and belief, treatment

           techniques that were utilized onsite were ineffective, resulting in the discharge of

           dozens of hazardous substances to the Passaic River, including dioxins, PAHs,

           aromatics, inorganics, and metals. Excess water in the ash pit on the Harrison Property

           was discharged to the Passaic River. In the late 1960s, reports indicate that tar and oil

           were being discharged to the Passaic River from the Harrison Property, resulting in an

           oil slick on the Passaic River. In 1993 and 1994, PSE&G confirmed numerous oily

           discharges to the Passaic River emanating from the river bank adjacent to the plant.

           Soil sampling at the Harrison Property indicates elevated concentrations of numerous

           hazardous substances, leading to a Remedial Action Work Plan with the NJDEP in

           2001 to excavate tar masses and residuals throughout the Harrison Property. The

           Harrison Property has historically allowed for runoff into the Passaic River via

           stormwater, flooding, and surface runoff. Sheet pile walls were not installed along the

           waterfront area until 2003.

          Market Street Property: PSE&G operated at the property located at Market Street

           and Raymond Boulevard, Newark, New Jersey (the “Market Street Property”). The

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           Market Street Property is part of the Facility.        From 1847 to 1954, PSE&G

           manufactured gas on the Market Street Property. In approximately 1900, it had six

           naphtha tanks. PSE&G expanded the operations there to include an ammonia plant, an

           oil storage tank, an underground tar tank, tar storage and ammonia liquor storage tanks,

           a relief holder, a water gas generating house, a filtration house, and a machine shop.

           Coal gas, water gas, and carbureted water processes were used at the Market Street

           Property. COCs stored, used, and/or produced by PSE&G at the Market Street Property

           included PAHs, lead, and mercury. Site soil contamination includes PAHs, lead, and

           mercury.   Site groundwater contamination includes PAHs and lead.            There are

           documented releases of hazardous substances from the Market Street Property to the

           Passaic River. As examples: Before PVSC was created in 1924 (from 1847 to 1924),

           sanitary/industrial waste from the Market Street Property entered the City of Newark

           sewer system and discharged directly to the Passaic River. From the creation of PVSC

           in 1924 to 1954, sanitary sewer discharges from the Market Street Property were

           bypassed to the Passaic River via the City Dock CSO during wet weather. Additional

           likely releases of hazardous substances from the Market Street Property to the Passaic

           River include from open pipe discharges; floor drains, trenches, piping, and sumps;

           surface water bodies, and groundwater flow.

          Paterson Gas Plant Property: PSE&G operated at the property located at Wait Street

           in Paterson, New Jersey (the “Paterson Property”). The Paterson Property is part of the

           Facility. From the mid-1860s to 1978, PSE&G produced manufactured gas at the

           Paterson Property.     From approximately 1985 to at least 1992, PSE&G and

           Transcontinental Gas Pipeline Corporation operated there as a natural gas metering and

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          regulating station.   PSE&G used several gas production methods.              PSE&G

          manufactured coal gas by distilling volatile matter from coal, with some steaming of

          coke to produce water gas; carbureted water gas by enriching water gas with a thermally

          cracked hydrocarbon, such as oil; reformed natural gas by using the same carbureted

          water gas process, except natural gas was used in place of oil; modified air-jet gas by

          using natural gas pressure to aspirate air into the natural gas stream; cold enrichment

          gas by adding natural gas to the various manufactured gas streams to increase the level

          of heat; cyclic catalytic reformed gas by passing a hydrocarbon and steam over a nickel

          catalyst; oil gas by thermal cracking and reforming light oil; and liquified petroleum

          air gas by vaporizing propane or butane and mixing it with air. COCs stored, used,

          and/or produced at the Paterson Property included oil, coal, tar/tar pitch, and carbon.

          Site soil contamination includes PAHs, dioxin-associated compounds, copper, lead,

          and mercury.    Site groundwater contamination includes PAHs, dioxin-associated

          compounds, copper, and lead. There are documented releases of hazardous substances

          from the Paterson Property to the Passaic River. As examples: From the 1860s to 1989,

          the Paterson Property discharged sanitary and industrial wastewater directly to the

          Passaic River. In 1971, PVSC informed PSE&G that PVSC was not permitted to

          accept waste from gas work properties and, therefore, directed PSE&G to treat the

          waste so it was nonpolluting and discharge it to the Passaic River. PVSC’s 1971

          Annual Report states that polluting material (odor, chemical oxygen demand, and

          biological oxygen demand) was discovered to have been discharged from the Paterson

          Property to the Passaic River. From October to December 1988, PSE&G reported to

          NJDEP discharges of “an oily substance” from the Paterson Property to the Passaic

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           River. In February 1989, PSE&G reported to NJDEP a sheen of oil in the Passaic

           River. Additionally, groundwater from the Paterson Property flows towards the Passaic

           River, and contaminants (PAHs, copper, and lead) from its overburdened aquifer

           discharged to the Passaic River.

          Front Street Property: PSE&G operated at the property located at Front Street (now

           McCarter Highway), between Lombardy Place and Fulton Street in Newark, New

           Jersey (the “Front Street Property”). The Front Street Property is part of the Facility.

           From 1869 to 1937, PSE&G and its predecessors operated a manufactured gas plant at

           the Front Street Property. The plant used coal gas, water gas, and carbureted water gas

           processes. PSE&G’s operations at the Front Street Property included coal gasification

           and coal burning. In 1937, the manufactured gas plant was withdrawn from service

           there. The Front Street Property continued to serve as a gas holding station until the

           1950s. Throughout the operation of the Front Street Property, it held five tar tanks

           ranging from 4,000 gallons to 115,000 gallons in capacity; a 9,750-gallon tar well and

           a 6,400-gallon tar well (one of which was just 40 feet from the Passaic River); a tar

           separator vault; a 4,000-gallon liquor well; gas holders; three oil tanks ranging from

           50,000 to 80,000 gallons in capacity; and eight smaller underground storage tanks that

           contained gasoline, diesel, and waste oil. COCs stored, used, and/or produced at the

           Front Street Property included coal tar, PAHs, heavy metals, gasoline, and diesel fuel.

           Site soil contamination includes PAHs, lead, copper, and mercury. Groundwater

           contamination includes PAHs, copper, lead, and mercury. By the end of 2003, PSE&G

           had excavated more than 250,000 tons of contaminated soil at the property to address

           soil and groundwater contamination related to manufactured gas plant operations.

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           There are documented releases of hazardous substances from the Front Street Property

           to the Passaic River. As examples: From 1869 to 1924, sanitary and industrial waste

           from the Front Street Property entered the City of Newark sewer system and discharged

           directly to the Passaic River. From the creation of the PVSC in 1924 to 1995, sanitary

           sewer discharges from the Front Street Property were bypassed to the Passaic River via

           the Rector Street CSO during wet weather. Until 1950, ammonia liquor mixed with

           cooling water effluent was discharged directly to surface water. It is likely that

           groundwater from the Front Street Property containing hazardous substances released

           into the Passaic River. In March 2002, “oily product” was released into the Passaic

           River as a result of the vibration of sheet piles being driven along the waterfront site.

           Additionally, “oil-like material” has been noted in various monitoring wells installed

           at the Front Street Property.

          East Newark Gas Property: PSE&G operated at the property that was comprised of

           two parcels located at 419 Passaic Avenue (“Parcel 1”) and 400-404 Passaic Avenue

           (“Parcel 2”) in Newark, New Jersey (“East Newark Property”). The East Newark

           Property is part of the Facility. From 1872 to 1890, coal gas was manufactured on the

           East Newark Property. It was used as a gas holder facility until approximately 1906.

           It used, at a minimum, the coal gas manufacturing process, which involved the thermal

           reduction of coal in retorts. COCs stored, used, and/or produced by PSE&G at the East

           Newark Property included PAHs, mercury, copper, and lead. There are documented

           discharges of hazardous substances from the East Newark Property to the Passaic

           River. As an example: From 1872 to 1890, sanitary and industrial waste from the East



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           Newark Property entered the City of Newark sewer system and discharged directly to

           the Passaic River.

          Former City Dock Substation Property: PSE&G operated at the property located at

           River Street and City Dock Street in Newark, New Jersey (the “Substation Property”).

           The Substation Property is part of the Facility. In 1891, PSE&G began generating

           electricity for electric light and power. In 1905, the Substation Property began

           receiving energy from the 3,000-kilowatt turbine generator located on the adjacent Coal

           Street Generating Station (see below). In 1908, a steam pipeline was installed so the

           Substation Property and the adjacent PSE&G Coal Street Generating Station could

           exchange steam. From 1909 to 1912, frequency exchangers were installed on the

           Substation Property. With the installation of the steam pipeline and the frequency

           exchangers, the electric light and power capabilities at the Substation Property were

           combined with the railway generating facilities of the adjacent PSE&G Coal Street

           Generating Station. While the facility at the Substation Property was dismantled in

           1922, a September 2002 Preliminary Assessment Report concluded that, given the time

           period during which electricity was generated at the Substation Property, dielectric

           fluids containing PCBs were likely used and/or stored on the Substation Property. As

           of the Report, a battery room existed onsite. The Report shows that the battery room

           contained “banks of lead-acid batteries.” COCs stored, used, and/or produced at the

           Substation Property included mercury, dielectric fluids containing PCBs, and lead-acid

           batteries. Site soil contamination includes several types of PAHs, PCBs, lead, copper,

           and mercury. Site groundwater contamination includes dioxin-associated compounds

           and PAHs. There are documented discharges of hazardous substances from the

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           Substation Property to the Passaic River. As examples: Prior to 1892 through 1924,

           the Substation Property discharged wastewater and stormwater directly to the Passaic

           River via the City of Newark combined sanitary and storm sewer. Beginning in 1924

           until at least 2002, wastewater and stormwater discharges from the Substation Property

           were bypassed to the Passaic River via the City Dock CSO during wet weather.

           Furthermore, because the Substation Property is riverfront to the Passaic River, there

           is a potential for both runoff and groundwater discharge to the Passaic River.

          Coal Street Generating Station Property: PSE&G operated at the property located

           at McCarter Highway and Center Street in Newark, New Jersey (the “Coal Street

           Property”). The Coal Street Property is part of the Facility. From 1894 to 1928,

           PSE&G conducted power generating operations and street railway services at the Coal

           Street Property.   From 1928 to the 1980s, vehicle maintenance operations were

           performed there. In 1905, a 3,000-kilowatt turbine generator was installed on the Coal

           Street Property. The entire output of the turbine generator was reportedly used at the

           adjacent PSE&G Former City Dock Station. In 1908, a pipeline was installed that was

           used to exchange steam between this Coal Street Property and the Former City Dock

           Station. COCs stored, used, and/or produced at the Coal Street Property included

           copper, lead, PCBs, and PAHs. Site soil contamination includes PAHs, PCBs, lead,

           and copper. Site groundwater contamination includes lead and mercury. There are

           documented discharges of hazardous substances from the Coal Street Property to the

           Passaic River. As examples: From 1894 to 1924, sanitary and industrial wastewater

           discharged from the Coal Street Property to the Passaic River via a City of Newark

           CSO. From 1924 to 1980, sanitary and industrial wastewater was discharged to the

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           PVSC system. During wet weather, sanitary and industrial wastewater would bypass

           to the Passaic River via the Rector Street CSO and a bypass at the PVSC sewage

           treatment plant. Because the Coal Street Property is located along the Passaic River,

           stormwater runoff generated at the property would discharge to the Passaic River.

          Essex Property: From 1915 to the present, PSE&G and its subsidiaries have owned

           and operated an electricity-generating station located at 155 Raymond Boulevard,

           Newark, New Jersey (the “Essex Property”). The Essex Property is part of the Facility.

           The Essex Property has generated combustion gases, coal bottom ash, fly ash, coal

           storage runoff, waste oil, filter press waste, natural gas scrubber waste, transil oil,

           noncontact cooling water, boiler blowdown, LP boiler cleaning residuals, HP boiler

           cleaning residuals, soot, carbon black, condenser cleanings, feedwater heater cleanings,

           and air heater/fireside wash water. The Essex Property is contaminated with mercury,

           PCBs, dioxin-associated compounds, copper, lead, and PAHs.                Prior to 1947,

           noncontact cooling water and wastewater containing hazardous substances was directly

           discharged to the Passaic River. From 1948 to 1970, the Essex Property had at least five

           outfalls to the Passaic River, including a site discharge canal; a former ash pit outfall;

           groundwater and surface runoff from an electrical cable vault; an outfall from the ash

           lakes; and an outfall to Lawyer’s Ditch, which discharged to the Passaic River. From

           1970 to at least 1996, many of the outfalls on the property were assigned discharge

           numbers, including DSN 341 (the discharge canal) and DSN 342 (chemical waste basin

           discharge). Additionally, there have been numerous instances of spills of hazardous

           substances at the Essex Property to either the discharge canal or the Passaic River itself,



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              including spills of fire suppression runoff from the electrical switching facility, fuel oil,

              asphalt/gasoline/naptha, mineral oil, and kerosene.

          235.    On information and belief, Defendant Reckitt Benckiser LLC (“Reckitt”)

  acquired certain assets and liabilities of Lehn & Fink (L&F), the former owner and operator of the

  property described below at the time of disposal. On information and belief, Defendant STWB

  Inc. (STWB) is the successor to L&F. L&F operated on a property located at 192-194 Bloomfield

  Avenue, Bloomfield, New Jersey from approximately 1925 to 1965. This property is part of the

  Facility.   L&F manufactured chemicals and pharmaceuticals, including cleaning products,

  disinfectants, and personal toiletry items, several of which contained phenols and cresols. During

  that time, industrial waste from the property was discharged through the Meadow Brook sewer

  directly to the Second River, a tributary of the Passaic River. L&F was reported by PVSC in 1927

  for polluting Meadow Brook, also a tributary of the Passaic River, with industrial waste containing

  hazardous substances. After 1931, L&F’s wastewater, contaminated with phenol, cresols, and

  other industrial chemicals, discharged through the Union Outlet Sewer to the PVSC system and

  was subject to bypassing into the Passaic River during overflow events or to the Meadowbrook

  storm sewer, which continued to discharge to Second River. In May 1928, L&F was named as a

  contributor of chemical waste to the Meadow Brook culvert, and in June 1928, a letter on the same

  topic indicates that an extensive investigation established that pollution entering the Meadow

  Brook storm culvert did not originate from any location above L&F. In 1930, the same storm

  sewer was described as discharging sanitary sewage and industrial waste to the Second River,

  again a tributary of the Passaic River. In September 1947, for an “extended period” during that

  month, PVSC diverted all sewerage to the Passaic River while screen guides at Newark Bay were

  installed. At other times, PVSC also diverted all sewage to the Passaic River while repairs were

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  undertaken at the Newark Bay treatment plant. Reckitt and STWB are liable as owners and/or

  operators at the time of disposal of hazardous substances. Releases of hazardous substances

  including PAHs from the property have contaminated and continue to contaminate the sediments

  in the Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped

  as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and

  CERCLA § 113, Reckitt and STWB are therefore liable for the costs of response resulting from

  the release of hazardous substances from the Facility, including the costs of removing and/or

  capping PAHs and other hazardous substances it disposed of that have contaminated and continue

  to contaminate the river.

         236.    Defendant Pitt-Consol Chemical Company (“DuPont”), a subsidiary of Du Pont

  Chemical and Energy Operations, Inc., is the corporate successor of Pitt-Consol Chemical Company,

  which owned and operated at 191 Doremus Avenue from 1955 until 1983. This property is part of

  the Facility. From 1955 until 1983, Pitt-Consol Chemical Company, as predecessor to DuPont,

  continued operations at the property distilling and extracting products from coal tar, creosote oil, and

  their derivatives. Several unlined lagoons were located on the property, which were used to dispose

  of liquid byproducts. During DuPont’s operation of the property, process wastes were directed to a

  54-inch storm sewer that ran from the property to the Roanoke Avenue combined sewer and

  discharged from a 60-inch outfall to the Passaic River. Wastewater flow from the Roanoke Avenue

  combined sewer was deliberately bypassed to the Passaic River in 1948. Since the 1950s, the

  Avenue P regulator, which controlled sanitary flow to the Roanoke Avenue combined sewer,

  would be jammed and left in an open position and therefore allow untreated wastewater to be

  discharged to the Passaic River from the Roanoke Avenue combined sewer. PVSC reported in

  1972 that process waste was being discharged in the 54-inch sewer. The Roanoke Avenue combined

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  sewer system and outfall to the Passaic River was documented by PVSC to have been inoperative

  from 1971 through late 1979, which allowed untreated wastes to enter the Passaic River. During

  the period when the plant was operated by DuPont, it also produced phenols, xylenols, and cresol.

  Process wastes were discharged to the sanitary sewer system which was routinely bypassed to the

  Passaic River. A drainage ditch also existed on the north end of the property. Since the late 1940s,

  through the 1950s and again during the 1970s, hazardous wastes released into the Passaic River

  through the Roanoke Avenue CSO due to inoperative regulator equipment and through routine

  bypassing. Hazardous substances used at the property were found in river sediments adjacent to the

  property. Tar-like materials used by DuPont were also found in the Roanoke Avenue outfall in the

  1970s. DuPont is liable as an owner and/or operator at the time of disposal of hazardous substances.

  Releases of hazardous substances including PAHs from the property have contaminated and

  continue to contaminate the sediments in the Lower Passaic River, including OU2, and must be

  removed from the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA

  §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and subject to the contribution release

  described in paragraph 44 above, DuPont is therefore liable for the costs of response resulting from

  the release of hazardous substances from the Facility, including the costs of removing and/or

  capping PAHs and other hazardous substances it disposed of that have contaminated and continue

  to contaminate the river, including mercury, PCBs, and lead.

         237.    Defendant    Garfield    Molding       Company,    Inc./Garfield    Manufacturing

  Company (“Garfield”) has operated at 10 Midland Avenue, Post Office Box 3236, Wallington,

  New Jersey from as early as 1917 to the present day. This property is part of the Facility. The

  operations performed at Garfield’s property in Wallington, New Jersey principally have involved

  the molding of plastics, cement, and other materials for use in the electric industry. Types of

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  molding conducted at the property have included compression molding, injection molding,

  thermoset molding, and transfer molding. Currently or in the past, operations at the property

  included asbestos storage, coal storage, a laboratory, mixing and blending, mold storage, sand

  blasting, sewer pump house, and a tool and dye shop. Over 40 waste materials were used in or

  generated at the property, including acetylene, ammonia, asbestos, formaldehyde, lead, and

  toluene. In 1988, an investigation of the property identified underground storage tanks (holding

  fuel oil, gasoline, and waste oil); five drum storage areas located throughout the property;

  groundwater contamination; asbestos; and two former groundwater production wells. Historical

  soil sampling identified several hazardous substances, such as antimony, cadmium, copper, lead,

  mercury, PCBs, and total petroleum hydrocarbons. Sampling of the groundwater at the property

  revealed acenaphthene, benzene, dibenzofuran, and xylene. During the time that the property was

  operational, hazardous substances were discharged directly to the Passaic River through various

  means, including humidity room condensate wastewater directly to the Saddle River (a tributary

  of the Passaic River), “polluting” boiler blowdown wastewater directly to the Saddle River,

  noncontact cooling wastewater directly to the Saddle River, and several unpermitted discharges

  and other violations of its permits.     Hazardous substances were also discharged through

  stormwater, storm drains, and concrete trenches. Runoff from the property was also a source of

  hazardous substances in the Passaic River from, among other ways, spills, discharges, and property

  groundwater that flows toward the Passaic River. Garfield is liable as an owner and/or operator at

  the time of disposal of hazardous substances. Releases of hazardous substances including PAHs

  from the property have contaminated and continue to contaminate the sediments in the Lower

  Passaic River, including OU2, and must be removed from the riverbed and/or capped as a result

  of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113,

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  and subject to the contribution release described in paragraph 44 above, Garfield is therefore liable

  for the costs of response resulting from the release of hazardous substances from the Facility,

  including the costs of removing and/or capping PAHs and other hazardous substances it disposed

  of that have contaminated and continue to contaminate the river, including but not limited to

  mercury and copper.

         238.    Defendant Hoffmann-La Roche, Inc. (“Hoffmann”) purchased property located

  at 340 Kingsland Road, Nutley, New Jersey and began its operations in 1928. This property is

  part of the Facility. Historic operations and facilities on the property in the 1930s included a

  strychnine building, a sodium building, a barbituric building, and raw product storage. From 1940

  to 1946, Hoffmann manufactured “ethical prescription medicines.” In 1960 to 1961, Hoffmann

  manufactured bulk “ethical pharmaceuticals,” vitamins, and aromatic chemicals. Currently,

  Hoffmann’s operations on the property include the manufacturing of pharmaceutical preparations.

  Drum storage of virgin materials and hazardous waste occurred in Building 106, and the

  warehousing of virgin materials, products, intermediates, and equipment occurred in Buildings

  103 and 104. Numerous storage tanks were scattered about the property. Those storage tanks

  contained many chemicals, including hexane, toluene, kerosene, solvents, acids, and sulfuric acid.

  Prior to 1982, when the property’s site pretreatment facility became functional, wastewater was

  conveyed to Building 47 (the lime house) where lime was added and then discharged to the city

  sanitary sewer system. Effluent, as tested in August 1978, contained hazardous substances,

  including copper, lead, nickel, arsenic, and mercury. Accidental releases of chloroform and

  toluene have occurred, and there are several areas of concern on the property, including area 109

  involving mercury contamination within a utility tunnel adjacent to Buildings 44 and 56, area 67

  for the process sewer system, area 106 for the chemical transfer network, and area 128 for the

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  former railroad spur, in addition to numerous other areas of concern. Site soil contains acetonitrile,

  hexane, xylene, lead, and polynuclear aromatic hydrocarbons. Groundwater monitoring also

  identified acetone, methylene chloride, aluminum, arsenic, lead, and iron. Surface waters from the

  drainage basin in which the property resides are routed ultimately to the Passaic River, located

  slightly greater than one mile east of the property, and there are numerous documented releases

  including fuel oil, hydraulic fluid, kerosene, acetone/heptane/water, and IPA/THF/toluene

  mixture. Until 1994, stormwater was discharged without a permit. In the 1960s, site stormwater

  catch basins may have been connected to the Valley Drain, and the Valley Drain discharged

  ultimately to the Passaic River. Property groundwater and runoff would overflow St. Paul’s Brook,

  which discharges to the Passaic River. Hoffman is liable as an owner and/or operator at the time of

  disposal of hazardous substances. Releases of hazardous substances including PAHs from the

  property have contaminated and continue to contaminate the sediments in the Lower Passaic River,

  including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

  mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and

  subject to the contribution release described in paragraph 44 above, Hoffmann is therefore liable

  for the costs of response resulting from the release of hazardous substances from the Facility,

  including the costs of removing and/or capping PAHs and other hazardous substances it disposed

  of that have contaminated and continue to contaminate the river, including but not limited to

  mercury, copper, lead, PCBs, and dioxin-associated compounds.

         239.    Beginning in approximately 1917, Federal Shipbuilding & Dry Dock Company, a

  subsidiary and/or trade name of Defendant United States Steel Corporation (f/k/a USX Corp.,

  f/k/a Federal Shipbuilding & Dry Dock Company) and Defendant Marathon Oil Corporation

  (f/k/a USX Corp., f/k/a Federal Shipbuilding & Dry Dock Company), operated at a property

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  located at 100 Central Avenue, Kearny, New Jersey, approximately 0.4 miles east of the Passaic

  River (“Federal Shipbuilding property”). This property is part of the Facility. United States Steel

  Corporation and Marathon Oil Corporation built and repaired merchant and war ships and other

  vessels at the Federal Shipbuilding property. These operations involved heavy machine work and

  steel fabrication. The property was used for building warships during the World Wars and included

  108 buildings on 160 acres. The property had an 8,000-ton floating dry dock, which housed a

  floating welding barge, machine shop, and power plant. From 1921 to 1948, the dry dock was

  used for repairs—during which, the entire dock was submerged, so that sandblasting grit, paint,

  oil and grease, and other waste would enter the water. The property also had a settling tank,

  plumbed to the paint shop, with a discharge line to the South Wet Basin, which leads to the mouth

  of the Hackensack River at Newark Bay. Facilities also included three 1,000-gallon fuel oil tanks;

  one 60-gallon lubricating oil tank; two 60-gallon engine lubricating oil tanks; one 60-gallon

  machine lubricating oil tank; and one 60-gallon cutting oil tank. In the 1920s, the property

  included a large boiler shop and a paint shop. During WWII, production capabilities significantly

  expanded.   Between 1918 and 1947, Federal Shipbuilding delivered 322 vessels that had been

  constructed at the property. United States Steel Corporation sold the Federal Shipbuilding

  property to the United States Navy in 1948. From the 1950s to the 1960s, on three occasions, the

  entire yard was flooded with half a foot to 11 feet of water—causing rapid run off. Union Minerals

  acquired the Federal Shipbuilding property in 1964. Union Minerals used the property to

  dismantle ships for scrap metal. On information and belief, during Union Minerals’ tenure at the

  property, paint chips, overspray, and other wastes generated during ship repair and dismantling

  discharged into the Hackensack River. Union Minerals stopped dismantling ships on the property

  in March 1983. In 1988, Union Minerals changed its name to Defendant RTC Properties, Inc.

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  (f/k/a Union Minerals and Alloys Corporation) (“Union Minerals”). PAHs (specifically,

  chrysene and naphthalene), copper, lead, and mercury are known to be present on Federal

  Shipbuilding property.    PAHs, copper, lead, and mercury are associated with the types of

  operations performed by Federal Shipbuilding. Other chemicals present in site soils and known to

  be associated with operations performed at the Federal Shipbuilding property include zinc,

  chromium, and trichloroethene. Further, copper, lead, and mercury have been found in the

  groundwater at the property. PAHs, PCBs, copper, lead, and mercury were found in offsite

  sediments adjacent to the property. United States Steel Corporation and Marathon Oil Corporation

  are liable as owners and/or operators at the time of the disposal of hazardous substances. RTC

  Properties, Inc. is liable as the current owner and/or operator of the property. Releases of

  hazardous substances including PAHs from the property have contaminated and continue to

  contaminate the sediments in the Lower Passaic River, including OU2, and must be removed from

  the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(1)

  and/or 107(a)(2) and/or 107(a)(3) and CERCLA § 113, United States Steel Corporation, Marathon

  Oil Corporation, and RTC Properties, Inc. are therefore liable for the costs of response resulting

  from the release of hazardous substances from the Facility, including the costs of removing and

  capping PAHs (specifically, chrysene and naphthalene) and other hazardous substances they

  disposed of that have contaminated and continue to contaminate the river, including but not limited

  to copper, lead, and mercury.

         240.    Defendant Textron, Inc. (“Textron”) acquired the Federal Leather Company, Inc.

  in 1956 and, on information and belief, has succeeded to its liabilities. The Federal Leather

  property is located at 681 Main Street, Belleville, New Jersey adjacent to the Passaic River. This

  property is part of the Facility. The property was developed in 1916 by Federal Leather and was

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  operated by Federal Leather through 1968. Federal Leather manufactured leather, artificial leather,

  and vinyl plastics. In 1924, Federal Leather exclusively produced artificial leather. In and around

  1938, Federal Leather covered all of Block 56, Lots 5, 6, 7, 9, and 31. At that time, the property

  contained a foundry, a wire rope factory, numerous solvent/fuel/naphtha tanks, a dye grinding

  shop, a lacquer storage facility, a varnishing and drying shop, a dope mixing shop, a chemical

  storage area, a dye house, and a solvent recovery shop. In 1950, Federal Leather expanded into

  Block 108, Lots 10, 12, 20, 50, 60, and 62, where it continued to operate the prior types of facilities.

  In 1977, portions of the property were the subject of a PVSC investigation regarding the discharge

  of process waste stream to the Passaic River. Federal Leather’s specific operations at the property

  included producing vinyl coated fabrics, dyeing finishing textiles, and producing automobile seat

  covers and injection molded vinyl parts. Hazardous substances used at the property included

  antimony trifluoride, dyes, fuel oils, naphtha, solvents, and varnishes. Multiple reports and

  assessments demonstrate that Federal Leather released hazardous substances directly to the Passaic

  River until at least 1926. After 1926, sanitary sewers were installed to route wastewater to the

  PVSC. Furthermore, on information and belief, hazardous substances from the property reached

  the Passaic River via storm sewers and groundwater contaminant migration. Textron is liable as

  an owner and/or operator at the time of disposal of hazardous substances. Releases of hazardous

  substances including PAHs from the property have contaminated and continue to contaminate the

  sediments in the Lower Passaic River, including OU2, and must be removed from the riverbed

  and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or

  107(a)(3) and CERCLA § 113, and subject to the contribution release described in paragraph 44

  above, Textron is therefore liable for the costs of response resulting from the release of hazardous

  substances from the Facility, including the costs of removing and/or capping PAHs and other

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  hazardous substances it disposed of that have contaminated and continue to contaminate the river,

  including but not limited to mercury and copper.

         241.    Defendant Berol Corporation (“Berol”) is the successor by merger to Faber-

  Castell Corporation. Faber-Castell operated the property at 41 Dickerson Street, Newark, New

  Jersey. This property is part of the Facility. Sometime prior to 1934, Faber-Castell purchased the

  property for the manufacture of pencil erasers from natural rubber. As of 1975, operations on the

  property produced rubber and ink. The property produced 140,000 pounds per month of rubber

  and 3,650 gallons per month of ink and paint. The process included handling raw materials

  (rubber, abrasives, carbon black, dyes, rubber substitute, and plastisols). Rubber or plastisols were

  mixed/milled, rolled into sheets/extruded, cut, and packed.        Dyes were dissolved in water.

  Pigments were dispersed into water-based inks or paints. COCs stored, used, and/or produced at

  the property included PAHs, copper, PCBs, and lead. In 1985, the Faber-Castell operation at the

  property purchased 30 pounds of phenol per month. Site soil contamination includes numerous

  types of PAHs. In 1975, and the property discharged 10,347,160 gallons to the sanitary sewer. In

  1979, the property discharged 14,036,168 gallons to the sanitary sewer, through three

  approximately 6-inch outlets, two of which discharged industrial waste, with a total daily flow of

  approximately 65,200 gallons. The industrial process wastewater was not pretreated prior to

  discharge to the sanitary sewer. The outlets discharging industrial process wastewater were

  associated with the rubber manufacturing process and the ink manufacturing process. There are

  documented discharges of hazardous substances from the property to the Passaic River. As

  examples: As of 1979, at least three outfalls from the property to the combined sewer system

  existed. On information and belief, these outfalls were used for process wastewater discharge

  dating to the beginning of facility operations prior to 1934. The combined sewer system in this

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  area discharged via the Clay Street CSO to the Passaic River during wet weather. Both the rubber

  manufacturing process and the ink manufacturing process may have been associated with PAHs.

  As of 1993, industrial wastewater discharge to the combined sewer was permitted by PVSC. At

  this time, the two industrial discharge outlets on the property were from the rubber manufacturing

  area and the packaging area.      As of 1994, floor drains and trenches were present in the

  manufacturing areas of the buildings and discharged to the combined sanitary sewer system. These

  floor drains and trenches were likely present during operations prior to 1994. Berol is liable as an

  owner and/or operator at the time of disposal of hazardous substances. Releases of hazardous

  substances including PAHs from the property have contaminated and continue to contaminate the

  sediments in the Lower Passaic River, including OU2, and must be removed from the riverbed

  and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or

  107(a)(3) and CERCLA § 113, and subject to the contribution release described in paragraph 44

  above, Berol is therefore liable for the costs of response resulting from the release of hazardous

  substances from the Facility, including the costs of removing and/or capping PAHs and other

  hazardous substances it disposed of that have contaminated and continue to contaminate the river,

  including but not limited to copper.

         242.    Defendant CNA Holdings LLC (“Celanese”) operated the property at 354 and

  375 Doremus Avenue in Newark, New Jersey from 1954 until 1996. This property is part of the

  Facility. There, Celanese operated a chemical bulk storage and distribution business. Hazardous

  substances were shipped to the Celanese property via ship, railroad car, and tanker truck for

  redistribution to customers.     Upon receipt, the hazardous substances were offloaded to

  aboveground storage tanks by aboveground pipes and a pipe tunnel and bridge spanning Doremus

  Avenue. From 1954 to 1974, Celanese operated an onsite, unlined landfill used to dispose of

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  paraformaldehyde sludge and diatomaceous filter materials. From 1954 to 1987, Celanese filled

  drums at the property, filling 10,000 to 12,000 drums annually. Chemicals including acrylates,

  acetates, and glycols were fed into 55-gallon drums. Once filled, the drums were stored in a

  warehouse prior to shipment to customers via truck. From 1966 to 1993, Celanese operated a

  formaldehyde manufacturing facility at the property. The formaldehyde production process

  included two steps, catalytic oxidation of methanol and purification. From 1980 to 1988, under

  RCRA, the property was awarded interim status as a hazardous waste storage unit. In 1988, that

  status was changed to hazardous waste generator. COCs stored, used, and/or produced at the

  property included caustic soda, sulfuric acid, and dioxin-associated compounds.         Site soil

  contamination includes PAHs, dioxin-associated compounds, dieldrin, DDx, PCBs, copper, lead,

  and mercury.    Site groundwater contamination at the property includes PAHs and dioxin-

  associated compounds. The property borders Plum Creek (a tributary of the Passaic River), and

  there is a nexus from the property to Plum Creek. COCs detected in Plum Creek’s sediment

  include dieldrin, DDx, PAHs, PCBs, copper, lead, and mercury. There are documented discharges

  of hazardous substances from the property to the Passaic River.         As examples: In 1976,

  approximately 50,000 gallons of methanol were discharged to the ground at the property. Up to

  30,000 gallons of that methanol flowed into a ditch and discharged to the Passaic River via Plum

  Creek. In 1980, Celanese reported that 500 to 900 gallons of methyl alcohol were discharged to

  the Passaic River from the property. In 1981, Celanese reported that approximately 14,000 gallons

  of cooling water containing 20 to 30 ppm of chromate were spilled, and approximately 2,000

  gallons entered Plum Creek. On July 19, 1984, a broken sewer line on the property caused a

  discharge of approximately 5 to 10 pounds of formaldehyde. In 1992, a pipe leak caused a release

  of butyl acrylate into the Passaic River from the property. In addition to wastewater from its

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  manufacturing operations, Celanese discharged sanitary wastewater, noncontact cooling water,

  wastewaters from the stripping of exhaust gas from scrubbers, and stormwater collected in diked

  and paved areas. None of the property’s wastewater was treated prior to the discharge to the PVSC

  sanitary sewer. In August 1975, Celanese reported trace metals including copper, lead, and

  mercury in effluent from the property. There are three distinct areas of groundwater flow at the

  property, one of which flows towards Plum Creek and another that flows towards the Passaic

  River. The property is subject to regular flooding caused by overflow of the Passaic River, and

  stormwater runoff from the property flows to the Passaic River and Plum Creek. Instances of

  runoff contamination are numerous. As just a few examples: Around 1970 to 1971, approximately

  10,000 gallons of ethylene glycol discharged to the ground from pipes between two pipes. On

  February 17, 1982, 300 gallons of acetic acid discharged to the ground through a leaking heat

  exchange valve in the diked tank farm located north of the warehouse. On March 29, 1984, 300

  gallons of No. 6 fuel oil spilled on the property when a tank was overfilled in the diked tank area

  of the east farm. On October 19, 1984, a tank overflowed and discharged 7,600 gallons of

  formaldehyde solution to the ground at the property. In 1994, a leaking flange on a pier line valve

  resulted in approximately 187 gallons of acetic acid and water spilling to the ground. Celanese is

  liable as an owner and/or operator at the time of disposal of hazardous substances. Releases of

  hazardous substances including PAHs from the property have contaminated and continue to

  contaminate the sediments in the Lower Passaic River, including OU2, and must be removed from

  the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2)

  and/or 107(a)(3) and CERCLA § 113, and subject to the contribution release described in

  paragraph 44 above, Celanese is therefore liable for the costs of response resulting from the release

  of hazardous substances from the Facility, including the costs of removing and/or capping PAHs

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  and other hazardous substances it disposed of that have contaminated and continue to contaminate

  the river, including but not limited to dioxins and dioxin-associated compounds.

         243.    Defendant Eden Wood Corporation (“Eden Wood”) and its predecessors owned

  and operated a property located at 1 Ackerman Avenue in Clifton, New Jersey from 1930 to late

  1986. The property is bordered on the east by the Passaic River. This property is part of the

  Facility. Eden Wood and its predecessors began operations at the property as a one-truck scrap

  paper business. Eden Wood and its predecessors manufactured container board, box board, and

  roofing felt and shingles. By 1978, operations had an estimated annual capacity of approximately

  82,500 tons of product. COCs stored, used, and/or produced at the property included PAHs and

  PCBs. NJDEP reports that the soil in the drum storage area on the property is contaminated with

  lead, copper, and mercury; that the soil in the transformer area on the property is contaminated

  with PCBs; and that soil at other areas of the property is contaminated with fuel oil and petroleum

  hydrocarbons. There are documented releases of hazardous substances from the property to the

  Passaic River. As examples: According to an NJDOH Field Information Report from 1971, a 12-

  inch pipe of unknown origin was discharging from the property to the Passaic River. According

  to a similar report in 1972, a 10-inch pipe was discharging from the property via the bulkhead to

  the Passaic River. Historical PVSC documents reveal that oily industrial wastes and paper pulp

  wastes discharged from the property to the Passaic River on numerous occasions via the storm and

  sanitary sewers, including the following: In 1926, the property was polluting the Passaic River by

  bypassing the Ackerman Avenue sewer and discharging directly to the river; in 1937, it was

  reported that an Eden Wood predecessor was dumping paper pulp rags on the Passaic River bank

  for years; in 1947, PVSC reported that an Eden Wood predecessor was discharging industrial waste

  to the river through a partially opened valve; in 1956, an oil slick flowed to the Passaic River via

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  a 14-inch pipe from the property because a wooden wedge was placed in the flap valve to keep it

  open; and in 1969, a 20-inch steel pipeline at the property allowed industrial waste to reach a

  nearby catch basin prior to releasing into the Passaic River. Finally, the property is elevated on

  the Dundee Canal side, and thus, stormwater runoff is known to release into the Passaic River and

  the Dundee Canal. Eden Wood is liable as an owner and/or operator at the time of disposal of

  hazardous substances. Releases of hazardous substances including PAHs from the property have

  contaminated and continue to contaminate the sediments in the Lower Passaic River, including

  OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

  Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Eden Wood is therefore liable

  for the costs of response resulting from the release of hazardous substances from the Facility,

  including the costs of removing and/or capping PAHs and other hazardous substances it disposed

  of that have contaminated and continue to contaminate the river, including but not limited to PCBs,

  mercury, copper, and lead.

         244.    Defendant The Okonite Company, Inc. (“Okonite”) operated a property located

  at Block 1076, Canal and Jefferson Streets in Passaic City, New Jersey. This property is part of

  the Facility. At the property, Okonite manufactured insulated electrical wires and cables, as well

  as electrical and splicing tape for at least 14 years. Prior to 1983, the property utilized two tanks

  (1,500 gallons and 2,500 gallons) to store waste degreasing solvents and waste drawing oils. As

  of 1985, the facility was conducting a distillation operation for trichloroethylene recovery purposes

  after the two tanks were decommissioned in 1983. NJDEP documents from 1999 note that soils

  located on the property were visibly contaminated with petroleum hydrocarbon and required

  excavation. In 1992, sediment samples detected the soil was contaminated with copper, lead, zinc,

  and mercury. In 2001 and 2004, Okonite reported that site soil samples were contaminated with

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  dioxin-associated compounds.      Groundwater contamination at the property includes dioxin-

  associated compounds. There are documented releases of hazardous substances from the property

  to the Passaic River. As one example, in 1973 to 1974, the PVSC reported on the discharge of

  “polluting” boiler blowdown from the property. The company was directed to halt the pollution

  and discharge the boiler blowdown to the sanitary sewer. Okonite is liable as an owner and/or

  operator at the time of disposal of hazardous substances. Releases of hazardous substances including

  PAHs from the property have contaminated and continue to contaminate the sediments in the

  Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped as a

  result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA

  § 113, Okonite is therefore liable for the costs of response resulting from the release of hazardous

  substances from the Facility, including the costs of removing and/or capping PAHs and other

  hazardous substances it disposed of that have contaminated and continue to contaminate the river,

  including but not limited to dioxin-associated compounds, PCBs, mercury, copper, and lead.

         H.        Lead

         245.      OxyChem seeks to recover costs, contribution, and a declaratory judgment against

  the following covered parties that are responsible for the releases of lead (among other hazardous

  substances) that have contaminated and continue to contaminate the sediments of the Lower

  Passaic River.

         246.      Defendant Legacy Vulcan, LLC (f/k/a Vulcan Materials Company; f/k/a

  Kolker Chemical Corporation) (“Vulcan”) operated at a property of approximately 9.5 acres of

  waterfront land located at 600 Doremus Avenue in Newark, New Jersey. This property is part of

  the Facility. From 1952 until 1975, Vulcan used the property for chemical manufacturing

  operations.   On information and belief, the following hazardous substances were used or

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  manufactured at the property by Vulcan: anhydrous flake caustic soda and solid caustic soda,

  benzyl benzoate, butyl benzoate, carbon tetrachloride, chlorine, chloroform, cresyl diphenyl

  phosphate, DDT, dibutyl phthalate, dimethyl phthalate, hexachlorocyclohexane, hydrogen,

  hydrogen chloride, hydrochloric acid, iron, isophthalic acid, lead, methyl bromide, methyl

  chloride,   methylene    chloride,   organic   chemicals,    organochlorine,    organophosphorus,

  pentachlorophenol (a compound associated with dioxins), phthalic anhydride, plasticizers, sodium

  hypochlorite, tetraphthalic acid, tin, tricresyl phosphate, and zinc chloride. Testing of site media

  indicates the property was heavily contaminated with numerous hazardous substances including

  PCBs, mercury, lead, copper, and PAHs. Site soil is also contaminated with pentaclorophenol and

  other hazardous substances associated with the formation of dioxins. On information and belief,

  in 1972, Vulcan discharged to the Passaic River 700 to 800 pounds per day of chlorinated

  hydrocarbons, 10 pounds per day of lead, 250 pounds per day of zinc, and 5,800 to 66,000 pounds

  per day of total suspended solids. During September and October 1973, Vulcan discharged to the

  Passaic River up to 1,090 pounds per day of chlorinated hydrocarbons, 6.9 pounds per day of lead,

  and 48 pounds per day of zinc. Process wastes generated at the property were discharged directly

  to the Passaic River at a reported rate of approximately 14.4 million gallons per day through a

  single discharge pipe in 1971. September and October 1973 sampling reports of plant effluent to

  the Passaic River indicate the wastewater contained up to 1,090 pounds per day of chlorinated

  organics, up to 48 pounds per day of zinc, and up to 7 pounds per day of lead. In 1969, Vulcan

  discharged process waters, noncontact cooling water, and condensate from property operations to

  the Lower Passaic River through a 36-inch outfall pipe at the property. Prior to 1970, chlorine

  streams that could not be sold were absorbed in water, neutralized with caustic, and discharged to

  the property’s sewer. In addition, weak caustic streams were washed to the private sewer, which

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  ultimately discharged to the Lower Passaic River. Additionally, stormwater runoff from the

  property discharged to the Passaic River, including via a storm drain on the southern portion of

  the property, and poor housekeeping practices have been documented at the property related to

  stormwater discharge, including flooding at the property creating small ponds, drums from the

  property floating on Doremus Avenue, and drum storage adjacent to the property’s creek. A

  groundwater discharge route to the Passaic River was also reported in 1981 and was likely

  historically present at the property. Vulcan is liable as an owner and/or operator at the time of

  disposal of hazardous substances. Releases of hazardous substances including lead from the

  property have contaminated and continue to contaminate the sediments in the Lower Passaic River,

  including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

  mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Vulcan

  is therefore liable for the costs of response resulting from the release of hazardous substances from

  the Facility, including the costs of removing and/or capping lead and other hazardous substances

  it disposed of that have contaminated and continue to contaminate the river, including but not

  limited to dioxins, PCBs, DDT, mercury, PAHs, and copper.

         247.    From approximately 1970 until 1992, Defendant Quality Carriers, Inc. (a/k/a/

  Quality Distribution, Inc., f/k/a Chemical Leaman Tank Lines, Inc.) (“Quality Distribution”)

  owned and operated a truck washing facility located at 80 Doremus Avenue, Newark, New Jersey.

  This property is part of the Facility. From approximately 1993 to at least 1999, Defendant Quala

  Systems, Inc. (“Quala”) operated the truck washing facility at that property.          Both Quality

  Distribution’s and Quala’s truck washing operations involved detergent, caustic wash, steam, and

  water flush. Wastewater from the truck washing operations flowed into area floor drains, which prior

  to 1993, were discharged directly to the municipal sewer system and, after 1993, were discharged to

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  a wastewater treatment system. Soil samples from the property indicate the presence of hazardous

  substances including benzene, phenol, copper, zinc, PCBs, and lead. Lead has been identified in the

  site soil at up to 2,060 ppm. The property has numerous discharge pathways to the Passaic River,

  including storm drains, process sewer lines, and surface runoff. Sediment core samples from a site

  slightly downriver from the stormwater outfall of the property show the presence of, among other

  hazardous substances, PCBs, copper, zinc, and lead. Between 1986 and 1997, several violations of

  hazardous waste management regulations at the property were documented. Quality Distribution and

  Quala are liable as owners and/or operators at the time of disposal of hazardous substances. Releases

  of hazardous substances including lead from the property have contaminated and continue to

  contaminate the sediments in the Lower Passaic River, including OU2, and must be removed from

  the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2)

  and/or 107(a)(3) and CERCLA § 113, and subject to the contribution release described in

  paragraph 44 above, Quality Distribution and Quala are therefore liable for the costs of response

  resulting from the release of hazardous substances from the Facility, including the costs of

  removing and/or capping lead and other hazardous substances they disposed of that have

  contaminated and continue to contaminate the river, including but not limited to DDT, PCBs,

  copper, mercury, and PAHs.

         248.    Defendant Stanley Black & Decker Inc. (f/k/a/ The Stanley Works) (“Stanley”)

  operated at a property located at 140 Chapel Street, Newark, New Jersey from 1875 to 1985, where

  it manufactured hand tools. This property is part of the Facility. Its operations included forging,

  machining, grounding, heat treating, painting, polishing, assembling, and shipping of hand-striking

  tools, such as hammers and bars. COCs stored, used, and/or produced at the property included

  quench oil (which is a source of PAHs), transformer oil, and No. 2 fuel oil (which is also a source

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  of PAHs). Site soil contamination includes 4,4-DDT, 4,4-DDE, PAHs, PCBs, copper, lead, and

  mercury. Site groundwater contamination at the property includes dioxin-associated compounds,

  DDT, PAHs, PCBs, copper, lead, and mercury. From 1875 to 1924, the combined sanitary and

  storm sewers in the area discharged directly to the Passaic River. From 1924 through the 1970s,

  stormwater, industrial wastewater, and sanitary wastewater generated at the property were

  discharged to the PVSC sanitary sewer. During wet weather, those waters were discharged directly

  to the Passaic River. Stanley’s PVSC sewer connection application indicates that the property

  discharged 23,103,888 gallons of industrial and domestic wastewater to the PVSC sanitary sewer

  in just 1980 alone. Furthermore, the property is within a flood hazard area, and floodwaters likely

  transported hazardous substances such as No. 2 fuel oil, quench oil, and transformer oil that were

  used or stored at the property to the Passaic River. Stanley is liable as an owner and/or operator at

  the time of disposal of hazardous substances. Releases of hazardous substances including lead from

  the property have contaminated and continue to contaminate the sediments in the Lower Passaic

  River, including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

  mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and

  subject to the contribution release described in paragraph 44 above, Stanley is therefore liable for

  the costs of response resulting from the release of hazardous substances from the Facility,

  including the costs of removing and/or capping lead and other hazardous substances it disposed of

  that have contaminated and continue to contaminate the river, including but not limited to PCBs,

  copper, and PAHs.

         249.    Defendant Revere Smelting & Refining Corporation (“Revere”) operated at a

  property located at 387 Avenue P, Newark, New Jersey from 1957 to 1972. This property is part

  of the Facility. At the property, Revere operated a lead and antimony recovery and smelting plant.

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  Lead and antimony were reclaimed from various types of batteries. Lead scraps were melted in a

  furnace with acid waste solids and air scrubber overflow. The battery dismantling process is

  associated with mercury and included neutralizing battery acid with sodium hydroxide in tanks.

  COCs stored, used, and/or produced at the property included lead and copper. A 1971 NJDOH

  wastewater report indicated lead in the effluent from furnace cooling water.              Site soil

  contamination includes lead, and site wastewater contamination also includes lead. Industrial acid

  waste from lead battery dismantling operations was directly discharged through a 10-inch concrete

  outfall to Plum Creek. Multiple 1970 stream pollution report violations indicate “dark gray”

  industrial acid waste discharged to Plum Creek (a tributary of the Passaic River). Process

  wastewater from the battery dismantling operations was either directly discharged to Plum Creek

  or was discharged with waste from air scrubbers to an outside holding lagoon. The property is

  near a flood-prone area, and documents indicate that flood waters would have discharged to Plum

  Creek. The process wastewater that was discharged in waste lagoons or on the ground surface

  would have discharged to Plum Creek during flooding events. And on information and belief, due

  to the proximity of the property to Plum Creek, groundwater likely migrated to the creek, which

  ultimately discharged to the Passaic River. Revere is liable as an owner and/or operator at the time

  of disposal of hazardous substances. Releases of hazardous substances including lead from the

  property have contaminated and continue to contaminate the sediments in the Lower Passaic River,

  including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

  mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and

  subject to the contribution release described in paragraph 44 above, Revere is therefore liable for

  the costs of response resulting from the release of hazardous substances from the Facility,



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  including the costs of removing and/or capping lead and other hazardous substances it disposed of

  that have contaminated and continue to contaminate the river, including but not limited to copper.

         250.    Defendant Otis Elevator Company (“Otis”) operated at a property located at 1000

  First Street, Harrison, New Jersey from 1910 to 1980. This property is part of the Facility. Otis

  manufactured various metal products including elevator cabs, doors, airplane engine crankcases,

  and platforms. The manufacturing process generally involved bending, cutting, and stamping

  sheet metal and steel beams. Transformers containing PCB oils and at least one gasoline

  underground storage tank for vehicle fueling were on the property. COCs stored, used, and/or

  produced at the property included copper, lead, mercury, and PCB-containing transformers. Site

  soil contamination includes lead, and site effluent contains copper, lead, and mercury. From 1910

  to 1980, all sanitary and stormwater discharges were released directly to the Passaic River though

  at least 12 outfalls, but potentially as many as 21 outfalls. Floor drains, including those in the paint

  spray booth and at the loading dock, drained through the outfalls. In 1969, the NJDOH sent a

  cease-and-desist letter to Otis, ordering it to stop “discharging industrial waste and other polluting

  matter into the Passaic River.” In January 1970, NJDOH field inspectors reported discharges to

  the Passaic River from a scrap metal storage area on the property. In 1972, Otis was issued a

  notice of violation for discharging boiler blowdown to the Passaic River through five outfalls. And

  in 1978, PVSC reported that lead, copper, and mercury were present in discharges from the

  property. Moreover, upon information and belief, groundwater at the property was hydraulically

  connected and flows towards the Passaic River. Otis is liable as an owner and/or operator at the

  time of disposal of hazardous substances. Releases of hazardous substances including lead from

  the property have contaminated and continue to contaminate the sediments in the Lower Passaic

  River, including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

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  mandated remedy.      Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and

  subject to the contribution release described in paragraph 44 above, Otis is therefore liable for the

  costs of response resulting from the release of hazardous substances from the Facility, including

  the costs of removing and/or capping lead and other hazardous substances it disposed of that have

  contaminated and continue to contaminate the river, including but not limited to mercury and

  copper.

            251.   Defendant Bath Iron Works Corporation (BIW) is the result of three mergers,

  beginning with Congoleum Corp. BWI, through its predecessor Congoleum Corp., operated at a

  property located at 195 Belgrove Drive, Kearny, New Jersey. This property is part of the Facility.

  From the late-1880s to the early- to mid-1970s, Congoleum owned and operated a flooring

  manufacturing facility at the property and manufactured all types of linoleum and/or vinyl

  floorings, wall coverings, and desk tops. The linoleum manufacturing process included mixing a

  cement or binder, filler material, oil, and pigments. The linoleum was “seasoned” in ovens at a

  specific temperature and for a specific duration. From the late 1880s to mid-1980s, Congoleum

  operated a laboratory at the Property. During the early- to mid-1940s (during World War II),

  Congoleum manufactured various products for military use, including tent cloth, aerial torpedo

  parts, grenades, and synthetic leathers. Also during the time Congoleum operated at the property,

  it manufactured adhesives used for flooring, which included lignin and mercury; manufactured

  vinyl asbestos tile; and operated a power plant, which included a steam generator, oil-fueled

  boilers, and a backup electric generator. COCs stored, used, and/or produced at the property

  included lead, mercury, PAHs, and PCBs. Site soil contamination includes hazardous substances,

  such as dioxin-associated compounds, DDT, PAHs, PCBs, copper, lead, and mercury. Site

  groundwater contamination at the Property also includes dioxin-associated compounds, PAHs,

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  PCBs, copper, lead, and mercury. Over the years, there were several documented and potential

  direct discharges from the property to the Passaic River. For example, noncontact cooling water

  discharged via an outfall to the Passaic River, and floor drains in one of the buildings on the

  Property discharged to a sump in the building, which then discharged via a pipe to the river. The

  discharge to the drains included runoff from the machines. In the 1940s through the early 1970s,

  during times of wet weather/sewer system overflow, untreated contact cooling water was

  discharged to the Passaic River. As of 1971, 30-million gallons of wastewater per year were

  discharged to the storm sewer/Passaic River. In 1943, runoff of water used to fight a building fire

  discharged to the Passaic River. The building contained flammable dyes and solvents used to

  produce camouflage mesh cloth. BIW is liable as an owner and/or operator at the time of disposal

  of hazardous substances. Releases of hazardous substances including lead from the property have

  contaminated and continue to contaminate the sediments in the Lower Passaic River, including

  OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

  Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, BIW is therefore liable for

  the costs of response resulting from the release of hazardous substances from the Facility,

  including the costs of removing and/or capping lead and other hazardous substances it disposed of

  that have contaminated and continue to contaminate the river, including but not limited to PCBs,

  mercury, copper, and PAHs.

         252.    Defendant National-Standard LLC (“National-Standard”) operated as Athenia

  Steel Company (“Athenia Steel”) at 714-716 Clifton Avenue, Clifton, New Jersey, which is within

  the Facility. Athenia Steel began operations at the property in 1907 and was acquired by National-

  Standard in 1938. Operations on the property continued until National-Standard stopped operating

  in mid-April 1988, which triggered environmental investigations under the New Jersey ECRA.

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  Athenia Steel manufactured high carbon steel wire and strips from hot-rolled steel. Acid baths

  cleaned the steel stock, and the finished product was coated with petroleum oil. Molten lead was

  used to heat and soften steel stock. Site studies commissioned by National-Standard reported that

  drawing, cutting, heat treating, cleaning, and other operations required or generated a litany of

  contaminants, including 1,1,1-Trichloroethane, hydrochloric acid, lead, liquid nitrogen, sodium

  hydroxide, and sulfuric acid. There are documented discharges of hazardous substances from the

  property to the Passaic River. In the mid-1970s, Athenia Steel built a facility to treat process water

  before it was discharged into the PVSC system; before this, Athenia Steel likely did not treat

  process water before discharging it. Also, from the early 1900s to approximately 1973, the

  property used three onsite cesspools, which received rinse waters from manufacturing lines. The

  property also had a dry well that received surface runoff. Soil contamination included lead, copper,

  cyanide, acetone, and PCBs. Soil located in the cesspools and dry well includes petroleum

  hydrocarbons, copper, and lead. Other soil contamination includes lead, copper, PCBs, volatile

  organic compounds, petroleum hydrocarbons, and pesticides. Groundwater sampling revealed

  numerous contaminants, including di-methyl phthalate, benzene, chloroform, trichloroethene,

  arsenic, copper, lead, and mercury. Historically, spills of hazardous materials were discharged to

  Weasel Brook, a tributary to the Passaic River. Moreover, contaminated groundwater and surface

  runoff flowed into Weasel Brook. National-Standard is liable as an owner and/or operator at the

  time of disposal of hazardous substances. Releases of hazardous substances including lead from

  the National-Standard property have contaminated and continue to contaminate the sediments in

  the Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped

  as a result of EPA’s mandated remedy. Under §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113,

  National-Standard is therefore liable for the costs of response resulting from the release of

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  hazardous substances from the Facility, including the costs of removing and/or capping lead and

  other hazardous substances it disposed of that have contaminated and continue to contaminate the

  river, including but not limited to PCBs, mercury, and PAHs.

         253.    Defendant Covanta Essex Co. (f/k/a American Ref-Fuel Company) (ARC)

  operated at its property located at 66 Blanchard Street, at the bank of the Passaic River, which is

  within the Facility, beginning in October 1990. ARC operated the Essex County Resource

  Recovery Facility (ECRRF), a waste-to-energy plant for refuse collection and incineration. The

  ECRRF recovered ferrous materials from incinerated ash and burned waste to generate energy.

  ARC would service municipalities, transfer stations, haulers, and other companies. Hazardous

  substances stored, used, or produced at the property include acetylene, caustic soda, cobalt, copper,

  diesel fuel, nitric oxide, lime, and sulfuric acid. In 1988, during construction activities, a large

  dewatering pond containing contaminated groundwater was routed via the Central Ditch to

  discharge to the Passaic River. ARC exceeded discharge limits between 1990 and 1993 for

  benzene, lead, methylene chloride, petroleum hydrocarbons, toluene, 1,1,1-trichloroethane, and

  zinc. The property’s groundwater is contaminated with arsenic, lead, benzene, cyanide, and iron.

  There are documented discharges of hazardous substances from the property to the Passaic River.

  Between 1990 and 1994, stormwater and site runoff were routed to three onsite oil/water separators

  before discharging to the property’s Central Ditch and West Ditch, both of which discharge to the

  Passaic River. ARC is liable as an owner and/or operator at the time of disposal of hazardous

  substances. Releases of hazardous substances including lead from the ARC property have

  contaminated and continue to contaminate the sediments in the Lower Passaic River, including

  OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

  Under §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and subject to the contribution release

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  described in paragraph 44 above, ARC is therefore liable for the costs of response resulting from

  the release of hazardous substances from the Facility, including the costs of removing and/or

  capping lead and other hazardous substances it disposed of that have contaminated and continue

  to contaminate the river, including but not limited to dioxin-associated compounds, copper, and

  PAHs.

          254.   Defendant Atlas Refinery, Inc. (a/k/a Atlas Refining, Inc.) (“Atlas Refining”)

  has operated at 142 Lockwood Street, Newark, New Jersey, which is within the Facility, from

  1887 to the present. Atlas Refining’s operations ranged from rendering animal oils in 1887 to

  developing and marketing chemicals, paint oils, and synthetic linseed oils. In the 1920s through

  the 1930s, Atlas Refining increased refinery production. During the 1940s and 1950s, Atlas

  Refining supplied “aircraft carbon removing compound.” Throughout the 1980s and 1990s, Atlas

  Refining generated phenol, formaldehyde, mercury, selenium, and sulfuric acid. In the 1990s,

  Atlas Refining had at least 30 chemicals in its inventory, including acetylene, ammonia, diethyl

  sulfate, ethyl alcohol, fuel oil #6, propane sodium bisulfite, and sulfuric acid. Onsite hazardous-

  material storage tanks held acrylic acid, anhydrous ammonia, sodium bisulfate, sulfuric acid, and

  fuel oil. Many of these hazardous chemicals reached the Passaic River through storm sewers. For

  instance, on June 6, 1972, oil and other industrial material traveled from the Atlas Refining yard

  towards Blanchard Street, entering the storm catch basin and then discharging to the Passaic River.

  Inspectors noted that the “polluting discharge” was due to poor housekeeping.           Numerous

  contaminants, including phenol and formaldehyde, were found in sanitary sewer discharge from

  Atlas Refining. The toxic sewer system discharge continued through the 1970s. “[O]bjectionable

  material” flowed to the Lockwood Street storm sewer (which discharges to the Passaic River via

  the Lockwood Street outfall) “in violation of municipal ordinances.” Further, Atlas Refining had

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  illegal connections to the Lockwood Street storm sewer. City of Newark inspectors identified

  “major spills,” with rain washing the spillage through the Blanchard Street storm sewer, which

  discharges to the Passaic River. The inspectors also identified Atlas Refining’s discharge as a

  “major source of pollutants” that ultimately discharged to the Passaic River. During 1971 and

  1974, Atlas Refining discharged to the sanitary sewer approximately 1.7-million to 2-million

  gallons, with post-treatment effluents including copper; lead; and iron and metal contaminants,

  including arsenic, cyanide, and mercury. In the early 1980s, the City of Newark identified Atlas

  Refining as a “known source of pollutants entering the Lockwood Street storm sewer” with an

  illegal storm sewer connection. Following investigations in 1981, Atlas Refining rerouted the

  discharge. It was only in 1986 that Atlas Refining was granted a discharge permit. From 1986

  through 1990, Atlas Refining continuously discharged excessive petroleum hydrocarbons to the

  sewer system and was issued numerous violations. Atlas Refining is liable as an owner and/or

  operator at the time of disposal of hazardous substances. Releases of hazardous substances

  including lead from the Atlas Refining property have contaminated and continue to contaminate

  the sediments in the Lower Passaic River, including OU2, and must be removed from the riverbed

  and/or capped as a result of EPA’s mandated remedy. Under §§ 107(a)(2) and/or 107(a)(3) and

  CERCLA § 113, Atlas Refining is therefore liable for the costs of response resulting from the

  release of hazardous substances from the Facility, including the costs of removing and/or capping

  lead and other hazardous substances it disposed of that have contaminated and continue to

  contaminate the river, including but not limited to mercury, PAHs, and copper.

         255.    From at least 1872 until 1939, Defendant Everett Smith Group, Ltd. (f/k/a

  Blanchard Bro. & Lane, Eagle Ottawa Leather, Albert Trostel & Sons) (“Everett Smith”)

  operated a leather tanning and finishing facility a quarter-mile from the Passaic River, at 20 Bruen

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  Street, Newark, New Jersey, which is within the Facility. Blanchard Bro. & Lane was acquired

  by Eagle Ottawa Leather, then by Albert Trostel & Sons, and ultimately by Everett Smith in May

  2007. The property was used for storing, boiling, splitting, swelling, drying, pebbling, graining,

  tacking, scouring/mixing/leaching, shaving, buffing, and currying hides. The property had two

  underground naphtha tanks and coal storage houses. In the early 1900s, the leather tanning and

  dyeing industry involved clearing hides with sulfuric acid and bleaching with lead acetate, as well

  as tanning with chromium. Hides also contained arsenic from preservatives. Lead-containing dye

  and aniline dyes were used. Tannery wastewater from Blanchard’s operations contained hazardous

  substances, including chromium, lead, aniline, arsenic, copper, and zinc, which were present in the

  direct and overflow discharges from the property to the Passaic River. For 52 years before PVSC

  was established, the property discharged wastewater directly to the Passaic River. In 1924, after

  this 52-year period, Blanchard discharged wastewater to the Passaic River via combined sewer

  overflows during wet weather until 1939. Everett Smith is liable as an owner and/or operator at

  the time of disposal of hazardous substances. Releases of hazardous substances including lead

  from the Everett Smith property have contaminated and continue to contaminate the sediments in

  the Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped

  as a result of EPA’s mandated remedy. Under §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113,

  Everett Smith is therefore liable for the costs of response resulting from the release of hazardous

  substances from the Facility, including the costs of removing and/or capping lead and other

  hazardous substances it disposed of that have contaminated and continue to contaminate the river,

  including but not limited to copper.

         256.    Since 1930, Defendant Campbell Foundry Company (CFC) has operated three

  properties. First, CFC has operated since 1930 and continues to operate at 800 Bergen Street,

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  Harrison, New Jersey (the “Bergen Street Property”). Second, in 1975, CFC purchased 2

  Worthington Avenue, Harrison, New Jersey (the “Worthington Avenue Property”) and continued

  to operate it until 1992. Third, on information and belief, CFC operated at 1235 Harrison Avenue,

  Kearny, New Jersey (“Shipping Yard Property”) from at least 1981 until 1991. The Bergen Street

  Property, Worthington Avenue Property, and Shipping Yard Property are all within the Facility.

            The Bergen Street Property is located approximately 2,000 feet northwest of the Passaic

             River. There, CFC manufactures manhole covers, storm drain and sewer gratings, and

             other cast-iron products. Metallic cupola dust, generated at the Bergen Street Property,

             contains toxic lead, cadmium, and chrome. In 1982, NJDEP cited CFC for (1) illegally

             operating an offsite waste disposal facility for foundry generated waste, (2) transporting

             hazardous waste without a waste manifest, and (3) failing to submit the required permit

             application for the operation of an offsite disposal area. In 1986, NJDEP cited CFC for

             improper labeling of hazardous waste containers and spilling hazardous waste on the

             ground.   A 1986 NJDEP report noted that hazardous waste generated onsite—

             amounting to 821,680 pounds for that calendar year alone—contained lead, cadmium,

             and chromium. Occupational Health and Safety Administration (OSHA) cited CFC for

             28 violations of workplace safety standards, 22 of which were classified as “serious.”

             Between 1987 and 1995, at least 48 substances were being used at the Bergen Street

             Property, including acetylene, antifreeze, cerium, methylene chloride, phosphoric acid,

             and titanium dioxide.

            The Worthington Avenue Property occupied approximately two acres and was

             connected to the PVSC system before 1942. Since CFC purchased it in 1975, it has

             not operated there. Throughout the 1990s, samples were taken from the Worthington

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             Avenue Property to determine the impact of past manufacturing operations. The

             samples detected arsenic, mercury, lead, benzo(a) anthracene, benzo(b) fluoranthene,

             and copper.

            CFC’s Shipping Yard Property is an illegal landfill. CFC admits that it is being

             operated illegally. It was used for the disposal of waste sand and clay, slag, and cupola

             dust (which contains cadmium and lead). Ten tons of waste per week were disposed

             of at this property. In 1981, NJDEP cited CFC for operating a hazardous waste landfill

             without a permit.

  CFC is liable as an owner and/or operator at the time of disposal of hazardous substances. Releases

  of hazardous substances including lead from the CFC properties have contaminated and continue

  to contaminate the sediments in the Lower Passaic River, including OU2, and must be removed

  from the riverbed and/or capped as a result of EPA’s mandated remedy. Under §§ 107(a)(1) and/or

  107(a)(2) and/or 107(a)(3) and CERCLA § 113, CFC is therefore liable for the costs of response

  resulting from the release of hazardous substances from the Facility, including the costs of

  removing and/or capping lead and other hazardous substances it disposed of that have

  contaminated and continue to contaminate the river, including but not limited to PAHs, PCBs, and

  mercury.

         257.    In December 1976, a predecessor to Defendant Cooper Industries, LLC

  (“Cooper”) acquired J. Wiss & Sons Co. (JWS). On information and belief, Cooper is the

  successor to JWS. In 1848, JWS started manufacturing cutlery; these operations continued at

  successive locations in Newark, New Jersey until 1985. The property addresses are 7 Bank Street

  (1848-1854); 13 Bank Street (beginning in 1854); 26 Bank Street (until 1887); and 33 Littleton

  Avenue (1887-1985), all located in Newark, New Jersey and all of which are within the Facility.

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  JWS forged, fabricated, and finished steel, which involved pickling and plating. This generated

  wastewater containing heavy metals (e.g., cadmium, chromium, copper, lead, and arsenic), which

  was discharged either directly to the Passaic River or via overflows within the PVSC’s CSO

  system. These discharges occurred for the entire 136 years of operations on the properties and, for

  all but 10 years, were not covered by a federal discharge permit. Additionally, documents from

  1978 indicate that there was no pretreatment of wastewater prior to discharge. Cooper is liable as

  an owner or operator at the time of disposal of hazardous substances. Releases of hazardous

  substances including lead from the Cooper property have contaminated and continue to

  contaminate the sediments in the Lower Passaic River, including OU2, and must be removed from

  the riverbed and/or capped as a result of EPA’s mandated remedy. Under §§ 107(a)(2) and/or

  107(a)(3) and CERCLA § 113, Cooper is therefore liable for the costs of response resulting from

  the release of hazardous substances from the Facility, including the costs of removing and/or

  capping lead and other hazardous substances it disposed of that have contaminated and continue

  to contaminate the river, including but not limited to PCBs, copper, and mercury.

         258.    Defendant Honeywell International Inc. (“Honeywell”), or its predecessors,

  operated at 65 Lodi Street, Passaic, New Jersey, which is within the Facility, from 1899 until 1987.

  Honeywell predecessor General Chemical Company operated at the property and was acquired by

  Honeywell predecessor Allied Chemical in 1920. Allied Chemical used this property as a nitrating

  plant, as a bulk acid distribution facility, and as storage for engineered plastics and pellets. An

  incinerator was also located at the rear of the property, approximately 30 feet from the Passaic

  River. An onsite disposal pit, located approximately 60 feet from the Passaic River, was used to

  wash drums. Soil samples taken from around underground fuel storage tanks revealed elevated

  levels of TPH, benzene, toluene, and xylene. Soil sampling in areas near the tank wash area

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  revealed TPH, zinc, and lead that exceeded ECRA guidelines. Soil from other areas of the property

  included contaminants such as TPH, lead, cadmium, arsenic, selenium, zinc, copper, and mercury.

  In 1991, groundwater sampling indicated that volatile organic compounds (trans1,2dichloroethene

  and trichloroethene), chromium, and lead were present that exceeded ECRA standards. Around

  1994, the property was capped utilizing asphalt and stone layers, with certain areas capped with

  permeable membranes. The property was issued a Declaration of Environmental Restriction,

  which stated that soil on the property still contained contaminants. Hazardous substances found

  in onsite soils and groundwater include benzene, toluene, zinc, lead, and arsenic. These hazardous

  substances were released into the Passaic River. Floor drains located throughout the property

  discharged directly to the Passaic River. Further, there was a release from the subsurface storage

  tanks located at the waterfront of the Passaic River. Therefore, hazardous substances were also

  found in Passaic River sediment adjacent to the property. Honeywell is liable as an owner and/or

  operator at the time of disposal of hazardous substances. Releases of hazardous substances

  including lead from the Honeywell property have contaminated and continue to contaminate the

  sediments in the Lower Passaic River, including OU2, and must be removed from the riverbed

  and/or capped as a result of EPA’s mandated remedy. Under §§ 107(a)(2) and/or 107(a)(3) and

  CERCLA § 113, and subject to the contribution release described in paragraph 44 above,

  Honeywell is therefore liable for the costs of response resulting from the release of hazardous

  substances from the Facility, including the costs of removing and/or capping lead and other

  hazardous substances it disposed of that have contaminated and continue to contaminate the river,

  including but not limited to mercury, copper, and arsenic.

         259.    Defendant Atlantic Richfield Company (ARCO) owned and operated a bulk

  petroleum storage facility at the 86 Doremus Avenue in Newark (the “Getty Newark Terminal

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  Site”), located at River Mile 1.5 on the waterfront to the Passaic River, which is within the Facility,

  from 1930 to 1950. From 1985 until at least 2014, Defendant LeeMilt’s Petroleum, Inc. (f/k/a

  Power Test Corporation) (“LeeMilt”) owned and operated a bulk petroleum storage facility at

  the Getty Newark Terminal Site. From 1930 to 2014, hazardous substances emanating from the

  Getty Newark Terminal Site were disposed of or otherwise came to be located in the Passaic River.

  Upon information and belief, during ARCO’s ownership and operation of the Getty Newark

  Terminal Site, ARCO disposed of untreated wastewater to the PVSC, where numerous

  documented storm events and line breaks resulted in discharges to the Passaic River. Upon

  information and belief, during LeeMilt’s ownership and operation of the Getty Newark Terminal

  Site, LeeMilt disposed of effluent from an onsite oil-water separator into the Passaic River. Until

  at least 1993, LeeMilt disposed of untreated wastewater into the PVSC, where numerous

  documented storm events and line breaks resulted in discharges to the Passaic River. Stormwater

  flowed through contaminated areas on the Getty Newark Terminal Site and discharged to the

  Passaic River via runoff during wet weather. ARCO and LeeMilt are liable as owners and/or

  operators at the time of disposal of hazardous substances. Releases of hazardous substances

  including lead from the Getty Newark Terminal Site have contaminated and continue to

  contaminate the sediments in the Lower Passaic River, including OU2, and must be removed from

  the riverbed and/or capped as a result of EPA’s mandated remedy. Under §§ 107(a)(2) and/or

  107(a)(3) and CERCLA § 113 , and subject to the contribution release described in paragraph 44

  above, ARCO and LeeMilt are therefore liable for the costs of response resulting from the release

  of hazardous substances from the Facility, including the costs of removing and/or capping lead

  and other hazardous substances it disposed of that have contaminated and continue to contaminate

  the river, including but not limited to PCBs, copper, and PAHs.

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         260.    D & J Trucking Property. For several years in the 1970s, Defendant Benjamin

  Moore & Co. (“Benjamin Moore”) and Defendant The Sherwin-Williams Company

  (“Sherwin Williams”) arranged for the disposal of hazardous substances at 310-336 Avenue P,

  Newark, New Jersey by D & J Trucking, which resulted in contamination of the Lower Passaic

  River. This property is part of the Facility. Starting in 1974, D & J Trucking purchased the

  property and began using it to dump hazardous substances and other compounds illegally,

  including but not limited to, liquid waste (such as paint waste, tank washings, and still bottoms)

  from the Benjamin Moore and Sherwin Williams operations at 134 Lister Avenue, Newark, New

  Jersey and 60 Lister Avenue, Newark, New Jersey, respectively. During D & J Trucking’s

  operation of the property, it dumped liquid waste (including paint pigments) from vacuum trucks

  and drums directly onto the property and into unlined pits on the property. In 1978, NJDEP

  revoked D & J Trucking’s Solid Waste Administration registration because of the “willful,

  negligent, and illegal discharges” on the property. Liquid waste from the property discharged to

  Plum Creek, a tributary to the Passaic River, which is part of the Facility, and eventually came to

  be located in the Passaic River. Copper, mercury, lead, PAHs, PCBs, dieldrin, DDx, and dioxin-

  associated compounds have been detected in soils on the property. Stormwater flowed through

  contaminated areas on the property and discharged to Plum Creek via runoff during wet weather.

  Benjamin Moore and Sherwin Williams are liable as transporters and/or arrangers of hazardous

  substances at this property. Disposals of hazardous substances including lead from the property

  have contaminated and continue to contaminate the sediments in the Lower Passaic River,

  including OU2, and must be removed from the riverbed and/or capped as a result of EPA’s

  mandated remedy. Under CERCLA § 107(a)(3) and CERCLA § 113, Benjamin Moore and

  Sherwin Williams are therefore liable for the costs of response resulting from the release of

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  hazardous substances from the Facility, including the costs of removing and/or capping lead and

  other hazardous substances it disposed of that have contaminated and continue to contaminate the

  river, including but not limited to copper, mercury, PAHs, PCBs, and DDx.

         261.    Defendant Canning Gumm LLC (“Canning Gumm”) or its predecessors

  operated at a property located at 538 Forest Street, Kearny, New Jersey, which is within the

  Facility, beginning in 1938 or 1939 and continuing through 2000. In 1952, a Canning Gumm

  predecessor manufactured “Clepo” compounds at the property. In correspondence from 1962, the

  property was used for compounding commercial detergents.               By 1972, Canning Gumm

  manufactured cleaners, acid salts, abrasive tumbling compounds, and paint strippers at the

  property. At that time, the property produced “blended specialty products for metal finishing

  processes” and operated a small laboratory for metal finishing procedures. In 1981, Canning

  Gumm manufactured soap compounds and other chemicals for metal plating, painting, or other

  finishing. In 1982, operations at the property included the blending of powdered and liquid raw

  materials that were purchased from outside vendors. In 1987, the company manufactured alkaline

  cleaners for the metal finishing industry. In 1991, Canning Gumm focused on manufacturing

  products for the metal finishing industry, including alkaline cleaners, powder and liquid acids,

  mass finishing compounds, and phosphating compounds. The company manufactured a sulfuric

  acid-based brass brightener that was used in the electroplating and metal finishing industry. The

  property stored, utilized, and generated lead, copper, mercury, and PAHs. Analysis of the

  wastewater discharge from the property found the following compounds over allowable limits:

  lead, copper, nickel, and total cyanide. Soil at the property is contaminated with chloride, toluene,

  volatile organic compounds, and xylenes.              Groundwater contamination include 1,1,1-

  trichloroethane, 1,1-dichloroethane, benzene, methylene chloride, and xylenes. Canning Gumm’s

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  discharge to the CSO system was bypassed to the Passaic River from the beginning of property

  operations until February 28, 1975 (the effective date of PVSC’s NJDPES permit), and such

  releases were not covered by a federal permit. The property’s discharge during this time contained

  lead, cyanide, copper, and nickel. Discharges from this property was released to the Passaic River

  over a 39-year period without a federal permit. Following the issuance of PVSC’s NJDPES permit

  in 1975, Canning Gumm’s discharges to the CSO system was bypassed to the Passaic River,

  repeatedly violating its discharge permit. Canning Gumm is liable as an owner and/or operator at

  the time of disposal of hazardous substances. Releases of hazardous substances including lead

  from the Canning Gumm property have contaminated and continue to contaminate the sediments

  in the Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped

  as a result of EPA’s mandated remedy. Under §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113,

  Canning Gumm is therefore liable for the costs of response resulting from the release of hazardous

  substances from the Facility, including the costs of removing and/or capping lead and other

  hazardous substances it disposed of that have contaminated and continue to contaminate the river,

  including but not limited to mercury, copper, and PAHs.

         262.    During the 1800s through 1949, the predecessor to Defendant Coats & Clark, Inc.

  (“Coats”), The Clark Thread Co., operated several thread mills at three properties, all of which

  are within the Facility: (1) 260 Ogden Street, Newark, New Jersey (the “Newark Property”); (2)

  900 Passaic Avenue, East Newark, New Jersey (the “East Newark Property”); and (3) 735 Broad

  Street, Bloomfield, New Jersey (the “Bloomfield Property”). There are documented discharges of

  hazardous substances from each of these properties to the Passaic River.

            Clark Thread’s operations at the Bloomfield Property began in 1922 and ended in 1949.

             Clark Thread produced cotton thread. The Bloomfield Property was used to bleach and

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           mercerize thread. Raw materials used in Clark Thread’s Bloomfield operations include

           sodium hydroxide, sulfuric acid, sodium hypochlorite (which produces toxic

           chlorinated organic byproducts), and dyes. At the Bloomfield Property, sulfuric acid

           and sodium hypochlorite were stored in aboveground storage tanks. Clark Thread’s

           operations, which involved chlorinated organic byproducts, including sodium

           hypochlorite, likely were a source of dioxins in the Passaic River. Clark Thread’s

           Bloomfield Property has been the subject of two Memoranda of Agreement (MOA)

           between NJDEP and the property owners/operators, with the most recent executed on

           July 17, 2001 with SGA and Clark Thread. The property has been under investigation

           by various consultants since the 1980s with 41 areas of concern identified.

           Groundwater at the Bloomfield Property is contaminated with lead, PCE, and

           chloroform. The Bloomfield Property discharged cooling water and/or boiler

           blowdown water to the banks of the Third River via a pipe.         Copper, lead, and

           chlordane were detected in sediment samples taken at (1) the spillway, (2) just below

           the former discharge pipe outfall, and (3) 10 feet below the downgradient edge of the

           property.

          Clark Thread began operating at the Newark Property before 1872 and stopped

           operations there in 1947. Clark Thread also operated at the East Newark Property

           starting in 1875 until 1931. The Newark and East Newark Properties’ operations

           included bleaching, dyeing, milling, and finishing. Dye baths contain toxic materials

           and heavy metals and are often responsible for a high percentage of total contaminants

           in a property’s effluent. Further, the higher the textile production, the greater the

           resulting waste.   Clark Thread has been the largest and most important thread

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             manufacturer in the United States. Hazardous substances were used at the Newark and

             East Newark Properties and discharged directly to the Passaic River prior to 1926 and

             subsequently via overflows within the PVSC’s CSO system. Both the Newark and East

             Newark Properties are adjacent to the Passaic River, and both have documented direct

             releases of dye known to be contaminated and are being investigated and remediated

             by the two property operators. For at least 54 years between starting operations in 1872

             and the connection of the Newark Property to the PVSC system in or around 1926,

             Clark Thread’s Newark Property discharged industrial process, sanitary, and storm

             water directly to the Passaic River. In February 1926, a PVSC inspection identified

             Clark Thread’s Newark and East Newark Properties as polluting facilities to the Passaic

             River even after 1926.

  Coats is liable as an owner and/or operator at the time of disposal of hazardous substances.

  Releases of hazardous substances including lead from the Coats property have contaminated and

  continue to contaminate the sediments in the Lower Passaic River, including OU2, and must be

  removed from the riverbed and/or capped as a result of EPA’s mandated remedy.               Under

  §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and subject to the contribution release

  described in paragraph 44 above, Coats is therefore liable for the costs of response resulting from

  the release of hazardous substances from the Facility, including the costs of removing and/or

  capping lead and other hazardous substances it disposed of that have contaminated and continue

  to contaminate the river, including but not limited to dioxins, dioxin-associated compounds,

  mercury, and copper.

         263.    Defendant Benjamin Moore & Co. (“Benjamin Moore”) has owned and operated

  a paint and resin manufacturing facility at 134 Lister Avenue, located at River Mile 3.4 on the

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  waterfront of the Passaic, which is within the Facility, since 1925. During Benjamin Moore’s

  ownership of the property, hazardous substances were disposed of or otherwise came to be located

  in the Passaic River. Upon information and belief, during Benjamin Moore’s ownership and

  operation of the property, Benjamin Moore disposed of process wastewater, tank cleaning sludge,

  and other materials containing hazardous substances into the Passaic River. As of 1967, the

  sanitary sewer near the property had corroded and was affecting the adjacent storm sewer, which

  discharged directly to the Passaic River through the Lockwood storm sewer outfall, located on the

  Benjamin Moore property. As of 1971, Benjamin Moore’s onsite storm sewer system disposed of

  tank cleaning sludge, wash water, and caustic solutions—all directly into the Passaic River. As of

  1973, Benjamin Moore disposed of process waste materials via two outfalls that discharged

  directly to the Passaic River. As of 1987, Benjamin Moore disposed of collected contaminated

  stormwater, boiler blowdown, and compressor blowdown into the Passaic River. Mercury, copper,

  lead, PAHs, PCBs, and dioxin-associated compounds have been detected in soils on the property.

  Stormwater flowed through contaminated areas on the property and discharged to the Passaic River

  via runoff during wet weather. EPA issued Benjamin Moore a General Notice Letter in 2003 and

  a Notice of Potential Responsibility under CERCLA for the property in 2016. Benjamin Moore is

  liable as an owner and/or operator at the time of disposal of hazardous substances. Releases of

  hazardous substances including lead from the property have contaminated and continue to

  contaminate the sediments in the Lower Passaic River, including OU2, and must be removed from

  the riverbed and/or capped as a result of EPA’s mandated remedy. Under §§ 107(a)(2) and/or

  107(a)(3) and CERCLA § 113, Benjamin Moore is therefore liable for the costs of response

  resulting from the release of hazardous substances from the Facility, including the costs of

  removing and/or capping lead and other hazardous substances it disposed of that have

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  contaminated and continue to contaminate the river, including but not limited to mercury, copper,

  PAHs, and PCBs.

         264.    Defendant EnPro Industries, Inc. (“EnPro”), through its predecessor Crucible

  Steel (“Crucible”), operated at a property, abutting the Passaic, located at 1000 South Fourth

  Street, Harrison, New Jersey, which is within the Facility. From 1900 to 1947, Crucible was

  involved in steel manufacturing operations, including the operation of a steel rolling mill on the

  property. As part of the steel manufacturing process, molten lead was used in quenching baths.

  In 1947, Crucible began subdividing the Property and selling and leasing portions to other entities.

  Defendant Teval Corporation (“Teval”), formerly named Guyon General Piping, Inc.

  (“Guyon”), purchased part of Crucible’s property in 1947 and operated as a lessee and/or

  owner/operator at 900-1000 South Fourth Street, Harrison, New Jersey, which is also within the

  Facility. Guyon operated a pipe fabrication facility on parts of the original Crucible property. In

  1988, the property became vacant. COCs stored, used, and/or produced that the property included

  mercury, copper, lead, and sulfuric acid. Site soil contamination includes PAHs, dioxin-associated

  compounds, dieldrin, PCBs, copper, lead, and mercury. Site groundwater contamination includes

  PAHs, dioxin-associated compounds, dieldrin, PCBs, copper, lead, and mercury. There are

  documented discharges of hazardous substances from the property to the Passaic River. Before

  1969, Crucible regularly spread solutions containing hazardous substances onto its grounds to

  guard against dust. Because the property is close to the Passaic River, runoff from flooding and

  storm events allowed for hazardous substances to be discharged to the Passaic River. Before 1970,

  Crucible discharged wastewater and acidic effluent to the Passaic River without treatment through

  the sanitary sewer. After 1970, Crucible installed a rudimentary wastewater treatment plant, which

  did not fully treat wastewater prior to its discharge to the Passaic River. In 1970, PVSC filed a

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  complaint against Crucible alleging that “for some time past,” Crucible discharged polluting

  material to the Passaic River through a culvert that it owned, violating New Jersey law. During

  this 1970 lawsuit, the court signed an order naming Guyon as an additional party. The property

  also had a central sewer network, which discharged directly to the Passaic River. In 1990,

  consultants for Guyon reported that sanitary waste generated at the property discharged to the

  PVSC wastewater treatment plant. Testing conducted by an environmental health consultant

  indicated that Guyon was discharging oil to the Passaic River. Groundwater at the property was

  hydraulically connected to the Passaic River, so that PAHs, mercury, PCBs, dieldrin, copper, and

  lead contained in the property’s soil would discharge to the Passaic River.   Enpro and Teval are

  liable as owners and/or operators at the time of disposal of hazardous substances. Releases of

  hazardous substances including lead (as to Enpro) and PAHs (as to Teval) from the property have

  contaminated and continue to contaminate the sediments in the Lower Passaic River, including

  OU2, and must be removed from the riverbed and/or capped as a result of EPA’s mandated remedy.

  Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, and subject to the contribution

  release described in paragraph 44 above, Enpro and Teval are therefore liable for the costs of

  response resulting from the release of hazardous substances from the Facility, including the costs

  of removing and/or capping lead, PAHs, and other hazardous substances they disposed of that have

  contaminated and continue to contaminate the river, including but not limited to mercury, PCBs,

  and copper (as to EnPro) and PCBs, mercury, copper, and lead (as to Teval).

         265.    In 1957, Defendant Croda, Inc. (“Croda”) purchased the “lanolin business” of

  Hummel Chemical Company and renamed that business Hummel Lanolin Corporation.

  Croda/Hummel Lanolin began operating as a tenant at 185 Foundry Street (Block 5005 – Lot 21),

  Newark, New Jersey in the late-1950s and ceased operations at that property as of 1987. This

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  property is a part of the Facility. The property contained Building #39, which was the main

  Hummel Lanolin facility, and the facility was expanded in 1964 with the addition of a warehouse

  building.   At the property, Hummel Lanolin produced lanolin and lanolin derivatives.         Its

  operations utilized several raw materials to produce its finished products, including alcohols,

  hydrogen peroxide, lanolin, and soda ash. Facility operations also included the use of “drying”

  and “bleaching” tanks. The soap stock and wash waters generated at the property were neutralized

  with either sulfuric acid or hydrochloric acid to free water insoluble fatty acids. The recovered

  fatty acids would surface to the top of the mixture, and the remaining acid solution would be

  pumped to a tank for neutralization with either caustic soda or soda ash before discharge to the

  PVSC system. The property was reported to generate hazardous waste that included, but is not

  limited to, chemical process liquids, chemical process solids, waste materials classified as

  “characteristic of ignitability,” and toluene. In 1979 and 1980, PVSC investigations identified

  Hummel Lanolin as having the following metal contaminants in its process waste and noncontact

  cooling water: arsenic, cadmium, chromium, copper, lead, mercury, nickel, and zinc. In September

  1986, the property became subject to ECRA regulation (now an Industrial Site Recovery Act

  regulation), due to a pending sale of the property. Samplings of property soils and sewer system

  sediments were conducted in the course of the ECRA remediation between 1986 and 1988. Many

  contaminants were found and believed to be associated with Hummel Lanolin’s operations,

  including copper, lead, total cyanide, cadmium, and DDT. Site soil contamination includes

  benzene, copper, lead, toluene, zinc, and 2-Butanone. There are numerous documented and

  potential discharges from the Property to the Passaic River. As examples: Wastewater discharged

  from the property was carried via combined sewers, which ultimately discharged to the Passaic

  River. In the 1979 and 1980 PVSC investigations, Hummel Lanolin was identified as having

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  copper, lead, and mercury (among other contaminants) in its process waste and noncontact cooling

  water. Moreover, a system of strip drains within the property are tied to the Roanoke Avenue

  CSO, allowing stormwater and/or surface runoff to serve to transport contaminants to the drains

  and ultimately to the Passaic River. Historical core samples taken of sediments in the Passaic

  River in the vicinity of the Roanoke Avenue CSO have served to identify contaminants in those

  sediments that match raw, process, and waste materials known to be associated with Hummel

  Lanolin’s operations. Croda is liable as an owner and/or operator at the time of disposal of hazardous

  substances.   Releases of lead by Croda/Hummel Lanolin have contaminated and continue to

  contaminate the sediments in the Lower Passaic River and must be removed from the riverbed and/or

  capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and

  CERCLA § 113, and subject to the contribution release described in paragraph 44 above, Croda is

  therefore liable for the costs of response resulting from the release of hazardous substances from

  the Facility, including the costs of removing and/or capping lead and other hazardous substances

  they disposed of that have contaminated and continue to contaminate the river, including but not

  limited to mercury, copper, and PAHs.

         266.    Defendant Curtiss-Wright Corporation (“Curtiss-Wright”) owned and operated

  a 160-acre property located at 1 Passaic Street in Wood Ridge, New Jersey, which is within the

  Facility. During World War II, Curtiss-Wright manufactured cyclone engines, and Curtiss-Wright

  continued to do defense-related work until the 1960s. Gas turbine generators were produced

  during the 1970s. COCs stored, used, and/or produced at the property included lead, dioxin-

  associated compounds, PCBs, mercury, copper, and PAHs. Site soil contamination includes lead,

  dioxin-associated compounds, PCBs, mercury, copper, and PAHs. High mercury concentrations

  were found in groundwater wells.        Groundwater contamination also includes lead, dioxin-

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  associated compounds, PCBs, mercury, copper, and PAHs. There are documented discharges of

  hazardous substances from the property to the Passaic River. For example, process wastewater

  from the plant discharged directly to a storm sewer to the Feld’s Brook, a tributary to the Saddle

  River, which in turn is also a tributary to the Passaic River. Mixtures of jet fuel also entered the

  storm sewer and discharged to Feld’s Brook. Between 1945 and 1985, both PVSC and NJDEP

  documented discharges of process-related oils, oil-water mixtures, cutting fluids, pickling liquids,

  sewage, and “colored wastes” from the property to Feld’s Brook and the Saddle River. Accidental

  spills of oil and other substances emanated to a ditch that fed into Feld’s Brook. At the property,

  an underground storage facility housed rusty and deteriorated barrels of toxic waste. On January

  10, 1992, a PCB inspection identified improper storage and documentation.         Curtiss-Wright is

  liable as an owner and/or operator at the time of disposal of hazardous substances. Releases of

  hazardous substances including lead from the Curtiss-Wright property have contaminated and

  continue to contaminate the sediments in the Lower Passaic River, including OU2, and must be

  removed from the riverbed and/or capped as a result of EPA’s mandated remedy.                Under

  §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113, Curtiss-Wright is therefore liable for the costs

  of response resulting from the release of hazardous substances from the Facility, including the

  costs of removing and/or capping lead and other hazardous substances they disposed of that have

  contaminated and continue to contaminate the river, including but not limited to dioxin-associated

  compounds, PCBs, mercury, copper, and PAHs.

         267.    In May 1996, Defendant Darling Ingredients Inc. (f/k/a Darling International,

  Inc.) (“Darling”) acquired Standard Tallow Corp., which from at least 1926, operated on a

  property located at 61 Blanchard Street in Newark, New Jersey, which is within the Facility. On

  information and belief, Darling is the successor to Standard Tallow. At the property, Standard

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  Tallow produced tallow and meat meal by processing fat and bones. COCs stored, used, and/or

  produced at the Property included lead, copper, and PAHs. Wastewater generated at the property

  included lead, copper, and PAHs. There are documented discharges of hazardous substances from

  the property to the Passaic River. For instance, a February 1926 PVSC report documented that the

  property was discharging sanitary wastes and wastes from its rendering kettles—all directly to the

  Passaic River. On September 15, 1969, PVSC notified Standard Tallow that it was violating New

  Jersey and local law: PVSC had traced from the property a “highly polluting” and “turbid, amber-

  brownish liquid” entering the Blanchard Street storm sewer and discharging to the Passaic River.

  The PVSC stated that, “[b]ecause of ‘sloppy housekeeping’ with polluting materials all along your

  yards, it appears that every time a rainfall occurs, this material reaches the ditches, and thence the

  Passaic River[.]” In March 1970, PVSC advised Standard Tallow that it had traced a source of

  “heavy pollution” in the Passaic River to the property, caused by personnel washing down the

  facility yard and processing equipment. In reports from 1971 and 1972, PVSC observed that the

  facility yard was covered with decaying tallow waste products. Leaky condensate steam pipes

  discharged hot water, causing waste materials to flow to the railroad track. Rain washed this waste

  into a storm catch basin on Blanchard Street and to the Passaic River. Darling is liable as an owner

  and/or operator at the time of disposal of hazardous substances. Releases of hazardous substances

  including lead from the Darling property have contaminated and continue to contaminate the

  sediments in the Lower Passaic River, including OU2, and must be removed from the riverbed

  and/or capped as a result of EPA’s mandated remedy. Under §§ 107(a)(2) and/or 107(a)(3) and

  CERCLA § 113, and subject to the contribution release described in paragraph 44 above, Darling

  is therefore liable for the costs of response resulting from the release of hazardous substances from

  the Facility, including the costs of removing and/or capping lead and other hazardous substances

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  they disposed of that have contaminated and continue to contaminate the river, including but not

  limited to copper and PAHs.

         268.    Starting on December 11, 1978, Defendant Textron, Inc. (“Textron”) operated at

  a property located at 400 Doremus Avenue, Newark, New Jersey, which is within the Facility.

  Resins were manufactured at the property since the 1930s. In 1980, Textron reported to PVSC

  that it manufactured and processed alkyd and polyester resins. COCs stored, used, and/or produced

  at the property included dioxin-associated compounds and PAHs. Process wastes, consisting of

  filter cake and press paper, as well as strainer bags, were drummed, held onsite, and shipped to

  another facility on a monthly basis. Bag drainings were recycled or disposed of as bulk liquid

  hazardous waste. A March 1987 ECRA report documents soil and groundwater sampling in 27

  areas of concern, chosen because of visible evidence of spills or discharges of raw materials, fuel

  oil, or finished product. Copper, PCBs, mercury, lead, and PAHs were found in soil and

  groundwater. There are documented discharges of hazardous substances from the property to the

  Passaic River. For example, on September 10, 1979, a tank in the yard overflowed, causing resin

  to spill into a drain and enter the underground flume in the shallow aquifer, ultimately reaching

  the Newark Bay (within the Passaic River study area). The Newark Bay tidally influences the

  Passaic River. A 1987 report showed that there was evidence of surface spills of resin, waste

  material, phthalic anhydride, and fuel oil. Stormwater from storm sewers and catch basins was

  discharged directly to the Passaic River. Before 1982, the property’s storm drains, located where

  hazardous materials were handled, were uncovered. Textron is liable as an owner and/or operator

  at the time of disposal of hazardous substances. Releases of hazardous substances including lead

  from the Textron property have contaminated and continue to contaminate the sediments in the

  Lower Passaic River, including OU2, and must be removed from the riverbed and/or capped as a

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  result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA

  § 113, and subject to the contribution release described in paragraph 44 above, Textron is therefore

  liable for the costs of response resulting from the release of hazardous substances from the Facility,

  including the costs of removing and/or capping lead and other hazardous substances it disposed of

  that have contaminated and continue to contaminate the river, including but not limited to PCBs,

  mercury, copper, and PAHs.

         269.      Starting in the late 1890s, Defendant The Newark Group, Inc. (“Newark

  Group”) operated on a property located at 17 Blanchard Street, Newark, New Jersey, which is

  within the Facility. Newark Group reports that it manufactures recycled paperboard into various

  grades, including plain, laminating, partition, and lined chip—finished products with trace

  amounts of hazardous substances. COCs stored, used, and/or produced at the property included

  lead, copper, mercury, and PCBs.        From 1997 to 2002, Newark Group produced between

  73,426,000 and 79,788,000 pounds of paperboard annually. During this time, metals discharged

  to the PVSC by the property included lead, copper, and mercury. There are documented discharges

  of hazardous substances from the property to the Passaic River. For instance, reports from 1925

  through 1927 indicated that Newark Group’s “wash water” discharged via the storm sewer to the

  Passaic River.    From 1968 to 1980, the Newark Group discharged to the Morris Canal storm

  sewer—and through the Lockwood Street outfall ultimately to the Passaic River—1,000 gallons

  per day of noncontact cooling water, boiler blowdown wastewater, and process washdown water.

  In 1980, Newark Group identified hazardous substances, including lead, copper, mercury, and

  arsenic, in the industrial waste to be discharged to the sanitary sewer. In a City of Newark study

  in 1978 or 1979, Newark Group discharged 160,000 gallons of industrial waste to the easterly line

  of the Morris Canal storm sewer. The study also indicated that pollutants in the groundwater near

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  the property may have been leaching directly into the Passaic River. Newark Group is liable as an

  owner and/or operator at the time of disposal of hazardous substances. Releases of hazardous

  substances including lead from the Newark Group property have contaminated and continue to

  contaminate the sediments in the Lower Passaic River, including OU2, and must be removed from

  the riverbed and/or capped as a result of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2)

  and/or 107(a)(3) and CERCLA § 113, and subject to the contribution release described in

  paragraph 44 above, Newark Group is therefore liable for the costs of response resulting from the

  release of hazardous substances from the Facility, including the costs of removing and/or capping

  lead and other hazardous substances it disposed of that have contaminated and continue to

  contaminate the river, including but not limited to dioxin-associated compounds, PCBs, mercury,

  and copper.

         270.    From 1897 to 1985, Defendant Tiffany and Company (“Tiffany”) operated on a

  property located at 820 Highland Avenue in Newark, New Jersey, which is within the Facility.

  Tiffany alloyed fine silver to make sterling silver—which it then made into flatware, hollow ware,

  and fancy goods. Hazardous substances stored, used, and/or produced at the property included

  sulfuric acid, hydrofluoric acid, and nitric acid. Site soil and groundwater contamination at the

  property included lead, copper, mercury, and PAHs.         There are documented discharges of

  hazardous substances from the property to the Passaic River. The Tiffany property was in the

  Verona Avenue CSO District, which discharged to the Passaic River. Moreover, floor drains

  throughout the property drained to a tank that had an overflow pipe discharging to the PVSC

  system. On September 25, 1984, a Star Ledger reporter contacted NJDEP and indicated that

  Tiffany dumped cyanide and other hazardous chemicals near sludge pits behind the plant, which

  was approximately 250 feet east of the Second River, a tributary to the Passaic River. Finally, the

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  property’s groundwater flows towards the Second River. Tiffany is liable as an owner and/or

  operator at the time of disposal of hazardous substances. Releases of hazardous substances including

  lead from the property have contaminated and continue to contaminate the sediments in the Lower

  Passaic River, including OU2, and must be removed from the riverbed and/or capped as a result

  of EPA’s mandated remedy. Under CERCLA §§ 107(a)(2) and/or 107(a)(3) and CERCLA § 113,

  and subject to the contribution release described in paragraph 44 above, Tiffany is therefore liable

  for the costs of response resulting from the release of hazardous substances from the Facility,

  including the costs of removing and/or capping lead and other hazardous substances it disposed of

  that have contaminated and continue to contaminate the river, including but not limited to mercury,

  copper, and PAHs.

          CAUSES OF ACTION

                 COUNT I: CERCLA COST RECOVERY UNDER SECTION 107(a)

          271.     Plaintiff realleges and incorporates by reference paragraphs 1 through 270 as if

  fully set forth herein.

          272.     Defendants are liable under CERCLA Section 107(a), 42 U.S.C. § 9607(a),

  because each Defendant is a person as defined by CERCLA § 601(21), 42 U.S.C. § 9601(21), who

  (1) owns and operates a portion of the Facility from which there has been a release or threatened

  release of hazardous substances into the Lower Passaic River; (2) owned or operated a portion of

  the Facility at the time hazardous substances were disposed of, resulting in a release or threatened

  release of hazardous substances into the Lower Passaic River; (3) arranged for disposal, treatment,

  or transport for disposal or treatment of hazardous substances, resulting in a release or threatened

  release of hazardous substances into the Lower Passaic River; and/or (4) transported hazardous

  substances to the Facility, having selected it for treatment or disposal of such hazardous substance,

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  resulting in a release or threatened release of hazardous substances into the Lower Passaic River,

  as described in greater detail above.

         273.    Each release or threatened release of hazardous substances at the Facility as

  described above, has caused and will continue to cause Plaintiff to incur necessary response costs

  consistent with the National Oil and Hazardous Substances Contingency Plan, 40 C.F.R. Part 300

  et seq. (the “NCP”).

         274.    Under CERCLA Section 107(a)(4)(B), 42 U.S.C. § 9607(a)(4)(B), Plaintiff is

  entitled to cost recovery from each Defendant for necessary response costs incurred and to be

  incurred by Plaintiff consistent with the NCP in connection with the 2016 ASAOC, the Tierra

  Removal ASAOC, the CSO ASAOC, the RM 10.9 Removal UAO, and work performed in

  identifying other PRPs for such response costs.

         WHEREFORE, Plaintiff requests that the Court enter a judgment in its favor and against

  each Defendant as follows:

         (a)     declaring that each Defendant is jointly and severally liable under 42 U.S.C. §

  9607(a)(4)(B) for response costs incurred or to be incurred by Plaintiff as a result of releases or

  threatened releases of hazardous substances at the Facility;

         (b)     awarding Plaintiff an amount determined by the Court to satisfy the obligation of

  each Defendant for all necessary response costs incurred and to be incurred by Plaintiff,

  including costs incurred in connection with the 2016 ASAOC, the Tierra Removal ASAOC, the

  CSO ASAOC, the RM 10.9 Removal UAO, and work performed in identifying other PRPs for

  such response costs;

         (c)     awarding Plaintiff prejudgment interest, costs, and attorneys’ and expert fees as

  allowed by law and such other and further relief as the Court determines is just, equitable, and

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  appropriate.

    COUNT II: CERCLA CONTRIBUTION UNDER SECTION 113(f)(1) and 113(f)(3)(B)

          275.    Plaintiff realleges and reincorporates by reference paragraphs 1 through 270 as

  if fully set forth herein.

          276.    Defendants are liable under CERCLA Section 107(a), 42 U.S.C. § 9607(a),

  because each Defendant is a person as defined by CERCLA § 601(21), 42 U.S.C. § 9601(21), who

  (1) owns and operates a portion of the Facility from which there has been a release or threatened

  release of hazardous substances into the Lower Passaic River; (2) owned or operated a portion of

  the Facility at the time hazardous substances were disposed of, resulting in a release or threatened

  release of hazardous substances into the Lower Passaic River; (3) arranged for disposal, treatment,

  or transport for disposal or treatment of hazardous substances, resulting in a release or threatened

  release of hazardous substances into the Lower Passaic River; and/or (4) transported hazardous

  substances to the Facility, having selected it for treatment or disposal of such hazardous substance,

  resulting in a release or threatened release of hazardous substances into the Lower Passaic River,

  as described in greater detail above.

          277.    Each release or threatened release of hazardous substances at the Facility, as

  described above, has caused and will continue to cause Plaintiff to incur necessary response costs

  consistent with the NCP.

          278.    Pursuant to each of the 2016 ASAOC, the Tierra Removal ASAOC, and the CSO

  ASAOC, Plaintiff has resolved its liability to the United States for some or all of a response

  action or for some or all of the costs of such action in an administrative settlement and has

  incurred and will incur necessary response costs consistent with the NCP.



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         279.    Plaintiff has incurred and will incur necessary response costs consistent with the

  NCP in compliance with the RM 10.9 Removal UAO, and is entitled to contribution from

  defendants pursuant to CERCLA Section 113(f)(1), 42 U.S.C. § 9613(f)(1).

         280.    Pursuant to the 2016 ASAOC, the Tierra Removal Order, the CSO ASAOC, and

  the RM 10.9 Removal UAO, Plaintiff has incurred and will incur in the future more than its fair,

  equitable share of response costs and damages.

         281.    Under CERCLA Sections 113(f)(1) and 113(f)(3)(B), 42 U.S.C. §§ 9613(f)(1)

  and 9613(f)(3)(B), Plaintiff is entitled to contribution from each Defendant for necessary

  response costs incurred and to be incurred by Plaintiff consistent with the NCP in connection

  with the 2016 ASAOC, the Tierra Removal ASAOC, the CSO ASAOC, the RM 10.9 Removal

  UAO, and work performed in identifying other PRPs for such response costs. Plaintiff is also

  entitled to an allocation by the Court of the response costs, future response costs, and damages

  as between Plaintiff and the Defendants using such equitable factors as the Court determines

  are appropriate.

         WHEREFORE, Plaintiff requests that the Court enter a judgment in its favor and against

  each Defendant as follows:

         (a)     declaring that the Defendants are liable under 42 U.S.C. §§ 9613(f)(1) and

  9613(f)(3)(B) for Defendants’ shares, determined by the Court using such equitable factors as it

  determines are appropriate, of response costs incurred and to be incurred by Plaintiff as a result of

  releases or threatened releases of hazardous substances at the Facility;

         (b)     awarding Plaintiff an amount determined by the Court to satisfy the obligation of

  each Defendant for all necessary response costs incurred and to be incurred by Plaintiff,

  including costs incurred in connection with the 2016 ASAOC, the Tierra Removal Order, the CSO

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  ASAOC, the RM 10.9 Removal UAO, and work performed in identifying other PRPs for such

  response costs; and

          (c)     awarding Plaintiff prejudgment interest, costs, and attorneys’ and expert fees as

  allowed by law and such other and further relief as the Court determines is just, equitable, and

  appropriate.

                      COUNT III: CERCLA DECLARATORY JUDGMENT

          282.    Plaintiff realleges and incorporates by reference paragraphs 1 through 270 as if

  fully set forth herein.

          283.    Defendants are liable under CERCLA Section 107(a), 42 U.S.C. § 9607(a),

  because each Defendant is a person as defined by CERCLA § 601(21), 42 U.S.C. § 9601(21), who

  (1) owns and operates a portion of the Facility from which there has been a release or threatened

  release of hazardous substances into the Lower Passaic River; (2) owned or operated a portion of

  the Facility at the time hazardous substances were disposed of, resulting in a release or threatened

  release of hazardous substances into the Lower Passaic River; (3) arranged for disposal, treatment,

  or transport for disposal or treatment of hazardous substances, resulting in a release or threatened

  release of hazardous substances into the Lower Passaic River, and/or (4) transported hazardous

  substances to the Facility, having selected it for treatment or disposal of such hazardous substance,

  resulting in a release or threatened release of hazardous substances into the Lower Passaic River,

  as described in greater detail above.

          284.    Each release or threatened release of hazardous substances at the Facility, as

  described above, has caused and will continue to cause Plaintiff to incur necessary response costs

  consistent with the NCP.



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         285.       An actual controversy exists, within the meaning of 28 U.S.C. § 2201 and CERCLA

  Section 113(g)(2), 42 U.S.C. § 9613(g)(2), between Plaintiff and Defendants regarding their

  respective rights and responsibilities for necessary response costs incurred and to be incurred by

  Plaintiff consistent with the NCP in connection with the 2016 ASAOC, the Tierra Removal Order,

  the CSO ASAOC, the RM 10.9 Removal UAO, for work performed in identifying other PRPs for

  such response costs, and for future necessary response costs to be incurred by Plaintiff in

  connection with the contamination at the Facility.

         286.       Pursuant to CERCLA Section 113(g)(2), 42 U.S.C. § 9613(g)(2), and 28

  U.S.C. §§ 2201-2202, Plaintiff is entitled to a declaratory judgment on liability for response costs

  and damages under CERCLA Section 107(a), 42 U.S.C. § 9607(a) and/or CERCLA Section

  113(f)(1) and (f)(3)(B), 42 U.S.C. § 9613(f)(1) and (f)(3)(B) that will be binding in any subsequent

  action or actions to recover further response costs under the 2016 ASAOC, Tierra Removal Order,

  the CSO ASAOC, the RM 10.9 Removal UAO, and work performed in identifying other PRPs for

  response costs.

         287.       If and when EPA selects a remedy or interim remedy for any other portion of the

  Facility, or assesses damages for injury to, destruction of, or loss of natural resources for any other

  portion of the Facility, Plaintiff reserves the right to amend to seek additional declaratory or

  damages relief as to other Operable Units.

         WHEREFORE, Plaintiff requests that the Court enter a judgment in its favor and against

  each Defendant as follows:

         (a)        declaring that the Defendants are liable for all or their proper shares, determined

  by the Court using such equitable factors as the Court determines are appropriate, of the



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  response costs incurred and to be incurred by Plaintiff resulting from releases or threatened

  releases of hazardous substances at the Facility;

         (b)     declaring that the Court’s judgment on each Defendant’s liability for response costs

  and/or damages is binding on any subsequent action or actions to recover further response costs or

  damages;

         (c)     awarding Plaintiff an amount determined by the Court to satisfy the obligation of

  each Defendant for all necessary response costs incurred and to be incurred by Plaintiff,

  including in connection with the 2016 ASAOC, the Tierra Removal Order, the CSO ASAOC, the

  RM 10.9 Removal UAO, and work performed in identifying other PRPs for such response costs;

  and

         (d)     awarding Plaintiff prejudgment interest, costs, and attorneys’ and expert fees as

  allowed by law and such other and further relief as the Court determines is just, equitable, and

  appropriate.

                                                        Respectfully submitted,

                                                        ARCHER & GREINER, P.C.
  Dated: June 30, 2018
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                                 LOCAL RULE 11.2 CERTIFICATION

          The undersigned hereby certifies that:

          1.        The matter in controversy is related to the subject of actions pending in the

  Superior Court of New Jersey, Appellate Division, Docket Nos. A-2036-17 and A-2038-17, both

  captioned N.J. Dept. of Envtl. Prot. v. Occidental Chem. Corp., et al., and both arising out of an

  action in the Superior Court of New Jersey, Civil Division, Docket No. ESX-L-9868-05,

  captioned N.J. Dept. of Envtl. Prot. v. Occidental Chem. Corp., et al. (the “NJDEP Litigation”).

  While many Defendants in the instant action were third-party defendants in the NJDEP

  Litigation, the claims against each of those third-party defendants were resolved. The actions

  currently pending in the Appellate Division involve the appeals of final orders related to cross-

  claims among Occidental Chemical Corporation, Repsol, S.A., and Joseph J. Farnan, Jr., as

  Liquidating Trustee for the Maxus Liquidating Trust, none of whom are Defendants in the

  instant action.

          2.        The matter in controversy is related to the subject of an action pending in the

  United States Bankruptcy Court for the District of Delaware, Case No. 16-11501, captioned In re

  Maxus Energy Corp., including related adversarial proceedings against Repsol, S.A., YPF, S.A.,

  YPF Holdings, Inc., YPF International S.A., and CLH Holdings, Inc.



                                                            /s/ John J. McDermott
                                                          John J. McDermott, Esquire




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